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75 1~393~ 03) UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

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v. | AUG Pai rn District Court #
ExxonMobil et al., LA 8 5 fy PURE, |: I ( AN- O\\ hO- DAD-SAB

Kenneth K. Henderson et al.,

   
   

 

Plaintiff's Kenneth Henderson, Monica Henderson,, Amillia Henderson, Maya Henderson, Kayla Henderson,
and Jordyn Henderson are filing a complaint against Defendants, Exxon-Mobil, Tulare County Probate Court,
Eaton Corp, Darrell’s Drilling (Konowa, Oklahoma),Attorney Milton C. Grimes, Attorney Tommy Andrews Jr. ,
Attorney Thomas Chapin, Orange County Superior Courts, Easter Seals, Ultimate Software, Orange County
Internal Revenue Services, Orange County Social Services, Anaheim Social Security Administration Office,

 CalOptima Health Insurance, CHOC Health Alliance, Afgagh Kathryn Khorashadi, CHOC Hospital , Saint
Joseph's Heritage Medical (Group), Orange County Medi-Cal, David Joseph Ponce, Joseph Ponce Jr., L'amour
Ellis Ponce Sr., Stephen Dolphin, Michele Dolphin, Christine Holmes, Lamour Kim Ponce Jr., Adams Silva &
McNALLY LLP, OAH (Office of Administrative Hearings-Special Education, Sacramento, CA), Wells Fargo
Bank, Union Bank, Attorney- Karen A. Anderson, Anadarko Petroleum, Atoka Oklahoma's Judge Orel Busby
Estate Heirs, Eastside Christian Schools, Orange School District, Corona-Norco School District.

Plaintiff, Kenneth Henderson States Oil and Gas Energy Companies, Banks, Courts, Orange County
Government Agencies, School Districts, and various County Hospital & Medical Centers, colluded with
his Spouse, his in laws and County Workers as Criminal Agents in an Inheritance Heist of his Washita,
Seminole Indian Family heirs, Similar to the Billions in Inheritance taken from the Osage Indian Heirs.

Introduction

Plaintiff’s Kenneth Henderson and his 3 daughters, Maya, Kayla and Jordyn Henderson’s grandmother and
great grandmother, Laura McCullough, along with many of their aunts and uncles were enrolled and attended
the historic Riverside Indian Boarding School of Anadarko, Oklahoma beginning as early as 1914. The
plaintiffs living Uncle Quincy, states he remembers attending the Riverside Indian Boarding School as a boy
during the summers and being told while looking at many oil wells outside of Anadarko, alongside his sister,
Monica Henderson as children by their father, David McCullough, that “This land is ours as far as the eyes can
see, always remember that!” Plaintiff, Kenneth Henderson was informed by both his uncle Eddie and Uncle
Quincy, along with his mother, Monica Henderson that several acts of violence and murder against their Native
American Family members that took place, such as the killing of Laura McCullough’s parents on the same day
from a mysterious illness, to include her 2 siblings, the Richardson brothers with various acts of intimidation by

Atoka Oklahoma Judge Orel Busby and court associates with ties to the Klu Klux Klan (KKK).

After the Richardson brothers were murdered judge Orel Busby appointed legal guardians to their children.
However, the children, Viola and Susan lived a life of poverty as the guardians only claimed their inheritance.
These guardians soon sold the Richardson brothers assets and oil royalties to Judge Orel Busby. This form. of
intimidation, violence, murder, and theft of land and inheritance by the hands of corrupt court officials and ~
appointed legal guardians of child heirs forced my grandparents David and Laura McCullough to move their
children to Tulare California, where many black native American Indian Washita, Chickasaw, Seminole,

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 20f112 Page ID #:2

Cherokee, Creek, and Choctaw tribal members called the End of the Trail of Tears. It was in Tulare, California
that David and Laura McCullough were left to pick cotton like slaves in efforts to make a living.

It was in Tulare, California where David and Laura McCullough along with their 13 children from Oklahoma
had 2 more children, a girl and a boy named Monica and Augustus McCullough. The plaintiff’s mother, Monica
Henderson states when she was a child, she had the opportunity to visit her Indian Reservation in Anadarko
where Lula Dunford raised and enrolled her mother Laura McCullough as Laura Dunford at the Anadarko,
Indian Boarding School.

The plaintiff’s mother, Monica Henderson vividly states the day her mother, Laura McCullough-Dunford
stopped receiving her royalty payments from Oklahoma when she was around 8 years of age. The Tulare CA.
family had to pick twice as much cotton. The Oklahoma Bureau of Indian Affairs states Lula Dunford’s will of
land and mineral rights was in fact willed to Laura McCullough, however, the Tulare Probate Court in a hearing
in 2019 denied it. The Tulare judge told Monica Henderson as an heir that they don’t have any association with
Laura McCullough’s willed mineral rights and land from Oklahoma from Lula Dunford, stating to Mrs.
Henderson that she would need to have all matters in relation to Laura McCullough probated in Oklahoma,

when in fact, such matters of land and mineral rights were already probated. Such actions by the state of
California to conceal potentially millions in Black American Indian inheritance from Oklahoma, would support
various California Superior court, judges, attorneys, School District - Special Education Programs, Hospitals,
Medical Centers, Social Services, Internal Revenue Services, Social Security Administration, Health Insurance
Providers, Banks, all colluded with the Ponce and Dolphin family as appointed guardians of Mr. Henderson’s
daughters as heirs to inheritance of oil and gas leases from Oklahoma.

I, KENNETH HENDERSON define myself and my relationship with my children as the following:

1) A FATHER: To Maya, Kayla, Jordyn as my 3 biological daughter's and Aaminah as my estranged
stepdaughter or biological daughter to Lamour Ponce Jr , who I have filed a previous motion to be divorced
from.

2) I further define myself, with Maya, Kayla and Jordyn as NATIVE AMERICANS: Also known as American
Indians, or indigenous Americans and other terms, are the indigenous peoples of the United States, except
Hawaii and territories of the United States. More than 570 federally recognized tribes live within the U.S, about
half of which are associated with Indian Reservations. The current American Indian tribe myself and my 3
children are direct descendants from the Seminole Nation of Oklahoma.

3) I also should continue to be defined as A WHISTLEBLOWER: Known as a person who informs a person
or organization, engaged in illicit activity.

A) Due to continued Cyber Criminal Attacks on me and my daughter’s medical records

B) Due to continued discriminatory efforts by government agencies and their agents to deny my Parental
Rights by separating my existence as a Native American father from my 4 daughters.

C) And due to continued financial gain of California's Eaton Corp and Exxon Mobil in their ability to
continue to fund state government agencies, Orange County Superior Courts , School Districts, Hospitals,
Medical Centers to use County Agents as Guardians over the land and minerals to separate my existence
as a father with my children by targeting my family inheritance of oil and gas leases from Lula Dunford
as my great-grandmother as a member of the Seminole Nation for years:

 
 

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20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 3o0f112 Page ID#

 

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 7o0f112 Page ID#:7

T have a narrative of events supporting the above actions by county agencies and their agents in
discriminating against me and my children in filed State Complaints as a Whistle-blower From 2015
through 2019. I have filed various State Complaints to the Virginia and California Attorney General Offices,
filed various charges with the EEOC at the Washington DC Field House, filed a state complaint to the
Washington DC Inspector General's Office, Department of Labor Complaint (Baltimore), with all filings as a
Whistle blower, stating criminal, libel, and discriminatory actions brought against me and my daughter's from
my employer and various other government agencies, to include the Eastern District of Virginia Courthouse,
with the Orange County Superior Courts, in collusion with L'amour Ponce Sr., and Lamour Ponce Jr., as county
agencies and their agents deny my existence as a father to my children due to my Native American inheritance
and likely millions in royalties from oil and gas leases that continue to be unclaimed and used and profited by
agencies, to include $500 billion dollar companies such as Exxon Oil and Eaton Corp, oil and gas royalty
profits taken from my family members as Seminole Indians by blood. Oklahoma Oil and Gas leases willed to
my grandmother, Laura McCullough, with my mother, Monica Henderson as the administrator of her land by
probate, from great grandmother, Lula Dunford should be placed back with its rightful heirs.

Related Court filings from 2018 through 2019 in support of the above State complaint filings as

1)A Father 2) A Native American 3) and A Whistleblower, | also filed with the Eastern District Court of
Virginia, the 4" District Court of Virginia, and the 4" District Court of California as a narrative of events of
discriminatory actions taken against me and assisting agent attempts of Lamour Ponce (both mother and
grandmother), and in laws such as Stephen Dolphin, Michele Ponce, and David Ponce to deny my Native
American tribal ties with the Seminole Nation of Oklahoma, and willed Native American inheritance of oil and
gas leases in using directives to further deny and separate my existence as a Native American father to my
biclogical daughters, Maya, Kayla and Jordyn.

ACTIONS TAKEN BY CHILD SUPPORT CYBER CRIMINALS (CSCC's):

Child Support Cyber Criminals (CSCC): Claim Native American Child from parent for inheritance
Eastside Christian Schools: Separate native American parent from student, school claims inheritance
Michele Ponce: O.C agent assisted both Lamour’s in targeting Eastside students for inheritance
Stephen Dolphin Agent worked at Union Bank & EATON CORP to target inheritance from children
Kim Van Geloof, used school position to deny my existence with children & take away inheritance
Lamour E. Ponce Sr, teacher at Eastside Christian, removed parent from child to claim inheritance
Lamour K. Ponce Jr, prior Eastside Christian volunteer, removed parent to claim oil & gas inheritance
Lamour Ponce:Moms use same name /Black Widows,O.C, claim children, oil & gas leases from heirs
Aaminah Watkins: Stepdaughter abducted to Virginia from father for financial gain of oil & gas leases
Child Support:Used UltiPro, wife & her mother hide claiming child heirs to take away inheritance
His Employers:Used Citrix/UltiPro so O.C can Cyber Claim child, inheritance, deny fathers existence
CSCC's: Cyber Claim Lamour Ponce only with O.C agencies claiming children, oil & gas from parent.
Children's Hospital Association: CITRIX & EPIC used by CSCC”s to alter EMR's to claim children.
Judges/Attorney/Agents: Assist both wife & her mom as L'amour Ponce to claim girls & inheritance

In my assessment, since the exploration and discovery of oi] on Native American Indian territories, no race of
people were more targeted by U.S Government Agencies and their Agents to deny their existence and land
royalty rights than the millions of Indigenous Native American Indians who were never a part of the Pan
American Slave Trade.

Each decade since the exploration and discovery of oil on Native American Indian territories, U.S government
agencies used discriminatory laws within the court systems, advancements in computer technology,
advancements in identity fraud, and recruitment of African American Women as agents in support of various
County Agencies can profit and take advantage of billions in unclaimed royalties from oil and gas leases
remaining on Indian territories still tied to the Native American parent.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 8o0f112 Page ID#:8

The goal of U.S agencies was to separate the Native American Indian parent from his or her unclaimed royalties
of oil and gas leases remaining on Indian Territories 1) by legally separating the Native American parent from
their children through Family Law courts 2) By using the non-Native American parent as an agent to Claim the
Native American Indian Parent or Spouse as dead with the Social Security Administration to receive Survivor's
Benefits 3) and then use Cyber Parental Identity Impersonation with County Agencies and Healthcare facilities
of the parent being used as an agent to claim billions in unclaimed oil and gas leases from the Native American
Indian children as heirs.

In short, U.S agencies SEPARATE and CLAIM the AMERICAN INDIAN CHILD from their NATIVE
AMERICAN PARENT to CONTINUE to CLAIM the ROYALTIES to OIL & GAS LEASES. Non-Native
American Parents as Agents then use other CSCC's as a SHADOW COURT to influence their custody decisions
in support of financial agencies tied to oil and gas leases.

INFLUENCE NATIVE AMERICAN CHILD CUSTODY CASES IN FAVOR OF AGENT/PARENT
IN EXCHANGE:

OIL & GAS COMPANIES, 0.C AGENCIES, USE AGENTS TO CLAIM SOCIAL SECURITY & SURVIVOR
BENEFITS FROM THE AMERICAN INDIAN PARENT & THEN CYBER CLAIM THE NAME OF THE
AGENT PARENT (LAMOUR PONCE) USING NO MIDDLE NAME OR SUFFIX TO CLAIM THE
AMERICAN INDIAN CHILD (Maya) or CHILDREN (Kayla & Jordyn) FOR COUNTY AGENCIES TO
MAINTAIN FOR INHERITANCE FROM THE NATIVE AMERICAN HEIRS.

The above Plaintiffs are filing charges against the above defendants for conspiring for more than 2 decades
(1993 — 2020) to conceal and alter all online government agency and physical evidence of daughter, Aaminah
Watkins custody hearings, and abduction by her grandparents and mother, L'amour Ponce from a Orange
County court order in 2004 with biological father, Alvin Watkins, and Mr. Henderson as her stepfather.

The claims made against the above defendant parties are for also conspiring to conceal the location of Alvin
Watkins as the living father to Aaminah Watkins to claim him as deceased along with Mr. Henderson to obtain
inheritance and Survivors benefits through both mothers with the Social Security Administration. The above
defendants have also conspired to conceal potential abduction of Aaminah from Alvin Watkins in leaving the
state of California to Virginia in August of 2004. Both Lamour Ponce Sr and Lamour Ponce Jr, the wife, further
concealed prior court actions supporting parental identity impersonation, were then involved in the abduction of
Mr. Henderson's 3 biological daughters, Maya, Kayla and Jordyn once arriving to California from his parents’
home in Georgia in November of 2016, as the 2 women took his daughter's into their Anaheim home without
any court order or Just Cause filing with the Orange County D.A' Office, colluding with school district
principals and their staff, court clerks, attorney’s, and judges to cover up all legal action from taking inheritance
from all Native American McCullough heirs, with such facts sealed in the Orange County Superior Courts.

Such actions by both women allowed the grandmother named Ellis to change her name to her daughter’s name
of Lamour Ponce and issued an additional social security number with the Orange County Social Security
Domestic Violence and Disability Benefits Program to not only repeatedly deny both fathers’ rights but to also
claim and separate the children from their fathers to maintain years of royalties for Orange County oil and gas
companies in Exxon-Mobil, Eaton Corp, for County agencies such as the Orange County Superior courts,
School Districts, various Government agency and Healthcare facilities with community workers throughout the
region placed in positions as County agents so State Government Agencies in California can continue to profit
from oil and gas leases owed and willed to Mr. Henderson's Native American family members as heirs.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 9of112 Page ID#:9

. February of 2017, Mr. Henderson recognized an August git 2004 court judgment inside the Orange County

Sh nor Courts left unknown to him from his wife that took place some weeks after his wedding date of June

, 2004. The Judgment was in relation to Mr. Henderson's stepdaughter, and her custody with her biological

father Alvin Watkins, who continued to seek a relationship with his daughter. Mr. Henderson began questioning
many actions taken by Lamour Ponce in court, such as her actions to take all government agency and legal
documents used throughout their marriage, take the storage key and then mail several boxes from their
belongings together to her mother’s home in California. Mr. Henderson also recognized an additional issued
California Social Security number was given to Lamour Ponce separate from her New York issued social
security number at birth.

Kenneth Henderson as a Native American Seminole Nation Tribe heir to oil and gas willed to his grandmother,
Laura McCullough from his great grandmother Lula Dunford, believes the sinister plot by his wife Lamour
Ponce Jr. and his mother in law, Lamour Ponce Sr with support by various family members and County court,
school, and healthcare workers. are very similar to sinister acts previously taken by Osage Indian Tribe heir
Mollie Burkart's husband, Ernest Burkhart and his surrogate father, William K. Hale.... Both Mollie's husband
and William Hale as his surrogate father devised a plan involving many people who worked within the County
or Community Hospitals, nurses, doctors, judges, sheriff's, school teachers, principals who were likely
financially assisted upon helping take away Mollie's Osage Tribal Indian Inheritance to oil. Kenneth views the
actions by his wife and mother in law to be given a gn identity under the name LAMOUR PONCE only to have
Mr. Henderson's daughter, Maya or her sisters claimed as Native American heirs to oil wealth while
fraudulently claiming their father as deceased on record to receive Survivor's Benefits with various Orange
County government agencies, supports the use of many agents to conspire to continue to take Lula Dunford's
willed inheritance away from Mr. Henderson and his Native American family members as heirs.

Back when Mollie was alive in the early 1900's the only way to take away the oil wealth from Osage and other
Native Americans was to either kill them or kill them after marrying them as a headlight. Today, due to
advanced online technology, government agents throughout the county are still needed to assist agents who
marry into American Indian wealth in order to claim the wealth through the children, however, laws that have
passed have made it more difficult for the non-Native American spouses to claim Native American oil wealth so
court systems assist the spouses with legal custody situations in efforts to tie in the inheritance through the
spouse assisting the government as a county agent as Lamour Jr and Lamour Sr with various other in laws and
agents. The very act of fraud and concealment by both mothers to create another identity for the grandmother to
claim her grandchildren with her daughter’s name for financial gains in oil profits before the couples wedding
date of June 12", 2004 says Mr. Henderson was deliberately left without many legal facts from court in which
had he known, would never have married Lamour Ponce Jr.

EATON CORP & EXXON-MOBIL COLLUDE with UNION BANK, ORANGE COUNTY SUPERIOR
COURTS to TARGET CHILD HEIR, AMILLIA HENDERSON FOR NEW OIL & GAS LEASES:

In the school year of 1986-1987 as a 17yr old senior at El Modena High School in the City Orange, sister of
Kenneth Henderson, and heir, Amillia Henderson became an intern at Union Bank in Orange and Santa Ana,
California. Sometime before completing her internship with Union Bank and beginning several years of
employment at both banks in Orange and Santa Ana, Amillia, at the start of her internship, was given a paid taxi
cab ride to Santa Ana Unemployment Services and asked by a Union Bank supervisor to complete an
Unemployment Claim before beginning her employment. What Amillia, as a teenage Union Bank intern was
unaware of was Eaton Corporation and Exxon-Mobil’s innate desire to create new oil and gas lease contracts
through Amillia as a grandchild and heir to Laura McCullough, who was probated and willed Lula Dunford’s
mineral rights from her restricted Oklahoma land in 1950.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 10 0f112 Page ID #:10

Oil & Gas companies such as Eaton Corp and Exxon -Mobil have an opportunity to negotiate new oil and gas
leases with the next heir of any inheritance or family will, however, these companies have shown a continued
unwillingness to negotiate with the adult living heirs to instead TARGET THE MINOR CHILDREN AS HEIRS.
Oil and Gas companies such as Eaton Corp and Exxon Mobil collude with California Superior Courts, with
California Family Law attorneys, and with California banks to secretly create and select Guardians over the
child heirs of Native American families for inheritance theft, as Judge Orel Busby did in the early 1900°s by
appointing guardians to assist him with claiming the Richardson brothers 2 daughters, Viola and Susan for
inheritance theft.

The difference between the Black Gold Royal Heist of the Richardson daughters inheritance involving Viola
and Susan as heirs in the 1900’s and the Henderson daughters in the 2000’s as heirs, involve the use of disability
diagnoses of Maya, Jordyn, and Kayla to divert oil and gas inheritance into a Special Needs Trust (SNT) Fund
created through a concealed Judgement in the Orange County Superior Court. The Richardson Black Gold
Royal Heist of their inheritance through child heirs Viola and Susan was taken through the Atoka OK. Judge
appointed Guardians.

In the end, Black Gold and the Royal Heist of Inheritance of American Indian families such as the Richardson’s
and the McCullough’s was always supported by the local court systems such as in Atoka, Oklahoma and
Counties of Tulare and Orange in California in collusion with banks, oil and gas companies, able to appoint
Guardians and now Trustee’s over SNT’s.

City of Orange 1986 -1992

Plaintiff, Kenneth Henderson’s sister, Amillia Henderson and parents while residing in the City of Orange from
1986 through 1992 were targeted for their family inheritance by Eaton Corp, Exxon-Mobil, Union Bank and the
Orange County Superior Courts. It was during this time after the Plaintiff, Kenneth Henderson’s sister, Amillia
was given an internship at the Union Bank in the City of Orange, during her senior year in high school. It was
also during this time after Amillia had completed her internship and was informed to sign up for unemployment
in Santa Ana, that Amillia and Kenneth Henderson’s parents, Elmer and Monica Henderson were frustratedly
involved into a 5 year court dispute over a lease to own mortgage contract in which concluded in 1992

after several continuances. During this time the Henderson’s resided in Orange from 1986 to 1992 the oil
drillers on Lula Dunford’s land began to fraudulently transfer ownership of our family wells to create several
new oil and gas leases for Exxon-Mobil and Eaton Corp, money that should be owed to the McCullough family.

Eaton Corp, Exxon-Mobil, Union Bank, and the Orange County Superior Courts, due to the defendants being
able to gather information during the ongoing City of Orange trial from the Henderson home lease to purchase
dispute involving Monica Henderson-McCullough and her husband, Elmer Henderson, were aware that adult
heirs such as Monica Henderson-McCullough, Eddie McCullough, Quincy McCullough, Augustus McCullough,
Roberta McCullough, Katherine McCullough, and Katy McCullough, as children to Laura McCullough, still
existed while living in Orange.

Instead of negotiating a new oil lease with Monica Henderson as a direct heir who remains alive as the daughter
to, Laura McCullough, who Lula Dunford willed her land and minerals to once probated in 1950, specifically
after the Amended Stigler Act of 2018, the actions by Eaton Corp, Exxon-Mobil, Union Bank, the Orange
County Superior Courts support the defendants targeted the McCullough inheritance to take the profits from
many oil wells beginning in 1986 by transferring the Dunford last name out with RAPER and WALKER
throughout the years the Henderson’s remained in their City of Orange residence before the defendants actions
to completely remove Lula Dunford’s name as the landowner by 1993, when the Henderson family moved from
their Orange residence to Irvine where Eaton Corp and the Ponce family resided.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 110f112 Page ID #:11

McCullough Child Heirs are Placed into IEP’s with the Orange Unified School District

Both Amillia, Kenneth and Kevin Henderson as sibling heirs to Monica Henderson-McCullough and Kayla and
Jordyn Henderson as siblings heirs of Kenneth Henderson, all were approved for IEP’s (Induvial Education Plan)
due to diagnosed learning disabilities from a district school psychologist from the Orange Unified School
District. Orange Unified School District is a defendant due to being involved with various other Orange County
defendants to target medical claims and use of a district school psychologist, Eric Supedo, for completion of
Jordyn and Kayla’s IEP assessments without Mr. Henderson’s knowledge or involvement in efforts to keep him
as an heir as non-existent with the Ponce’s as assigned Guardians already in place in California. Ellis Ponce,
after Kenneth Henderson and Lamour Ponce’s 2004 marriage, was assigned guardians by the Orange County
Superior Courts over child, Aaminah Watkins who lived in Virginia with her mom and stepfather, Kenneth
Henderson,

Ellis Ponce (Grandmother) would maintain Guardianship over not only Aaminah Watkins as Mr. Henderson’s
stepdaughter in Virginia, she would further maintain Guardianship over any McCullough child heir born
between her daughter and Kenneth Henderson in Virginia while Ellis resided in Irvine, California, by using
Identity Impersonation to claim her daughter’s birth name of Lamour.

Ellis and her husband Joseph Ponce, with David, Michele, and Lamour Ponce, beginning in 1993, when Monica
Henderson-McCullough and the Henderson family moved from their Orange residence to their Irvine residence
called Northwood across Walnut St. Like the Henderson’s, the Ponce family while in Irvine, would move and
remain in Irvine in yet another residence of 128 Monroe, Irvine, California, near the Henderson address of 270
Hayes St, Irvine,

Ellis and her husband, Joseph Ponce then moved from Irvine, California to Anaheim Hills, California many
years later, sometime before their daughter’s marriage became legally separated in the Orange County Superior
Courts in November of 2016, when Lamour and Kenneth returned back from Virginia. With Ellis as an assigned
Guardian over Maya, Kayla and Jordyn Henderson as McCullough heirs from Kenneth Henderson and her
daughter, Lamour Ponce’s marriage, the Ponce’s were aware they needed to move in a regional school zone of
the Orange Unified School District where the 3 child heirs father was enrolled with an JEP alongside his brother
and sister, Amillia Henderson.

Ellis and Joseph Ponce in November of 2016 abducted Maya, Kayla and Jordyn in knowing new IEP’s from the
Orange unified School District could be created while enrolling them into Eastside Christian Schools to deny
Jordyn’s previous out of state IEP from Georgia and Virginia in efforts to deny her Native American father,
Kenneth Henderson’s existence. The Ponce family in collusion with Eastside Christian Schools, the Orange
County Superior Courts and various agencies tied to Eaton Corp and Exxon-Mobil as oil and gas companies
were intent on allowing Mr. Henderson’s twin girls, Jordyn and Kayla to fail the 4" grade in order to create the
medical claims toward social security disability to divert the family finances into Special Needs Trust Funds for
Lamour Ponce Sr (Orange County) to remain the Trustee over all her grandchildren’s Trust Accounts.

Lamour Ponce Jr, after clearly stating her dissatisfaction in the Corona Norco School District and their schools
as compared to what she repeatedly described in her continued attempts to manipulate the children to support
her thoughts to transfer them back into the higher rated schools in Orange County, were acts taken by the
mother after the court ordered Maya, Kayla and Jordyn Henderson to go to the Corona Norco School district.
Lamour Ponce Jr., then almost immediately and strangely began working as a substitute teacher within the
Special Education department of Jordyn’s School n a school district she openly stated her dislike with in a
custody dispute, however, her actions were never seen as a conflict of interest when knowing a court dispute
and court order was in place after she denied Jordyn’s out of state IEP while denying the fathers rights to be
involved in creating a new JEP to tie into a Special Needs Account under her mother in using her same name as

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 12 0f 112 Page ID #:12

a Guardian and Trustee, once arriving to California. Both Kayla and Jordyn stated in the 2" semester of the
2020 school year after stating the differences in reactions the teachers had in smiling and being uncomfortable
around their father as compared to their mother for a catapult project event completed by the students in which
their mother assisted as volunteer, as a substitute teacher, and a parent “Daddy, I noticed the other teachers
were always scared to be around or talk to Mommy.” The Letha Raney Principal who appeared to have a very
similar close relation with Lamour Ponce as did the Eastside Christian School Principle who denied Jordyn’s
Georgia’s IEP, should have been aware of the conflict of interest in coworking with a parent as an IEP Team
Member with teachers or the Special Education coordinator could create conflict with various other teachers
and special education instructors who were uncomfortable while recognizing the substitute teacher and mother
using her connections as an employee to dismantle her daughters IEP without involving Mr. Henderson as the
father. School principals and various school staff were made aware of the court order, specifically that the
mother continuously kept trying to conceal any relationship with the father and an already implemented IEP
from Georgia. It was as if Letha Raney and their Principal was intent to not only hire Lamour Ponce Jr, but
further deny all facts regarding the existence of the out of state IEP in Georgia, the court order and Mr.
Henderson rights as a father with equal rights as the mother with his children as students.

Ellis Ponce, Union Bank, & Orange County Superior Courts attack Child Heirs to Obtain Inheritance
Amillia Henderson settled her discrimination lawsuit with her employer, Union Bank with the Orange County
Superior Court with medical claims tied into the Social Security Administration to support her disability near
the same time months between 1996 and 1997 in which Lamour Ponce filed her claims to be recognized like
Amillia Henderson as permanently disabled were done to create and redirect inheritance of Lula Dunford’s will
from heir, Amillia Henderson’s Special Needs Trust Account with Union Bank to Lamour Ponce Jr’s Special
Needs Trust Account after Kenneth and Lamour married on August 8", 2004 in the Orange County Superior
Courts. With the grandmother (Nana) able to change her name from Ellis to Lamour before twice claiming and
abducting her grandchildren. Ellis first abducted Aaminah Watkins into her home in the 1990’s before flying her
away from her biological father to reside with Kenneth Henderson as her stepfather and her biological mother,
Lamour Ponce in Woodbridge, Virginia in August of 2004, right after the August 8" 2004 Judgement remaining
unknown and sealed from Kenneth Henderson.

In November of 2016, during the holidays, Ellis and the Ponce family then abducted Plaintiff, Kenneth
Henderson’s 3 daughters as heirs to claim as Ellis likely became an assigned Guardian by the Orange County
Superior Courts of any children from her daughter while using her same first and last name of Lamour Ponce
but held in sealed testimony in a judgement made weeks after Mr. Henderson married Lamour Ponce Jr married,
coincidentally, in Orange, California. The couple then moved to Virginia with Aaminah for 12 years before
returning back to California in November of 2016 to legally separate and once again observe Ellis abduct Maya,
Kayla and Jordyn into the Ponce Family Anaheim home as zoned to make medical claims for new IEP’s with
the Orange unified School District.

Raper Converted A Dunford Well into A Trust Account for a Children’s Hospital

Raper, a non-Native American Indian land and mineral owner or heir Willie Hays or Lula Dunford’s will while
on the edge of section 10 and 11, was able to convert her oil well in 1989 into a Trust account, able to support
billing claims for various Children’s Hospitals and their pediatrician offices in Massachusetts, It must be noted
that any wells that are converted into Trust Accounts for a Children’s Hospital, the Children’s Hospital
Association (CHA) connects all the Children’s Hospitals medical records and billing financial systems together,
allowing these appointed guardians like Ellis and the Ponce family members to go in and out of these converted
Trust Accounts created from stealing wealth from oil wells and many child heirs tied to inheritance such as
those child heirs named Monica Henderson, Cheryl Henderson, Amillia, Henderson, Derrick Henderson, Kevin
Henderson, Kenneth Henderson, Maya Henderson, Jordyn Henderson, and Kayla Henderson

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 13 0f112 Page ID #:13
Adams Silva & McNALLY LLP, Family Law Attorney Karen A. Anderson, and Union Bank

The Law Firm of Adams Silva & McNALLY LLP while nearly 1 hour and % away from the Corona Norco
School District, may have colluded with the Orange and Corona Norco School District Superintendents to
conceal not using the schoo! district’s appointed Legal Counsel while instead choosing to financially use
Riverside County tax payers money to have a high profile Family Law Attorney named Karen A Anderson from
Orange County and Long Beach, California while secretly representing Maya and Jordyn Henderson’s mother,
Lamour Ponce Jr, appear on her ematls and U.S mailed deliveries to be working in representation for the
Corona Norco School District but as the school districts appointed Legal Counsel with Adams Silva &
McNALLY LLP. Karen’s Orange County and Long Beach name may have been fraudulently changed to Karin
Anderson with the Carlsbad law firm. Attorney Anderson, while claiming to be representing the Corona Norco
School District and employed through, Adams Silva & McNALLY LLP, assisted the School District in
wrongfully dismissing Mr. Henderson’s daughter, Maya Henderson’s OAH case during a California Stay at
Home Order beginning March 19", 2020 due to the COVID-19 Pandemic. Mr. Henderson states the Corona
Norco School District’s Superintendent assigns the School District’s legal counsel to represent the district in
cases brought against them by the students and their families, however, by the Superintendent and the board
choosing attorney Karen Anderson and stating she was working as an attorney with the Carlsbad law firm,
Adams Silva & McNALLY LLP may have been falsifying Mrs. Anderson’s true self-employment as a high
profile Law Lawyer in Orange County and Long Beach in efforts to conceal such legal facts to Mr. Henderson.
Maya and Jordyn Henderson's father, who continues to support his daughters diagnosed disabilities, continue to
be denied by the Corona Norco School District in what he believes is due to discrimination and racism for being
Black American Indian heirs to oil and gas leases in which the County of Orange County has denied to Mr.
Henderson’s family for decades.

Currently, Mrs. Anderson continues to not be a part of the Adams Silva & McNALLY LLP attorney list,
supporting Mr. Henderson’s belief that some form of financial agreement between Orange County and the
Corona Norco Superintendent may have been reached to use Karen Anderson to dismiss Maya Henderson’s
case, however, the attorney is not legally working with the law firm which would be a conflict of interest
between wrongful actions taken between the Corona Norco School District and the law firm in support of
Orange County, California in their financial use of Karen Anderson as an attorney. Furthermore, Mr. Henderson
believes all illegal financial transactions of Riverside County taxpayers money used between a non-appointed
District Legal Counsel named Karen A. Anderson by the Corona Norco Superintendent would support a conflict
of interest in either the Orange County Superior Court in collusion with Lamour Ponce Jr and Sr, with Eastside
Christian Schools, and with Orange or the Corona Norco School Districts ability to continue using Karen A.
Anderson or any attorneys associated with Adams Silva & McNALLY LLP as Mr. Henderson will be
requesting further relief and damages due to what he considered libel in actions in repeatedly denying his ability
to continue to support the disability needs of his daughters diagnosed conditions in Virginia and Georgia. Mr.
Henderson also believes Karen A. Anderson’s Family Law Office in the Union Bank Long Beach building is a
front company for Union Banks ability to target child heirs for millions in inheritance in Family Law cases such
as Mr. Henderson’s.

A subpoena requiring the Corona Norco School District Superintendent to testify as to whom was his selected
appointed legal counsel for the Schoo! District and if Karin Anderson as a Senior Attorney not with the last
name Adams, Silva or McNALLY was never appointed for prior School District cases involving students of the
Corona Norco School District, then the Superintendent would need to testify as to why Maya and Jordyn
Henderson’s cases as Black American Indian children were legally and financially selected differently then all
prior cases filed against the School District. Mr. Henderson believes all actions to financially and legally single
out his 2 daughter’s cases over other student cases to deny their disability needs were and continue to be directly
related to racism and discrimination in yet another case supporting Black Lives Matter in children with
diagnosed disabilities as well.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 140f112 Page ID #:14

A subpoena requiring the Riverside County District Attorney, Michael A. Hestrin, will also be added for the
District Attorney to further look into the fraudulent activities between the financial and legal relationship with
the Corona Norco School District’s Superintendent’s legal counsel selection of Karin Anderson and Adams,
Silva & McNALLY being used in all legal actions taken to single out and dismiss student, Maya Henderson’s
OAH case but fraudulently through Attorney Karen A. Anderson in Family Law inside Union Banks building in
Long Beach, California.

WELLS FARGO BANK

Plaintiff, Kenneth Henderson and Lamour Ponce Jr opened up a Wells Fargo joint checking account, with 3
savings accounts for daughters, Maya, Kayla and Jordyn Henderson in early 2016. After more than a year after
Kenneth and Lamour legally separated in California, Mr. Henderson reopened a checking account with just him
and separate savings accounts for his daughters. Sometime in late October of 2019, the plaintiff, Mr. Henderson
was shocked to see an unauthorized quarterly payment of her New York Life Policy from his Wells Fargo
Account. Neither Mr. Henderson’s mother, Monica Henderson, or father, Elmer Henderson could explain how
no one in the family provided the New York Life Insurance Policy number to complete or authorize any
payment from Kenneth Henderson’s Wells Fargo account. The Wells Fargo Manager was unable to explain how
the New York Life Policy for Mr. Henderson’s mother was unauthorized and paid through his checking account,
and repeated his explanation to Monica Henderson.

Mr. Henderson was aware that Lamour Ponce continued to maintain a checking account through Wells Fargo,
and a few months after his mother’s unauthorized New York Life Insurance Policy payment shockingly showed
up in his checking account, Mr. Henderson thought about the Osage Indian Murders and the continued theft of
his family inheritance when he nearly lost his mother after somehow surviving an hour and a 2 ambulance
commute, this after suffering a MAJOR STROKE from Corona to Temecula Valley Hospital near San Diego
County. The Henderson family was irate in being informed that Corona Regional Hospital allowed a major
stroke patient to endure more than an hour ambulance ride after even the EMT driver said “Temecula Valley?
That’s crazy, why are you all having me driving this patient way out there?” Mr. Henderson and his siblings
began to think about the New York Life Insurance Policy incident relating to their mother with Wells Fargo and
began looking into possible high level criminal fraud scenarios involving the Ponce family ties to Orange
County Intelligence Agencies such as the CSCC’s (Child Support Cyber Criminals) to claim the children as
heirs and redirect Monica Henderson’s New York Life Insurance Policy with her inheritance into a Special
Needs Trust Wells Fargo account for all 3 daughters into the Trustee and grandmother’s name as Lamour Ponce
in Anaheim, California,

EATON CORP

EATON CORP is the employer of Lamour Ponce's brother in law, Stephen Dolphin for over 13 years, since
2007. Mr. Dolphin, while also previously employed with Union Bank, Mr. Henderson believes colluded with

the aunt and uncle of his children’s mother, Raquel and Anthony Dillett, and various other in laws as Ellis Ponce,
David Ponce as Guardians with Family Law and Union Bank attorney, Karen Anderson. Eaton is the energy
supplier drilling on land sites with our family oil and gas leases such as the leases in Oklahoma, willed to Mr,
Henderson's grandmother, mother and family members.

10
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 150f112 Page ID #:15
Building Your Assets and Wealth: Special Needs Trust (SNT)

1) Lamour Ponce Sr (aka Ellis Ponce): Trustee on SSDI
2) Lamour Ponce Jr (Spouse): Beneficiary on SSI

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A Special Needs Trust (SNT), sometimes called a Supplemental Needs Trust, is a legal arrangement in which a
person or organization (like Union bank or Wells Fargo Bank) manages assets for a person with a disability. The
person with the disability is called the “beneficiary” and the person who is managing the assets is the “trustee.”
Many kinds of assets can be put into a trust, such as cash, stocks, bonds, and real estate. An SNT provides for
the needs of a person with a disability without losing or reducing their benefits such as Supplemental Security
Income (SSI), Medi-Cal, In-Home Support Services (IHSS), and HUD housing assistance.

Assets in an SNT won’t be counted toward the SSI, Medi-Cal and IHSS asset limit of $2000 for an individual.
Note: The rules for setting up trusts can be complicated and it is important to make sure that you seek out good
advice about how to set one up in order to avoid serious problems. If you get public benefits such as SSI, Medi-
Cal, THSS, and HUD housing assistance, the SNT must say that: It is up to the trustee when and how to use the
funds to benefit the beneficiary.

The main purpose of the trust is to supplement the support and services the beneficiary gets from public benefits,
and the beneficiary cannot sell or give away her rights under the trust to anyone else and has no control of the
assets. These three statements will usually keep the assets in the SNT from being counted against your

eligibility for public benefits. It is also important to know that the assets in the SNT must not have belonged to
you before the trust was set up (except for a First Party SNT — see Three Types of Special Needs Trusts). This
means that you cannot use the SNT as a savings account. You cannot put your own money into most SNTs. If
someone you know wants to leave assets for you in their will, they must state the name of the SNT in their will,
not your name.

While public benefits such as SSI, Medi-Cal, IHSS, and HUD housing assistance provide basic support for food,
shelter and medical care, a Special Needs Trust can be used to add support and services in the ways Your
Situation Asset Building Your Assets and Wealth Trust Funds most helpful to you. For example, money from the
trust could be used to pay for your recreation, telephone bill, education, and vacations. The money in an SNT
cannot be used for food or shelter; that is what your SSI money is for. How does money from the SNT affect
your SSI payments? Money paid directly to providers for items other than your food and shelter will not reduce
your SSI payments. If money is paid directly to a provider for food or shelter, your SSI payment will be reduced,
but only up to a certain limit. Money paid directly to you will reduce your SSI payment. A good way for people
to give you assets, such as money, but not affect your public benefits (SSI, Medi-Cal, IHSS, and HUD housing
assistance), is to give the assets to the SNT.

If someone simply gives you money directly, that gift might result in a loss or reduction in the amount of your
SSI checks, Medi-Cal benefits, IHSS funding, and HUD housing assistance. This will happen if that money will
cause you to have more than the asset limit you can have for these programs. Also, if you have a disability and
you inherit money or get a settlement in a court case, those funds can also cause your SSI, Medi-Cal, THSS and
HUD housing assistance to be affected unless that money is placed directly into a First Party SNT (see Three
Types of Special Needs Trusts). Although SNTs can have huge advantages, they also have strict rules. The funds
must be used to benefit only you; no one else can benefit from that SNT. Also, the trust is set up to help you, but
no payments can be made directly to you. When you need to pay a provider for something that is not food or

11
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 16 0f 112 Page ID #:16

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shelter, the trustee will pay the money from the SNT directly to the provider. Only the trustee can handle the
money from the SNT.

An SNT attorney may be faced with a situation where a decedent leaves a bequest to an individual with a
disability not understanding the adverse impact the gift will have on the gift will have on that individual.
In these cases, depending on the state, may be possible to redirect or divert the inheritance into a SNT.

If the intended SNT beneficiary is under an existing conservatorship or guardianship (as in Ellis and Lamour
Ponce’s concealed August 8", 2004 Judgement decision involving the custody of Aaminah Watkins) with a
petition for substituted judgement can be brought establishing the SNT and directing the guardian or
conservator to deposit the inheritance into the SNT. Since the SNT in this instance would be created by a
judicial proceeding resulting in a court order creating the SNT, the resulting SNT satisfies the requirements of
42U.8.C.&1396p(d)(4)(A).

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Ellis Ponce (aka Lamour Ponce aka L’amour Ellis Ponce Sr)

One of many black American women agents, used to target Native American Indian Men and their inheritance
as heirs in marriage was and continues to be Lamour Ponce Sr and Lamour Ponce Jr in both mother and
grandmothers’ efforts to financially tie and redirect inheritance from a judgement into an SNT account just
weeks after Kenneth and Lamour’s marriage. Native American Indian children as heirs born into the marriage
between Kenneth Henderson and Lamour Ponce in deliberately keeping her last name, was in libel action to
target unclaimed oil and gas leases from all adult and child McCullough heirs from the Henderson family
through a concealed (42U.S.C.&1396p(d)(4)(A)) judgement unknown to Mr. Henderson, while further allowing
the theft of both fathers in Alvin Jerome Watkins and Kenneth Henderson’s family inheritance.

Mr. Henderson states Ellis Ponce and the Orange County Superior Court concealed a Judgement he believes
involved not only the custody of his stepdaughter, Aaminah Watkins, on August 8", 2004, just weeks after the
June 12", 2004 wedding date between the parents, Kenneth Henderson and Lamour Ponce Jr. for continued
theft of his families inheritance from Lula Dunford to Laura McCullough.

It is Mr. Henderson's belief that Milton Grimes as the family attorney in support of Lamour Ponce, may have
been placed in charge of both Lamour Ponce the mother and grandmother in Orange County for custody of
Native American Children through using black American spouses as Guardians of child heirs to deny the
existence of the ones they marry in efforts to claim millions in oil and gas leases from their children as heirs to
financially support various agencies throughout the nation.

Exxon Mobil

A complaint is filed against Exxon Mobil, previously known as Humble Oil. ExxonMobil in contractual
agreement with Eaton Corp continues to drill on property inherited to my grandmother, Laura McCullough and
put into my mother’s name, Monica Henderson, as the Administrator of Property in Tulare in efforts to reclaim
all royalties taken by ExxonMobil and Eaton Corp from our family’s oil and gas leases. Both Eaton Corp and
ExxonMobil have unclaimed and claimed oil and gas leases to financially support county courts, agencies and
healthcare facilitie. Exxon Mobil works behind the scenes, where Native Americans cannot see the dirty work
of money that is essentially not theirs being used for criminal activity in targeting the heirs of living wills from
tribal ancestors that are secretly hidden by agencies for financial gain,

12

 
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 17 of 112 Page ID #:17

The above defendants criminally placed people on Lula Dunford’s land as a fictitious front heir company named
Guinn Co., after her late husband, able to manage the mineral rights as a front drilling and oil company in
financial support Orange County and San Diego Government and Healthcare Agencies from the mineral right
profits.

Tulare County Probate Court

In a recent Probate hearing in 2019, my mother and heir to Lula Dunford’s will, Monica Henderson, informed
the Tulare County Probate Court “In selling my parents David and Laura McCullough’s land here in Tulare, as
the Administrator of Probate over my mother’s land, I am not selling the mineral rights of the land willed to me
from my mother.” The judge then stated we in Tulare do not have anything to do with the mineral rights willed
to you or your family members from Oklahoma, you will have to go to Oklahoma to probate those mineral
rights.” The Judge and Tulare were not telling the truth to my mother as the Oklahoma BIA (Bureau of Indian
Affairs) did in fact inform us (The Henderson family) that Lula Dunford’s will to Laura McCullough was in fact
already probated after Lula passed away. This Judge and the Tulare County Court, just as the Orange County
Superior Court, just as the Eastern District Court of Virginia, all knew ONCE YOU COMPLETE PROBATE
THE ROYALTIES COME WITH IT. However, The Tulare County Court and judge remained mum to my
mother, Monica Henderson standing beside my father, Elmer Henderson on all accounts of mineral rights from
Lula Dunford’s land and mineral rights per her will as already being probated to Laura McCullough.

The California courts of Tulare and Orange where my family resided have been aware for decades that they
have systematically stolen the wealth and inheritance willed to my mother as a living heir from both her parents
in David McCullough and Laura McCullough as Native Americans directly related as heirs to Indian Territory
lands from the Richardson’s , the Nolitubby’s, the Dansby’s, the Dunford’s, the O’ Guinn’s, and McCullough’s.
The Tulare County Court, the Orange Superior Courts, the Los Angeles Superior Courts, and the San Diego
Superior Courts in the State of California have all colluded with Union Bank where my sister Amillia

Henderson as heir began working in Orange, Santa ana, and San Diego, was targeted as an heir for inheritance
and terminated.

The Oklahoma BIA made it clear to us as Henderson’s in May of 2020 that Kenneth Henderson’s grandmother,
Laura McCullough while residing in Tulare County, California was already willed Lula Dunford’s Oklahoma
land and mineral rights but all legal facts of such a probate continued to be concealed by Tulare County even
while Mr. Henderson’s mother pleaded her case about her mom’s inheritance and mineral rights needing to be
probated and willed to her and other family heirs. Damages in relief from the actions taken by all California
courts in collusion with the oil and gas companies such as Eaton Corp and Exxon Mobil to steal millions in
willed inheritance through California’ Union Bank while using the Ponce family to further target the plaintiff’s
as heirs are acts of systemic racism and discrimination by the state of California. California illegally set up
willed land mineral rights as a Trust Account with Union Bank when it was actually probated to Laura
McCullough from Lula Dunford’s with possibly many other royalty rights left unknown and should be willed to
Monica Henderson as an heir to our Oklahoma Indian land previously owned by her parents David and Laura
McCullough as heirs.

Milton Charles Grimes

Mr. Grimes will always be known as one of the criminal defense attorneys who represented Rodney King but in
the eyes of a father in protecting his family from cyber identity fraud while trying to maintain his relationship as
an American Indian father in all custody matters with L'amour Ponce Jr., in the Orange County Superior courts
with his 4 daughters, Mr. Henderson is requesting the attorney’s presence in court with his stepdaughters’

13

 
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 18 0f 112 Page ID #:18

biological father for answers to a mother and grandmother possibly concealing years of court testimony of his
children's mothers brain injury, possible concealment of Social Security Disability Fraud between both mothers
using the same name, years of possible concealment of Identity Impersonation fraud claims with both mother
and grandmother using the same name, years of concealment of possible child abduction claims due to both
mothers claiming the same name, and years of concealment of IRS Fraud Claims of all 4 children (Aaminah
Watkins, Maya Henderson, Kayla Henderson, and Jordyn Henderson) claimed in his marriage with to L'amour
Ponce Jr., while both women concealed court testimony for years supporting the grandmother, Ellis Ponce Sr.,
being made her disabled daughter's Power of Attorney of her daughter and the Legal Guardian of her daughter's
children even throughout al] the years her daughter was married to Kenneth Henderson. The grandmother, Ellis
Ponce, may have also been court ordered through the Orange County Superior Courts to change her name to
Lamour Ponce with the Orange County Social Security Domestic Violence Program and finally ordered a
Judgment unknown to Mr. Henderson only weeks after his marriage and relocation to Virginia with L'amour and
his stepdaughter as possibly abducted from California and her father, Alvin Jerome Watkins. All actions taken
by Orange County Superior Courts in using both mother and grandmother as agents were to claim the same
name and Native American Indian children from Mr. Henderson to continue to claim millions in oil and gas
leases inherited to Mr. Henderson's mother, Monica Henderson as the administrator of property of his
grandmother, Laura McCullough who was willed land rights from Oklahoma from her mother, Lula Dunford.
Eaton Corp and Exxon Mobil were the 2 main oil and gas companies involved in such actions taken by the
Orange County Superior Courts who continue to profit and financially support Orange County Government
agencies, Nationwide Government agencies, school districts, and healthcare facilities.

Office of Administration-Special Education (Sacramento, CA)

California was under an Emergency Stay at Home Order due to the Corona Virus Pandemic issued by its State
Governor at the time Mr. Henderson’s complaint against the Corona Norco School District in support of his
daughter, Maya Henderson’s diagnosed disabilities of Anxiety Disorder, Skin Picking Disorder, Wetting the Bed,
and positive Depression Test were denied by the School District in support of a 504 Plan. Mr. Henderson
believes attorney Karen Anderson’s involvement in any successful attempt have his daughter’s case dismissed
by an OAH judge during the Governors Stay at Home Order should be properly investigated. With Maya’s
truancy record for being late to school in relation to her need for showering in the mornings due to her bed
wetting, Mr. Henderson claims the 1“ period P.E teacher being aware of the difficulties of Maya’s mental health
needs along with the 504-Plan coordinator should have supported his daughters plan along with any OAH judge.
The father continues to believe California will continue to discriminate against black American Indian heirs
from Oklahoma in efforts to maintain all royalties the state continues to deny to their many black Native
American family heirs.

Attorney Thomas Chapin

Refused to submit the Petitioner's request for an Emergency Ex Parte Order in December of 2016 after his wife
abducted his 3 daughters into her parents Anaheim apartment then immediately enrolled them into Eastside
Christian Schools in Fullerton, CA, some 25 miles from his corona residence. The mother had agreed with the
Petitioner before their return into the state that they and their 3 children would stay with his cousin in Victorville.
Mr. Chapin. after taking money upfront, informed Mr. Henderson that he should file in Orange County over
Riverside County Superior Courts due to feeling he had a closer relationship with the judges there.

Mr. Chapin's actions as Mr. Henderson's assigned attorney in December of 2016 was to use premeditated and
tactical legal methods to try and get himself off the case while dangerously hurting Mr. Henderson 's legal
chances to maintain a relationship with his daughters in all matters relating to his request for Physical and Legal
Custody. The mother had taken his children without any evidence to support the Petitioner was a threat. Such
actions taken by Attorney Chapin in choosing to file several weeks later in Orange County, refusing to legally

14
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 19 0f112 Page ID #:19

represent Mr. Henderson in his Child Support hearings, and further not filing Mr. Henderson's Emergency Ex
Party Order in Riverside Superior Courts where he lived in December of 2016, allowed the Respondent and her
mother to keep his children from him in a home and private school he never consented on in court. Because of
attorney Chapin's unwillingness to file an emergency order in Riverside County Superior Courts, though the
Respondent had no supportive facts to support her claims of the Petitioner's threatening behaviors as being the
reason for taking his children from him and placing them into a private school that denied his daughter Jordyn
her SELPA RIGHTS as a student diagnosed with a learning disability. The Judge was apprehensive in wanting
to remove the children out of yet a 3“ school district and school after 3 months had already passed as students at
Eastside Christian so he ruled to keep them enrolled there with a temporary order in which he would make a
final order on choosing the girls school district on July 25", 2017. Had the Emergency Order been entered in
Riverside County Superior Courts, and had Mr. Chapin represented Mr. Henderson in his Child Support hearing,
the actions taken by the mother to deny him his rights as the children's biological father, would have been
reviewed by the courts sooner.

Attorney Tommy Andrews Jr:

Bankruptcy attorney from Old Town Alexandria in 2012 was chosen by Lamour Ponce Jr. and likely L'amour
Ponce Sr., to remove all evidence of Kenneth Henderson and Lamour Ponce's marriage in Virginia, to remove
medical claims of the children in Virginia, and ownership of property such as the mortgage loan for the
condominium and the loan for their family van in Virginia.

Easter Seals

Petitioner, Kenneth Henderson is requesting damages in relief against employer, Easter Seals for denying his
rights to financially support his 3 daughters in a 50/50 joint legal and physical custody decision ordered on July
25", 2017 for both parenting parties. Easter Seals billing department secretly kept Mr, Henderson and his
attorney from being aware of a court ordered contractual agreement with Orange County Superior Courts Child
Support Services to use Ultimate Software in Santa Ana, California to garnish his paychecks over what is
normal state policy to use California's State Distribution Unit (SDU).

Mr. Henderson, upon finding out from Easter Seals billing department that his checks were unknowingly being
garnished by Ultimate Software, was also not aware that he had been double paying the Respondent with credit
card payments through the State Distribution Unit for several months, requested Orange County's Child Support
services complete an audit. Orange County's Child Support Services, while in contract with both Easter Seals
and Ultimate Software, not only never informed or notified Mr. Henderson of an existing court ordered
garnishment with Ultimate Software, but were also taking money in benefits from his leave deductions,
vacation deductions, and transportation deductions for several months,

Mr. Henderson realized Ultimate Software was simply a 3™ Party Biller used by Eaton Corp and Exxon Mobil
as Oil and Gas companies with various Orange County Government Agencies, its court system and the Ponce
family as Agents used to keep Mr. Henderson as the Native American Indian father and heir separated from his
children as heirs to millions in royalties from oil and gas leases taken from his grandmother, Lula Dunford.

Orange County Social Services

Petitioner, Kenneth Henderson is requesting damages in relief from Orange County Social Services for first
covering up all written complaint filings made by Mr. Henderson in March of 2019 with no written response,
and by allowing both mothers in L'amour Kim Ponce and L'amour Ellis Ponce to claim all 3 children he signed

15
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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 20 0f112 Page ID #:20

them up with through Medi-Cal health insurance by way of using CalOptima and CHOC Health Alliance when
Mr. Henderson informed Orange County in December of 2016 that he had separated from L'amour Kim Ponce
and would be remaining in his own apartment at 1266 Ryan Lane #F, Corona CA 92882 and requesting his
daughters Medi-Cal Health Insurance be transferred over to him under Riverside Social Services. However,
Riverside County Social Services stated that Orange County Social Services is saying the mother, LL AMOUR
PONCE had claimed his daughters for Medi-Cal Health insurance first and all benefits would be denied to him
other than his own, including Cal Fresh Food Stamps while he remained in the red as case workers stated he did
not make enough to cover for all his rent, utilities, and car payments each month to support his children under
the current court order.

Orange County Social Services was made aware of all actions taken by both mothers in continuing to allow
them to claim all 3 children in knowing Lamour Ponce, the mother never planned to claim her 3 children
because she was receiving SSI when the Petitioner applied to add his 3 daughters under his name for Medi-Cal
Health Insurance due to being unemployed and not being aware of the financial restrictions of his wife's
disability benefits as she set their and watched him complete all the paperwork while likely knowing she would
soon be asking for legal separation with the insurance cards arriving to her and her mother as L'amour Ponce's
Anaheim apartment residence. Whenever Mr. Henderson would see his daughter's struggling to cope with the
operation between he and their mother he attempted to request to the mother that the girls needed therapy while
recognizing their eldest daughter as skin picking her arms and legs, but the mother kept denying her daughters
condition while denying consent of treatment as she was initially given 80/20 custody, then 50/50 custody after
July 25", 2017. Mr. Henderson is requesting relief from Orange County Social Services for allowing both
L'amour Ponce the daughter and L'amour Ponce the grandmother to hide the SSI benefits and marriage without
claiming the children on the daughter's disability insurance in efforts to legally claim them in court on the
grandmother's health insurance through CHOC Health Alliance in which she should not be able to claim due to
her income she was receiving through Eastside Christian Schools. It was during this February of 2018 time
period in which the Petitioner informed Riverside Social Services of issues of his daughters being denied
counseling at their Riverside County schools from the mother while wetting the bed and skin picking, however
he was informed by CalOptima health Insurance in Orange County that the children did not have a legal
guardian named under their health insurance plan. Once Mr. Henderson informed Riverside Social Services that
the mother, likely due to her continuing to receive Supplemental Security Insurance from the Social Security
Administration while attempting to still hide all 3 children from her marriage in Virginia to deny Mr.
Henderson's work income and marriage, the Riverside agent requesting Orange County provide the mothers
disability status in knowing she was not recognizing herself as claiming the children and the County instead
decided to transfer over all benefits to the Petitioner after nearly 14 months after he initially asked for his
daughters transfer of benefits in December of 2016.

Orange County Social Services a few months after the February 2018 change of County Child Benefits to
Riverside, decided to take back to Orange County only the Cal Fresh benefits in what the Petitioner felt was the
Counties means to target his financial ability to support the children while knowing they could potentially seek
fraudulent medical claims of his daughters from Orange Counties Saint Joseph's Medical Center in Corona
California by means of the mother being able to claim them as the guarantor for financial gain of Orange
County due to the judge’s decision to add CHOC as a specialist, an act in which the mother was doing even
when it wasn't even her week as the custodial parent to take the children, as all claims should have been done
through Inland Empire Health Insurance.

Orange County Social Services deprived Mr. Henderson of benefits in which impacted his financial ability to
support his children in again, Orange Counties legal means to support the mother over the father in knowing the
current custody order of 50/50 could impact his financial means to support his 3 daughters in the courts using
the Child Support order and 3" party billing Company, Ultimate Software (UltiPro) to deprive the father of

16

 
 

 

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 210f112 Page ID #:21

maintaining a relationship with his daughter's by being unable to maintain his apartment he was leasing so they
could remain together. It was the Petitioner's parents that ended up being his only recourse in maintaining a
relationship with his 3 daughters in changing the custody order to a 50/50 high visitation. The Orange County
Social Services never gave the Petitioner a written response to his filed Complaint given in April of 2019, which
supports continued collusion between the County agency and all actions taken by both mothers in using the
same name to allow the grandmother to claim Mr. Henderson's 3 daughter's, even after the father informed the
agency that he was residing in Riverside County at 1266 Ryan Ln. #F, Corona, CA 92882 in December of 2016.
Orange County Social Services continued to allow the grandmother to receive all benefits of the children in
knowing her daughter continued to receive SSI disability benefits due to her permanent disability as described
in the Orange County Superior Court in written testimony by the Petitioner's stepdaughter's biological father,
Alvin Jerome Watkins in 1997.

Orange County Internal Revenue Services

Both Lamour Ponce Sr., and Lamour Ponce Jr., conspired for years as agents against the husbands and fathers of
their children and grandchildren for financial gain of Orange County agencies by both mother and grandmother
concealing federal violations of Identity Impersonation in the use of the name Lamour Ponce only without the
use of a suffix, and Identity Theft of 5 minor children named Aaminah Watkins, Kendell Andre Young, Maya
Henderson, Kayla Henderson, and Jordyn Henderson. Both mothers conspired to use Mr. Henderson's mother in
law's adopted son who is his wife's nephew, Kendell Andre Young, fraudulently on the married couples tax
return documents and deny both the existence of Alvin Watkins as Aaminah’s biological father and the marriage
to further deny Mr. Henderson’s existence as a deceased husband within the Government system only, for the
mothers to both claim Social Security Survivor's Benefits while the County or State Government of California
obtain millions in oil and gas leases related to Inheritance from his daughter, Maya Henderson as an heir to her
great grandmother, Lula Dunford's will. California IRS continues to deny copies of IRS documents more than 3
years old supporting copies removed from his home in 2018 would further suppport the mother and his mother
in law were using an additional social security card number in Virginia with Lamour Kim Ponce Jr using
Parental Identification Fraud with her mother from California with Kendell Andre Young and Aaminah Watkins
on the returns but as her mother’s dependents without her husband, Kenneth Henderson.

Anaheim Social Security Administration Office

Mr. Henderson is requesting relief in this matter for damages in actions taken against him, his children and
parents while various County government agencies colluded with the Ponce family to cover up all fraudulent
activities in hiding the improved disability status of Lamour Ponce Jr., and change in legal guardianship of his
stepdaughter, Aaminah Watkins to her grandmother, Lamour Ponce Sr for financial gain of millions in oil and
gas leases willed to Mr. Henderson's family heirs from Lula Dunford. Both Lamour Ponce Sr and Lamour
Ponce Jr were allowed to switch identities to claim one another's children in different states for Survivors
Benefits, and Inheritance claims from their husbands and biological fathers of their children and grandchildren.
The Orange County Superior court order was likely deliberately concealed in support of Lamour Ponce as an
agent financially supporting Orange County Government Agencies and healthcare facilities without both fathers
in Alvin Watkins and Kenneth Henderson ever knowing the details of Judgment order and change in legal
guardianship to the grandmother of all 4 children financially supported by both fathers while living in Virginia
with Mr, Henderson and Lamour Ponce Jr. Mr. Henderson believes Anaheim Social Security Administration
agent named MR. EVANS is directly involved in serious felony charges in targeting his children as heirs to be
claimed by his mother in law “Ellis” (not Lamour) for inheritance for oil and gas leases willed to his
grandmother, Laura McCullough.

17
 

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 22 0f 112 Page ID #:22

CalOptima

Plaintiff, Kenneth Henderson is filing this initial clatm in seeking damages against CalOptima due to never
responding back to Mr. Henderson after he filed a written complaint in relation to the actions of both Lamour
Ponce Jr and her mother Lamour Ponce Sr committing Parental Identity Impersonation and fraud of their
children and grandchildren's Medical Records and Medical Claims. An Insurance Company that allows a policy
that supports Fraud Predators who tend to target children for financial gain, to further target their personal
formation. CalOptima, in supporting Medi-Cal Services, allows children who are not wards of the state to be
their own Health Insurance Subscribers. Such a policy allows Child Fraud Predators to further target children's
credit, medical records and social security records for fraudulent claims with Identity Fraud.

Children's credit, medical records, social security records or health insurance claims should not be further
targeted by Child Fraud Predators due to a policy that can be changed and require parents of none wards of the
state able to maintain legal guardianship be responsible as their Health Insurance Subscribers. An adult name in
representing as the parent or legal guardian should always be shown on a child's health insurance plan with
CalOptima through Medi-Cal as their minor childs Health Insurance Prescriber, not the child who is not an adult.

In knowing Mr. Henderson in November of 2017, was the parent alone who completed the initial application to
add his 3 daughters to his request for CalOptima Health Insurance, the moment he informed the Health
Insurance provider that he had moved out of Orange County into Riverside County that December, he states all
claims activities involving his children should have ceased or transferred over to Riverside due to the mother
already having SSI and needing to complete a separate application for the children in which the father claims
she never did due to potential risk of being reported for Social Security Fraud in not claiming the marriage and
husbands income to the Social Security Administration while maintaining Supplemental Security Income (SSI).

Instead of terminating Mr. Henderson’s Cal Optima Insurance for him and his children, he states the Health
Insurance Provider continued to allow the children to fraudulently be under the grandmother, Ellis Ponce in
using her daughter’s name, Lamour Ponce. CalOptima, in efforts to conceal such actions of identity fraud
between both mothers, further denied Mr. Henderson access to all medical claims and records whenever
attempting to call the Health Insurance provider, stating he “needed access.”

It was in another phone call in which the CalOptima agent, after Mr. Henderson threatened to sue, did they
decide to give 1 pediatrician’s name in Irvine, California, instead of giving the father medical records of his
children, and it was in that pediatrician’s medical records did Mr. Henderson find an EEG test in relation to
unknown seizure activity while Jordyn was a student at Eastside Christian Schools and other records such as a
positive Depression Test for daughter, Maya, while also a student at Eastside Christian Schools but records and
diagnoses left unknown to him.

Such actions allow County Agents in custody and child support courts to Cyber Name Claim a child with their
parents first and last name only (No middle name or distinguishing titled suffix) to tie unclaimed oil and gas
leases for royalties and financial gain with various County Government Agencies and Healthcare
hospital/Centers.

CHOC Health Alliance

Plaintiff, Kenneth Henderson is filing this initial claim in seeking damages against CHOC Health Alliance due
to allowing a policy that supports Fraud Predators who tend to target children for financial gain, to further target
their personal formation. CHOC Health Alliance, in supporting Medi-Cal Services, allows children who are not

18
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 23 0f112 Page ID #:23

wards of the state to be their own Health Insurance Subscribers. Such a policy allows Child Fraud Predators to
further target children's credit, medical records and social security records for fraudulent claims with Identity
Fraud.

Children's credit, medical records, social security records or health insurance claims should not be further
targeted by Child Fraud Predators due to a policy that can be changed and require parents of none wards of the
state to be their children's Health Insurance Subscribers.

Such actions allow County Agents in custody and child support courts to Cyber Name Claim a child with their
parents first and last name only (No middle name or distinguishing titled suffix) to tie unclaimed oil and gas
leases for royalties and financial gain with various County Government Agencies and Healthcare
hospital/Centers.

CHOC Hospital concealed medical records of daughter, Jordyn Henderson’s EEG test in their Neurology
Department from being faxed over to other pediatricians or medical centers for preventative treatment. Mr.
Henderson documented more than once where he attempted to have his daughter’s medical records sent via fax
from CHOC to 2 Corona Pediatricians and the hospital simply never would send over the records to allow
current doctors the ability to follow up on their medical treatment. Mr. Henderson would be required to
physically drive to the Santa Ana and Orange hospital sites to receive in hand his daughter’s medical records
after they repeatedly failed to fax over Dr. Bahlla’s then Dr. Yoo

Mother and Grandmother, Lamour Ponce may have created double billing and fraudulent claims with an retired
referred CHOC Ophthalmologist in 2016 through their Irvine Pediatrician Afagh Kathryn Khorashadi, possible
fraudulent double billing claims through Optometrist Seth Bernstein in Corona, California and Dr. Rahul Bhola,
an Ophthalmologist with CHOC Hospital.

Orange County Medi-Cal

Plaintiff, Kenneth Henderson is filing this initial claim in seeking damages against Orange County Medi-Cal
services due to allowing a policy that supports Cyber Fraud Predators who target children for financial gain by
targeting their personal formation as minors. Orange County Medi-Cal allows children who are not wards of
the state to be their own Health Insurance Subscribers. Such a policy allows Child Fraud Predators to further
target children's credit, medical records and social security records for fraudulent claims with Identity Fraud.

Children's credit, medical records, social security records or health insurance claims should not be further
targeted by Cyber Child Fraud Predators due to a policy that can be changed and require parents of none wards
of the state the ability to be their children's Health Insurance Subscribers.

Such actions allow County Agents of children in custody and child support courts to Cyber Name Claim a child
with their parents first and last name only (No middle name or distinguishing titled suffix) to tie unclaimed oil
and gas leases for royalties and financial gain with various County Government Agencies and Healthcare
hospital/Centers.

Orange County Superior Courts

The Plaintiffs are filing this initial complaint against Orange County Superior Courts due to years of colluding
with the above defendants to deprive Mr. Henderson, his 3 daughter's and various other Native American
Family heirs from the Seminole Nation of Oklahoma their inheritance from Lula Dunford. The Orange County
Superior Courts Child Support Services concealed a contractual agreement with a 3 Party Billing Company,
Ultimate Software for Mail Fraud with the U.S postal service in printing fraudulent Child Support statements

19

 
 

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 24 0f112 Page ID #:24

for financial gain of the County and the other parenting party to hide Mr. Henderson's additional payments as
the biological Native American heir and father from being identified with the California State Child Support
Payment Distribution Unit. The Child Support order and garnishment should be served to the parenting party
when their payments are considered late in which Mr. Henderson in still considered being a non-state resident
until May 22" was ordered to pay Child Support on May 2"! 2017 without trailing the Custody courts decision
in which changed the order from 80/20 visitation in favor of the mother to 50/50 equal visitation times for both
parties. Orange County Superior Courts used intent and libel actions in using Ultimate Software to target Mr.
Henderson's paycheck deductions for several months while hiding the wrongs being committed against him
from being recognized with the California's Child Support State Distribution Unit, as the State SDU never knew
his employer checks were being garnished due to Ultimate Software not showing Mr. Henderson's Child
Support deductions due to not calculating his Vacation, Sick Leave and Travel Expenses until the court and his
employer became aware that he had put in his resignation to take a job in Long Beach CA. However, it was the
Petitioners decision to not take the job after his reliable family car was repossessed near December of 2018 in
which he recognized the garnishment deductions finally appearing on his paycheck stubs mailed to his home
address from 3" party billing Company, Ultimate Software in contract with both the Superior courts and his
employer, Easter Seals who Easter Seals headquarters in Sacramento states they only use the California State
SDU for employee garnishment orders from the court, which would support collusion between a secretive
contract order between Orange County Superior courts Child Support and Mr. Henderson's employer to target
his financial ability to support his daughter's on a Child Support Order that was already considered to be in
violation due to the change in high visitation schedule of his daughters with a 50/50 joint legal and physical
temporary order given on May 19", 2017 and a final order given on July 25"", 2017. The court used High
Visitation as a reasoning to cover up Mr. Henderson's noted diagnosed disability as being the primary reason the
court needed to conceal prior actions to hide years of receiving Survivor Benefits of a deceased husband and
biological father who remains alive while further receiving SSI Payments with the Social Security
Administration by the court and County Agencies colluding to use both mother and grandmother's scheme as to
claim Mr. Henderson's Native American families inheritance for financial support of Orange County
Government Agencies in filing and claiming the children heirs or simply Maya Henderson, deliberately born
separately in Washington D.C from her biological parents and siblings place of birth in Virginia to be claimed
by LAMOUR PONCE Sr and filed in all Orange County Superior Court custody matters with both fathers as
LAMOUR PONCE only.

Orange County Superior Courts further assisted both Lamour Ponce Sr. and Lamour Ponce Jr. in never
identifying which mother was made Power of Attorney with Legal Guardianship over her granddaughters while
filing false claims of Domestic Violence charges against Mr. Henderson. The court also assisted both mothers
with keeping all filings as Lamour Ponce only to conceal who was diagnosed as permanently disabled due to a
severe brain injury, giving up legal guardianship of Aaminah and her children in marriage to Mr. Henderson
without his knowledge. The Superior Courts filings between both mothers still only state Lamour Ponce or
Lamour Ponce to deny all parental rights of both fathers in favor of the grandmother known to family as Ellis
not L'amour.

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[Afagh Kathryn Khorashadi, M.D (Irvine Pediatrics and Saint Joseph's Heritage Center)

Attached documents from the Anxiety and Depression Association of America (ADAA) showing the common
relationship between headaches and anxiety disorders support the Respondent, Lamour Ponce, once again
colluded with another assigned pediatrician (Dr.Afagh Kathryn Khorashadi) to recreate medical records given to
the Irvine doctor by redacting the Sunrise Multi-specialist Medical Centers physician ASSESSMENT of
headaches and TREATMENT ORDERS of Ibuprofen on his medical records. The Physician Assessment and
Treatment Orders of the medical records, rather sent electronically, faxed or mailed, should be identical to
whatever was sent from one physician's office to the next, however, the Sunrise Multi-specialist Medical
Center's medical records for Maya, once given to Dr. Afagh Kathryn Khorashadi, Mr. Henderson recognized

20
 

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 250f112 Page ID #:25

changes under the titled area of Assessment, directly below where it states Overweight. it should state:

“Headache, acute, no additional work up required.” However, this assessment by the Sunrise Multispecialist
Center's physician once in the office of Dr. Afagh Khorashadi, is clearly missing.

Likewise, where the Multi-specialist Medical Center's physician's medical records state “Treatment/Orders,”
his last prescription ordered should state:

Prescribed Ibuprofen, 400 mg, 1 tablet orally every 6 to 8 hours as needed. For pain and Inflammation. Take
with food #30 tablets, No refills, McKelvey, James PA-C, 5/23/17 at 11:19AM),

However, the above treatment order of Ibuprofen once in the office of Dr. Afagh Kathryn Khorashadi, is also
missing.

The courts may question rather such malpractice in medical records should be focused only with Dr. Kathryn
Afagh Khorashadi's office and not in collusion with the Respondent, however, the Petitioner is asking the court
to review the mothers actions in criminally altering and creating medical records in colluding as well with Dr.
Jennifer Tucker's Saint Joseph's Heritage Center, some six months later. Such actions by the mother in collusion
to create medical records with Dr. Tucker's office were in effort to hide such records, labs, referrals and medical
test from Dr. Khorashadi's office from being included as added testimony in support of the Petitioner, in her
continued actions in denying him decision making abilities in the children's educational and health needs while
attending Eastside Christian Schools before the courts made their July 25", 2017 After Hearing Court Order.

Saint Joseph's Heritage Medical Center:

An attached copy of CalOptima's Health Insurance billing statement requested this year by father, Kenneth
Henderson, supports no medical billing existed from his daughter's November 28", 2017 physical and medical
records in which mother, L'amour Ponce claimed she took their child to be treated by Dr. Jennifer Tucker from
Saint Joseph's Heritage Center. The non-existence of medical billing from the November 28", 2017 visit
supports the Petitioner's belief that the Respondent and Saint Joseph's Medical Center in Anaheim colluded in
falsifying all his daughter’s medical records from that Tuesday, to include a lab work request to test for pre-
diabetes. Such criminal acts to fraudulently create medical records between the Respondent, L'amour Ponce and
Saint Joseph's Heritage Medical Center were in efforts to cover up the existence of medical records that support
possible negligence in daughter, Maya's mental health treatment while a student at Eastside Chistian Schools,
Raney Intermediate Schools, and Centennial H.S from both mother and grandmother in collusion with Irvine
pediatrician, Afagh Khorashadi, M.D.

David Joseph Ponce

Assisted with covering up all Identity Impersonation and Fraud claims between his sister Lamour Ponce Jr., and
his mother, Lamour Ponce Sr., in claiming the same name of Lamour Ponce only in the Orange County Superior
Courts and Aaminah, Maya, Kayla and Jordyn as children who resided in Virginia. The actions taken by David

Ponce was for financial and custodial gain of Orange County and both mothers with various ties as County
agents in financial support of California Government and Healthcare facilities.

Joseph Ponce Jr

21
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 26 0f 112 Page ID #:26

Assisted with covering up all Identity Impersonation and Fraud claims between his wife, Lamour Ponce Sr., and
his daughter, Lamour Ponce Jr., in claiming the same name and children who resided in Virginia and Georgia
for financial and custodial gain of Orange County Government agencies and healthcare facilities with the name
L'amour Ponce only, as filed into the Orange County Superior Courts.

Michele Helena Ponce:

Assisted with covering up all Parental Identity Impersonation Fraud claims between her sister and her mother,
in being aware that both mothers as Lamour Ponce claimed the same name and children who resided in Virginia
and Georgia for financial and custodial gain of L'amour Ponce with various ties as County agents with Orange
County, California Government and Healthcare facilities.

Stephen Dolphin:

L'amour Ponce's Brother In Law has worked for Eaton Corp for 13 years as an agent while being aware that
both mothers as L'amour Ponce claimed the same name and children who resided in Virginia and Georgia for
financial and custodial gain of Orange County Oil and gas companies Eaton Corp and Exxon Mobil in financial
support of various ties as agents with Orange County, California Government and Healthcare facilities with oil
and gas leases willed from Mr. Henderson's Great grandmother, Lula Dunford to his grandmother, Laura
McCullough. Both Stephen Dolphin and his wife, Michele had Mr. Henderson's stepdaughter, Aaminah remain
with them after things fell through where Aaminah was residing with her boyfriend Tyree Henderson. Mr.
Henderson believes the Ponce family as Government Agents intended to use Aaminah as a child heir by blood
once she marriage Tyree Henderson and changed her name to Aaminah Henderson and claim inheritance from
her Indian Blooded sisters as heirs, Maya Henderson, Kayla Henderson, and Jordyn Henderson. However, the
relation between Mr. Henderson and Aaminah had become strained due to the same manipulation tactics
appeared to be skilled behaviors from the Ponces that they also use as Agents on Maya, Kayla and Jordyn. Both
the Dolphin Home and the Ponce Home could both be claiming Aaminah and Maya as child heirs to inheritance
to tie such royalty profits from each home into Eaton Corp and Exxon Mobil.

Christine Holmes:

Court assigned Therapist, denied to refer daughter, Maya Henderson and her behaviors for diagnosed Anxiety
and Skin Picking Disorder to a higher form of care during and after ending services. Christine Holmes, also may
have used aka name Christina Holmes, colluded with CSCC's (Child Support Cyber Criminals) by using an
Online Scheduling System over paying for a Receptionist to deny Mr. Henderson the ability-to properly
schedule his 3 daughter's in efforts to influence the courts custody decisions of the children in all monthly
therapist reports in favor of LAMOUR PONCE and Orange County. The therapist further colluded with the
Orange County by COACHING all 3 children into what to say for a court interview in which minor children
should never be prepped into what answers to give to a Court Investigator before making a ruling on custody
matters between 2 parenting parties. Not only was both mothers as Black Widow Agents allowed to change the
Investigator's Report just days before filing a response to the court, but he was left to have to respond on the
witness stand without knowledge of having to testify to such false statements made to his children of throwing
their sisters items out of the house when he only attempted to move all her belongings down to the basement
room after months of Aaminah denying to assist with support of the monthly rent while making over $46,000
annually with her employer at Enterprise Rental. The grandmother as Lamour Ponce Sr appeared to change the
Court Investigator's Report of statements of Narcissism likely made in reference to the mother's inability to be
truthful and provide facts of her actions in her interview for why she took the children into her home without
reporting a Just Cause to the Orange County District Attorney's Office or the Custody Court, with Lamour
Ponce likely justifying her actions in her beliefs as always legally right while never admitting she denied the
fathers’ rights of her children in what she and her mother did as Black Widow Agents for financial gain in

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 27 of 112 Page ID #:27

millions in inheritance taken from Mr. Henderson's Native American family heirs for Orange County.
Darrell’s Drilling (Konowa, Oklahoma):

Darrell’s Drilling states they have been in the business of oil drilling since the 1990’s, however, when the
Plaintiff, Kenneth Henderson recently on Monday, June sg" 2020, called the oil drilling company, he was
informed that her husband was no longer doing oil well drilling and that they “Only managed the land.” The
employee and wife from Darrell’s drilling did not state how they were paid for maintaining the land or if such
payment came from a percentage of the mineral rights, however, if someone is simply maintaining the land
owned by Lula Dunford and probated to Laura McCullough, then it would appear by taking out the landowner
or the middle man, the actual oil driller, and the mineral right buyer such as Exxon-Mobil would clearly benefit
in lease negotiations.

It should be noted that Eaton Corp, while only 37 miles away as an Up Stream oil drilling exploration and
recovery as a major oil and gas company resides in Shawnee, Oklahoma and in Irvine, California as a
Aerospace company, where coincidentally in Irvine, the Henderson family as McCullough heirs in 1993, after
going through years of a home, lease to purchase court battle in the City of Orange, with a complaint filed in
1987 by the Henderson’s in the Orange County Superior Courts but did not settle out of court until 1992 as
drillers during that time named the Walker and Raper family transferred the ownership of Lula Dunford’s oil
wells into their name, with Raper creating a Trust account. With the Henderson’s settlement with the Superior
Court of Orange County, they moved to Irvine where Eaton Corp resides and living in a neighborhood across
the street from the Ponce family home, then had Lula Dunford’s inheritance completely taken out of her name
as the owner into the Raper name.

Violation of State Statutes by Lamour Ponce:

The core issues between me and the Respondent, L’amour Kim Ponce stems from her knowingly and willfully
continuing to hide medical records of our daughters as legal documents (as stated under California Penal Code
Section 135 PC for hiding evidence from being used as supportive testimony before and after the Orange
County Superior Courts July 25", 2017 court order in support of my initial January 2017 filings for Legal
Separation and later for Divorce in 2018. The July 25", 2017 final order gave both parenting parties joint legal
and physical custody over our 3 children with a continued week on/week off 50/50 visitation schedule from a
temporary order given on May 19", 2017.

California Penal Code Section 135 pe states:

A person who, knowing that any book, paper, record, instrument in writing, digital image, video recording
owned by another, or other matter or thing, is about to be produced in evidence upon a trial, inquiry, or
investigation, authorized by law, willfully destroys, erases, or conceals the same, with the intent to prevent it or
its content from being produced, is guilty of a misdemeanor, Mr. Henderson reported in court that Lamour
Ponce knowingly concealed legal documents and video footage on laptops and camcorders belonging to him, to
include fraudulent activities involving the couples ax return documents, fraudulent activities involving her
disability benefits while receiving Survivors Benefits and Supplemental Security Insurance payments while
denying his work income and marriage for years. (some source taken from . 2015, Ch. 463, See. I. (AB 256)
Effective January 1, 2016.)

California statute 3003 for Joint Legal Custody states:
Both parents shail share the right and the responsibility to make the decisions in the health, education, and
welfare, of a child.

The above source is from: https://www.womenslaw.org/laws/ca/statutes/3003-joint-legal-custody
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 28 0f 112 Page ID #:28

Since my January 2017 filing for legal separation and divorce in 2018, I believe I have provided the courts
proper testimony to support the Respondent’s repeated actions in violating California’s joint legal custody laws
as the current ruling between us in further violating statute 3027.1.

Leading into this requested Custody Investigation, the Respondent has continued to falsely claim me as threat to
our children going back to her 2017 testimony stating her reasoning in placing our children into her parents’
home and into a private school her mother worked for once we arrived to California from Georgia. The
Respondent in recent testimony on November 9", 2019 essentially doubled down from her previous false
accusations relating to her fears of me around the children in her written testimony response to my declaration
in January of 2017. She recently stated in her filed request for modification of our July 25",2017 custody order,
that my demise due to mental health deterioration and threatening behaviors has our children “walking on
eggshells” while they remain on visit in my home.

3027.1. False accusations of child abuse or neglect during child custody proceedings; knowledge;

penalties

(a) If a court determines, based on the investigation described in Section 3027 or other evidence presented to it,
that an accusation of child abuse or neglect made during a child custody proceeding is false and the person
making the accusation knew it to be false at the time the accusation was made, the court may impose reasonable
money sanctions, not to exceed all costs incurred by the party accused as a direct result of defending the
accusation, and reasonable attorney’s fees incurred in recovering the sanctions, against the person making the
accusation. For the purposes of this section, “person” includes a witness, a party, or a party’s attorney.

(b) On motion by any person requesting sanctions under this section, the court shall issue its order to show
cause why the requested sanctions should not be imposed. The order to show cause shall be served on the
person against whom the sanctions are sought and a hearing thereon shall be scheduled by the court to be
conducted at least 15 days after the order is served.

(c) The remedy provided by this section is in addition to any other remedy provided by law.

California Penal Code 135 PC: I have supported in previous court testimonies filed from my October 3 of
2018 declaration, that the Respondent used a CalOptima Health Insurance password to deny me as the father,
medical records other than immunizations now known to me to be from Afagh (Kathryn) Khorashadi, MD.
The Respondent’s actions further denied the Orange County Superior Courts medical records of the children
from Afagh (Kathryn) Khorashadi, MD, Saint Joseph’s Medical Center and CHOC Hospital. The
Respondent also had an opportunity to inform our daughters Riverside pediatrician and current Corona-Norco
school district of pertinent medical records in relation to properly treating our daughters diagnosed pre-diabetes,
Skin Picking Disorder, Anxiety Disorder and Seizure activity requiring a referred Neurologist and EEG as a
means to update our the transferred Orange County IEP with a Seizure Action Plan for preventative measures to
support Corona-Norco School teachers in protecting our child in case she has yet, another onset of seizure
activity, however, she chose not to provide such medical information once again.

3025. Parental access to records
Notwithstanding any other provision of law, access to records and information pertaining to a minor child,
including, but not limited to, medical, dental, and school records, shail not be denied to a parent because that
parent is not the child’s custodial parent.

In representing myself, I can say that I have made many legal mistakes in my filings in efforts to support my
legal rights as a parent to support my daughters educational and health needs, however, any appeal that the court
removed due to technicality never once stated I can be denied my rights to have knowledge, and access to

24
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 29 0f112 Page ID #:29

records and documents of my children in seeking a response from Orange County Superior Courts, Orange
County Social Services, CalOptima Health Insurance, Ultimate Software in Santa Ana, a Saint Joseph’s
Medical Center Pediatrician, Afagh (Kathryn) Khorashadi, MD and to Eastside Christian Schools Kim Van
Geloof and L’amour Ellis Ponce, all in support of my attempted May, 2019 appeal of the Respondents continued
actions in denying not only my rights but the rights of our children’s health needs due to diagnosed conditions.

If Eastside Christian Schools Principal, Kim Van Geloof, and L'amour Ponce as a school volunteer or her
mother, Ellis Ponce as a school instructor were either terminated or forced to resign from their employment
positions due to related written testimony in my appeal documents of being denied my SELPA RIGHTS in
California as a parent to my children, in no way should the Respondent then be able to legally retaliate with
false statements of me being a threat around my daughters, In fact, the medical records unknown and denied to
me in both 2017 and 2018 custody hearings in which led into 2019, the Respondent was given approval to see a
Neurologist to perform an EEG due to Staring Spells to include a referral for Mental Health depression for our
other child, were during the same time period in 2017 in which I was also denied knowledge to make
educational decisions of my children per SELPA RIGHTS from both the Respondent and our children’s 4m
grade Eastside Christian School Instructor, Ms. Wozab of any Medical and Psychological Assessment in support
of updating our daughters IEP and Seizure Action Plan I have attached to this investigative response, should
support my prior and current allegations of the Respondent’s continued actions in violating California Statute
3003, California Statute 3027.1, California Statute 3025, and California Penal Code 135 PC.

False Impersonation (California Penal Code Section 529 PC) is a criminal offense involving the use of someone
else's name in order to cause harm to that other person or improperly gain a benefit. Both my wife and mother
in law were used as agents along with various In Laws and County workers in positions such as Orange County
Social Security agents, Orange County IRS Agents, Orange County Social Services Case Workers, Orange
County and Riverside teachers, principals, nurses, doctors, judges, lawyers, all in similar fashion of actions of
various community and County workers in support of in laws who took millions in inheritance from the Osage
Indian Tribal murder cases, all to influence decisions in court, in school districts, in falsifying hospital treatment
and diagnoses in efforts for Orange County as California state agencies to maintain millions in royalties and
inheritance from Mr. Henderson's Native American Family heirs as Seminole Indians from Atoka, Oklahoma.

Mr. Henderson and his 3 daughters have a living Uncle (Quincy) who along with their 14 other siblings were
enrolled in the historic Riverside Indian Boarding School in Oklahoma. That’s 15 aunts and uncles of Mr.
Henderson that shows how recent our history as a country denying the inheritance and land rights in moving
and murdering the American Indian is from today. The Trail of Tears did not end in Oklahoma, as Mr.
Henderson claims the U.S Government denies the millions of Black American Indians who were forced to come
to Tulare and Northern California for survival, as his ancestors did. The Ida #1 Oil Well and Nelly #1 Oil Wells
that began the huge oil rush in Oklahoma were on Mr. Henderson's great-great grandmother's land, “Ida-
Nelly”Hays Cochran as the mother of Lula Dunford, Mr. Henderson's grandmother, Laura McCullough’s
mother, Monica Henderson, Mr. Henderson's mother. It is the reason why nearly every major freeway,
government buildings, hospitals, and various corporations have Mr. Henderson's ancestral heirs roll numbers
tied into thousands of U.S businesses nationwide as they derive from the oil and gas from lands taken from his
family heirs in the early 1900's.

Just as the Osage Indian Tribal Members were targeted for murder for their oil wealth, well so were the black
Washita and Seminole Indian Tribal members, however, the Black Native American Indians were not only
murdered and separated from their children as heirs, but they were denied knowledge of their cultural roots as
American Indians and told they were slaves as part of the Trans Atlantic Slave Trade when many were always
for many generations, remained near the Wichita River and various other locations throughout Oklahoma and
the lands from the Louisiana Purchase.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 300f112 Page ID #:30
The Wolves of Anadarko

David McCullough, as Plaintiff, Monica McCullough Henderson’s father and Plaintiff, Kenneth Henderson’s
grandfather, worked on the railroads for years and would leave at months at a time. During the months Mr.
McCullough would be gone, his wife Laura would have to manage to keep the children alive from starvation
until he got back.

Once, while waiting for her husband to return from working on the railroads (the Missouri-Kansas-Texas
Railroad in which David named his daughter after) Laura McCullough walked out on the porch of the families
small home in Anadarko and noticed a wild wolf prowling in the woods toward their daughter Katy. The child
was unaware of the charging wolf while playing. Laura quickly grabbed a nearby shotgun, pointed, and as the
wolf edged right up on her daughter, she fired, watching the wolf collapse to its death in-front of her frightened
child.

It was Laura who was left often to find food for the children to eat as the days grew nearer for David to return
from working on the railroads. Monica Henderson as a Plaintiff, remembers the oral story of her siblings
stomachs protruding in starvation some months while waiting for their father to return from working on the
railroads and when he did, they often were left to eat raw potatoes and some foods he was able to provide them
until he had to leave again. There were times the family had to rely on getting food from the Anadarko
reservation to survive until their father returned.

The KT Railroad passed right through Anadarko where David and Laura McCullough lived and began raising
their children, even naming one of their daughters, Katy, after the railroad. Union Pacific Railroad resources
later purchased the Missouri-Kansas-Texas Railroad before becoming Anadarko Petroleum. Many Black Native
American railroad employees from Anadarko, such as David McCullough, along with their families, were
placed on a one way ticket train ride away from their Anadarko reservation to Tulare, California in efforts to
keep their families safe from the violence from settlers paying bounties to kill off tribal members with known
allotments.

Conclusion
Lamour Ellis Ponce as the grandmother, using the name L'amour Kim Ponce as the wife and mother, Joseph
David Ponce Jr as the grandfather, David Joseph Ponce as the brother who all played key roles in targeting Mr.
Henderson's family members for inheritance of oil and gas leases, and further involvement of the Petitioner's
stepdaughter, Aaminah Emma L'amour Watkins, possibly working together with the above named individuals in
using fraudulent names and identification of others for fraudulent medical claims, fraudulent social security and
survivors benefits , while further depriving him, his children, his parents and siblings financially of the basic
necessities of food, water and sheltering in efforts to claim millions from oil, gas, and minerals from his families
willed land inheritance.

Furthermore, in viewing the Henderson and Watkins cases historically, it would appear, just as Eastside
Christian Schools may have violated their own enrollment policies in creating some form of financial agreement
with the Ponce family in intentionally leaving out the Petitioner, father who in what was a matter of days that
the married couple had separated from one another, the same form of an agreement with the Ponce family
legally with the Orange County Superior Courts and Milton C. Grimes could have involved a sealed Judgment
ruling of Aaminah Watkins, requiring the Ponce family take part with a group of individuals in efforts take Mr.
Henderson's 3 daughters from him, and target his eldest biological daughter to claim the family inheritance with
identity theft.

The impact of numerous libel acts by Orange County in support of the Ponce family as agents triggering the
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 31 of 112 Page ID #:31

heart attack and stroke of Mr. Henderson's mother and grandmother of his American Indian children, Monica
Henderson who California further targeted her as a senior citizen while having her ambulance drive nearly an
hour and a half away from Corona to Temecula Valley Hospital near San Diego as she was fighting for her life.
Such support of Monica Henderson of her grandchildren to have her leave her retirement home in Georgia was —
simply that she feared Lamour Ponce and Orange County were scheming to separate her and her son as Native
American parents and grandparents from years of continuing to claim all oil and gas royalties willed to Mr.
Henderson. Mr. Henderson, eventually believed every word his mother was saying in her belief that the Ponce
family were scheming to take the children for financial gain.

Mr. Henderson states Orange County Government Agencies used his mother in law and wife’s last name of
Ponce to have his daughter Maya Henderson born in Washington DC's George Washington University Hospital
under 2 Social Security Numbers, with one given from the hospital to Lamour Ponce Sr in DC and the other
Social Security Number given as recently as 2019 stating Maya was born in a hospital in Virginia when she was
not. Throughout Kenneth Henderson and Lamour Ponce Jr’s marriage, his wife continued to go against Mr.
Henderson’s wishes and include her mother in all financial tax return decisions in completing over 12 years of
the couples tax returns in which both mothers in using the same name of Lamour Ponce and California have
attempted to conceal to cover up all fraudulent activities of inheritance theft.

Mr. Henderson states that the American Indian Probate Reform Act put into law on June 20", 2006, denies
fractionization of ownership of allotments of land from non-Native American Indian heirs or Non Native
American descendant spouses (such as Lamour Ponce as a spouse, or Aaminah Watkins attempting to be a non-
Native American heir as Aaminah Henderson through marriage, both capable of taking away or minimizing
royalties owned to Kenneth Henderson or his Native American children as heirs). A living will does exist from
Lula Dunford, given to Mr. Henderson's grandmother Laura McCullough and that any conspired plan over
many years by Orange County and its Superior Courts to use Ponce family members and various other

Government employees working within the County as Agents was meant to keep the Henderson family from
their inheritance. However, due to the American Indian Probate Reform Act (AIPRA), Lula Dunford's land
rights to oil and gas leases in Oklahoma that she willed to daughter, Laura McCullough, would make Monica
Henderson as Laura's daughter, Kenneth Henderson as Laura's grandson, and Maya, Kayla and Jordyn
Henderson as Laura's great-granddaughters as direct descendants and heirs to Lula's inheritance.

The Amendment of the Stigler Act of 1947 was signed on December 31%, 2018. This 2018 Amendment of the
Stigler Act directly impacts Lula Dunford's Allotted Land restrictions of her willed property in Oklahoma to her
heirs due to having less than 50% blood quantum after she passed in 1950. Mr. Henderson states her land
should have remained restricted but recognized her ownership name on her property was removed in 1993.

Please review the following related court documents:

1) Lula Dunford’s Native American Indian Roll #58 Will to daughter, Laura McCullough

2) Oil & Gas Leases on land allotted to Lula Dunford (Heirs have right to land, deny those trespassing)

3) Eastern District Court of Virginia: Kenneth Henderson v Fairfax County Government et el.,

4) Kenneth Henderson v Fairfax SEIU-VA 512 Union (Baltimore Department of Labor, CSX involved)
5) Virginia 4" District Court of Appeals “Kenneth Henderson v Fairfax County Government et el,

6) Orange County, California 4" District Court of Appeals “Kenneth Henderson v Lamour Ponce”

7) Tulare Probate of Property of David McCullough to Monica Henderson (Railroad Co Holdings to Heirs?)
8) The County of Orange v Alvin Watkins (Heirs of CSX Executive Hays T, Watkins may be involved)
9) Ellis Ponce v Alvin Watkins (Watkins name may attempt to link Hays T. Watkins of CSX Holdings)
10) Corona Norco School District HR filings: Kenneth Henderson v Corona Norco School District

11) Request for either Federal Court and Tribal Court take over children's case with Riverside D.A support.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 32 0f 112 Page ID #:32

Systemic Institutionalized Racism does exist within the infrastructure of our County Agencies the exchange of
Government Agency Family Benefits through the Social Security Administration to give to Agents as Guardians
of Inheritance of Oil and Gas leases in financial trust account (SNT) to support of California Government
Agencies from an attorney working with the in laws in which they targeted Mr. Henderson’s family. For the
above reasons the Petitioner is requesting in relief $975,000,000 (675 Million Dollars in damages owed to him,
his 3 children, to include his biological parent, Monica Henderson, who gave up everything to protect her
Native American grandchildren from being taken and claimed for inheritance from the Ponce family and
Orange County, while continuing to recover from a major stroke and heart attack, with the remaining relief of
$300, 000,000 going to all remaining Native American McCullough heirs listed on the 2020 Tulare County
McCullough Probate).

In the end, it is Mr. Henderson's belief that further investigations in similar vein as the Osage Indian Tribal
investigations need to be conducted for possible criminal charges against his in laws in all actions taken by the
Ponce, Dolphin, and Dillett families ties to U.S Intelligence Agencies in using their Cyber capabilities and
training to repeatedly target him and his Henderson family as McCullough heir’s to criminally take away their
inheritance. The Osage Indian Tribal Murders which involved the theft of potentially billions in inheritance was
organized criminal activity in the early 1900's which included doctors, nurses and spouses poisoning heirs to
wither and die of unusual deaths, die from paid gunmen, and die poverty related illnesses with appointed
guardians and in laws taking the land and mineral rights without feeling any empathy or love for the child heirs.

Tulsa, Oklahoma, one of the most vibrant and thriving cities throughout the world in the early 1920’s was called
the Black Wall Street for its creation of small business wealth of many Native American Black owners
remaining with oil and gas leases. However, today, after nearly 100 years after white settlers, members of the
KKK, and the military used machine guns, bomber airplanes, and angry white mobs to enter into the City and
kill at will, knowing the outcome would financially benefit one race over the other. So the killings of Black
Native Americans from Tulsa to other cities throughout Oklahoma continued year after year into rural small and
big towns such as Wewoka, Atoka, and Anadarko, where the Riverside Indian Boarding School my grandmother
and aunts and uncles attended. Such continued tensions between the white settlers and Mr. Henderson’s Native
American ancestors came at a price tag higher than the other hundreds of Native American Indian tribes, as Mr.
Henderson and his children, like many other black Americans, were raised to believe in false history given in
school systems in labeling black Americans as slaves from Africa. However, it was years of forced tribal
separations by KKK in supporting white settlers to root out Native American heirs before the 1946 Stigler Act.

From 1917 to 1993 Lula Dunford’s land remained in her name and was illegally taken by the hands of people in
Orange County, California with the same mentality as those white settlers who destroyed the black lives of
those American Indians already as owners of the land before them. Today White Hall and Grayson Cemetery’s
in Choctaw and Seminole County’s show clearly where Mr. Henderson’s ancestors rest is where many
allotments of 160 acres were granted to tribal members of the Eastern part of Oklahoma as Native American
Territories. It is where black Native American cemeteries remain with aged tombstones showing handprints of
babies and children who lost their parents as did Kenneth Henderson’s grandmother as Monica McCullough
Henderson’s mother, Laura McCullough did in losing both of her parents mysteriously in death (Possibly in
similar vein as the Osage Tribal Inheritance Murders) on the same day. Laura was left to be raised by her aunt
Lula. No way should history be written that Laura as a Dunford growing up with Lula should allow criminals in
Tulare and Orange County, California to deny her living will and wish at death for her appointed heirs in the
Richardson’s and McCullough’s to “share and share alike” in taking over her Oklahoma land and mineral rights.

In 1906 the United Stated Supreme Court ruled that the Anadarko Reservation was aboriginal Washita land and
further ordered a land surveyor to convert it into 957 allotments. The plaintiff, Kenneth Henderson’s
grandparents, Laura and David McCullough were born & raised before being married on the Anadarko

28
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 33 0f 112 Page ID #:33

reservation, where they had several children who attended the Historic Riverside Indian Baording School of
Anadarko. Today, the Anadarko basin of Oklahoma is worth billions in Jand and mineral rights. Just last year,
defendant, Anadarko Petroleum was sold for 38 billion, a profit made without including the 957 allotted heirs.
As a Seminole, Washita, Lula Dunford took in Laura McCullough, like her own daughter but made sure Laura
knew she was a Washita Indian by blood by enrolling her into the Washita Boarding School in Anadarko, where
Laura and David were raised before having their own children. Lula’s land for years has been producing oil and
gas from Humble oil, now Exxon-Mobil, with energy drilling company, Eaton Corp potentially involved in
concealing their financial profits in over 40 plus oil wells on her land.

However, it is David McCullough and Laura McCullough, as Anadarko Reservation descendants and heirs who
continue to be denied millions in mineral rights as 2 of the 957 allottee heirs born and raised from the Anadarko
Reservation as Washitaw and Seminole Indians. With plaintiff, Kenneth Henderson’s grandfather, David,
spending much of his life working on the railroads, supported by his wife Laura, while married on the Anadarko
Reservation, they continued to have their heirs denied concealed inheritance documents in courts supporting
potentially millions upon millions of billions profited in mineral rights from the Anadarko Basin. Mr.

Henderson states the Plaintiff’s deserve at least relief in damages that should include maintaining millions in
future profits as title and Anadarko land owners, as appointed allotted heirs as stated in the Supreme Court
ruling, with the remaining McCullough heirs on the David McCullough Probate deserving relief in damage as
well as Anadarko descendents and heirs denied millions from the billions profited by the defendants.

Oral Busby and the Ada, Oklahoma court and all court associates, to include appointed Guardians, as did those
Orange County Superior Courts, and Tulare Court judges, and attorneys who appointed the Ponce, Dolphin, and
Dillett family members as Guardians and Government Agents to target heirs Kenneth Henderson, Amillia
Henderson, Monica Henderson, Maya Henderson, Jordyn Henderson, and Kayla Henderson for criminal profit
and gain of inheritance through murder of Laura McCullough’s parents and 2 brothers, with potential harm to
the withering health and death of defendant, David Ponce’s wife, Dominique Ponce for financial profit of Ponce
family members as well by continued manipulation and fraudulently altering medical records, altering EMR
records to Dominique’s medical treatment to mimic cancer diagnoses, symptoms before her death in Orange
County in similar way of targeting Monica Henderson for her New York Life Insurance Policy, similar to
Lamour Ponce’s ability to receive Survivor’s Benefits at 42 years of age when her husband was actually alive to
divert further moneys of inheritance into a Trust account, further able to claim inheritance from David
McCullough and Laura McCullough, all to assist the courts in collusion with many defendants to continue to
claim the millions profited in mineral rights and lands taken from Judge Orel Busby and his court over 100
years ago.

It is time that California Grave Robbers give back the land and mineral rights to what was never there’s to take,
as those baby handprints on the tombstones of hundreds of Oklahoma graveyards of black Native American
child heirs who lost their parents, cultural identity as a Native American, and inheritance simultaneously, should
recognize we as a country are living in a time in 2020 where the world united together is recognizing systemic
discrimination and how it has negatively impacted millions of black lives in America.

With today’s awareness in advancements of Electronic Medical Records (EMR), all running under one system,
and with Government Agencies now merging with various hospitals & medical centers under one
CITRIX/EPIC System, someone can see today how much easier it would be for the above defendants to secretly
assign Guardians and Trustees in a child custody court, then claim the Native American Spouse’s family
inheritance by way of a gift and diagnosed disability through the Social Security System to be used in a trust
account. Aaminah Watkins, her mother Lamour Ponce Jr, and her mother, Lamour Ponce Sr as the assigned
Trustee Guardian, colluded with major Oil and gas energy companies, U.S banks, judges, and attorneys, all with
ties to a sealed August 8", 2004 Judgment with the Orange County Superior Courts.

29

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 340f112 Page ID #:34

March 24, 2015 Ex . A

ATTENTION: MR. PEARY ROBERTSON
FAX: 405-382-2887

My maiden name is Monica McCullough. 1 was born in Bakersfield, California in 1946.
I am the 16" of 17 children of David and Laura McCullough (many surnames), Both of
my parents were born in Coal County Indian Territory that is now known as Coalgate,
Oklahoma. They relocated to Bakersfield, California a few years before I was born, and
a couple of years later relocated to Teviston, California which is approximately 45 miles
south of Bakersfield. Having many elder siblings, in which 15 were born in the State of
Oklahoma, | would often hear them talk about Granny Lula Dunford. My Mother always
kept a picture of Granny Lula, her Mother Nellie Ida/Choteau Cochran, and her brother
Willie Hays, and her husband Uncle Ned Duncan (is what my siblings called him) in her
top dresser drawer at home. Per my elder siblings, Uncle Ned Duncan was also known as
Monroe William Dunford,

My parents grew up ina matrilineal family structure where everyone was kin and double
kin. They each had 20 plus siblings.

My Mother Laura Dansby Richardson Washington Cochran Nolitubby (many surnames)
had many siblings that were listed by Blood at the Chickasaw Land Office. The
Department of the Interior, Commission to the Five Civilized Tribes, Tishomingo, .T.,
dated May 2, 1904 — In the matter of the selection of an allotment and designation of a
homestead for Walton Richardson, Chickasaw Card 173, Chickasaw Roll No. 557.
Walton Richardson was 21 years old.

July 14, 1904, The Department of the Interior, Commission to the Five Civilized Tribes,
Chickasaw Land Office, Tishomingo, I. T. Testimony of Walton Richardson relative to
the character of land allotted to Frank Richardson, Chickasaw by Blood, Roll No, 560.

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July 14, 1904, The Department of the Interior, Commission to the Five Civilized Tribes,
Chickasaw Land Office, Tishomingo, I.T. Testimony of Walton Richardson relative to
the character of land allotted to Dora Richardson, Chickasaw by Blood, Roll No. 559.

Walton Richardson’s allotment description is listed in Court Case No 1533, Filed in the -
State of Oklahoma, County of Pontotoc — In re the Estate of Viola and Susan Nolitubby,
Minors, M. R. Chilcutt, Guardian — June 10, 1912 - November 1920, ending with Orel
Busby as Judge.

Walton Richardson died the next year, at age 22, in 1905, after giving the allotments to
his under aged siblings Frank and Dora Richardson Nolitubby. During this time,

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 350f112 Page ID #:35

Walton’s Father Cyrus Richardson Cochran Nolitubby (many surnames) was still living.
Walton’s wife Louvinia died around 1910, their daughter Eliza died around 1913.
Louvinia’s ex husband Mose Pettigrew died at the same time Walton did.

According to a letter dated May 19, 1928 from Judge Ore! Busby, to Robert Washington
- Walton Richardson and Mose Pettigrew was killed, and that he and Gale Statler had
owned those lands since 1905,

November 5, 1920, in the Oklahoma Pontotoc County Court Case Number 1533 of Susan
and Viola Nolitubby, the Guardian M. R. Chilcutt is petitioning the court for Walton
Richardson, Louvinia Pettigrew and Eliza Richardson’s land.

The East half of the Northeast quarter; and the Southwest quarter of the Northeast
quarter; and the East half of the Southeast quarter of the Northwest quarter: and the
Southwest quarter of the Southeast quarter of the Northwest quarter; and the Southeast
quarter of the Southwest quarter of the Northwest quarter of Section 13, Township 2
North, Range 8 East; and the North half of the Southwest quarter: and the East half of the
Southeast quarter of the Southwest quarter; and the Northwest quarter of the Southeast
quarter of Section 13, Township 2 North, Range 8 East;

The allotments of Walton Richardson, described as follows:

Lots 1 and 2; and the North half of the Southwest quarter of the Northeast quarter of
Section 6, Township 2 North, Range 8 East; and Lots 3 and 4; and the North half of the
Southwest quarter of the Northwest quarter of Section 6, Township 2 North, Range 8
East.

Allotment of Robert Nolitubby, described as follows:

Allotment selected May 20, 1904, as follows: The W. % of the N. W. % of the S. E. % of
Section 13, and the N % of the S. E. % of the N. E. % of Section 24, all in Township 4
North, Range 8 East, being 40 acres appraised at $130. Choctaw freedman Allotment
Certificate No. 2532 issued and delivered. ‘Choctaw-Chickasaw Freedman Allotment
Patent No. 5200 executed by McCurtain only. The earlier Census has Robert Nolitubby
listed as an Native American.

Robert Nolitubby ts the Father of Susan and Viola Nolitubby in Pontotoc County Court
Case 1533 listed above. M. R. Chilcutt is Guardian over Robert and Louvinia’s
daughters Susan and Viola, and Walton and Louvinia’s daughter Eliza, and Bynum
Pettigrew whose parents are Mose and Louvinia Pettigrew.

This only list a few of my Native American Family Members and their legal descriptions.
Minerals are on their land and have been incorporated into Royalty Trust Funds of others.

Many of the above are my Mother Laura’s siblings, as well as Lula Dunford’s husband
Monroe Dunford’s siblings by his Mother Hannah, and Lula’s brother Cyrus/Si

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 36 0f 112 Page ID #:36

 

Richardson Nolitubby (many surnames). Lula Dunford is the Aunt of Walton, Stephen,
Melvina Blue, Dora and Frank Richardson Nolitubby, who are the children by J enny
Richardson and her brother Cyrus/Si Richardson Nolitubby. She is also the Aunt of my
Mother Laura Dansby Richardson Washington Cochran Nolitubby McCullough (many
surnames) by Katy and her brother Cyrus/Si.

Granny Lula married Denyvenous O’Guynn/O’ Guinn after her husband Monroe Dunford
died. [ also have a picure of Denyvenous. He predeceased Granny Lula around 1948.
Granny Lula O’Guinn passed away around J uly 1950. She was the blood Aunt of my
Mother Laura. However, their relationship ran much deeper than that of a traditional
aunt/niece. | was well known that “Auntie Lula” had taken in Laura at an early age, and
per my siblings, she was adopted by Granny Lula, and was raised as her own after
Laura’s Mother passed away in 1910. It was also known that “Auntie Lula” had no
children of her own.

What I discovered early on is that most of my known ancestors, including my mother and
father, were born in the Oklahoma Indian Territory. They were born there, and according
to their testimony, never lived anywhere else. This includes my Grandparents Cyrus
Richardson Cochran Nolitubby and Katy, Great Grandparents Nath/Nathan Frazier
Cochran and Dinah (Nath Frazier Cochran and Nellie — Lula Dunfords parents), and
Great, Great Grandparents Richard and Dicey Frazier Cochran (b. 1700's).

As more and more legal and historical documents were recovered from State and Federal
archives, and through use of the internet, it became abundantly clear that my family had
been, in as few words as possible, “royally shafted”. Not by simple, tow level swindlers
or con-artists, but by what the Bible accurately describes as a fight against principalities,
against powers, against the rulers of darkness of this world. In short, the laws and the
court system in place to protect against such unscrupulous activity is exactly what was
used-or abused- to defraud them of their land and minerals.

Records show my Mother Laura’s brothers Robert Richardson Nolitubby, Walton
Richardson Nolitubby, and Mose Pettigrew and wife Louvinia Pettigrew-Richardson
were among the many Native Amerians that received Federal land allotments from the
Department of the Interior in 1904. The total amount of land these four received at that
time was approximately 540 acres.

I have since that time recovered numerous documents, such as land deeds and maps, oi]
leases, photos, ect., that show Lula Dunford had acquired a sustantial amount of personal
and real property, as well as mineral rights, by the time she passed away. One half of this
would have belonged to my mother Laura according to the will.

While brousing the internet of Oklahoma’s on line land records a few years ago, | came
across an “oil and gas lease” in Lula Dunford’s name that is dated in 1917. It is located in
Seminole County. What I noticed is that neither this land or “oil and gas lease” was
included among the properties probated in Atoka County even though they are clearly
shown on her will.

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 37 of 112 Page ID #:37

My Aunt Lula passed away in Atoka County in 1950, but for some reason her will was
not probated until 1955. The probate records only list some of her land located in Atoka
County, and it list none of her oil leases.

The Oklahoma Records also show many individuals invested in the land and minerals of
Lula Dunford’s Seminole land which is approximately 200 plus or more acres.

I have spoken with several of the individuals in 2012 regarding how they were able to get
a Lease to the land and minerals that are still in Lula Dunford’s name. One of the
individuals used to be a former Chickasaw Housing Authority Commissioner leasing the
Royalties to Texas, and Sacramento Valley, with a Texas address and a Royalty
percentage. The other investor stated in 2014, that they received their Lease from
Humble Oil. This is the latest information that | have received and documented.

The Former Chickasaw Housing Authority Commissioner stated that he could not pay me
Royalties going backwards, but he could pay going forward, but he would have to check
with his attorney and would call me back. He never called or returned my call,

This came as quite a shock to hear this, because it simply means my family has owned
gas and oil leases since the 1950’s. Yet, | vividly recall growing up dirt-poor in the San
Joaquin Valley of central California after my family was forced to leave Oklahoma and
relocate to Bakersfield, California just prior to my birth. I feel certain any amount of the
funds being generated, or that could have been generated from the property and minerals
teft by Granny Lula for my Mother would have lessen or alleviated the pain and suffering
my family endured had these funds been directed to where they legally should have gone.

-In my recent review of the documents, ] cannot understand why it appears some of
Granny Lula’s land and none of her mineral leases were ever probated.

Thanks for your cooperartion on this matter.

Sincerely,

Monica McCullough
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 38 of 112 Page ID #:38

ATTACHMENT —- MR. PRESIDENT ane b

 

THE SEMINOLE LEGACY OF
CHIEF WILLIAM “BILLY” BOWLEGS
DISENFRANCHISED AND DISENHERITED
BY
LAWMAKERS OF THE STATE OF OKLAHOMA

By
Monica Josephine McCullough Henderson

April 5, 2011 “e
Lawmakers:

Department of the Interior - Commission to the Five Civilized Tribes
Chickasaw Land Office — Tishomings, Indian Territory —
Dated May 2, 1904:

Walton Richardson — Chickasaw Roll #557 and Card #173 — Age: 21 (Walton was killed at age 22 with his
brother Moses Pettigrew in 1905 per Judge Orel Busby’s letter dated December 13, 1928). He is the Son of
Si Richardson — Chickasaw Card #173 and Jennie Richardson — Chickasaw Card #173 — (Both Walton
Richardson and his Father Si Richardson are Seminoles by Blood that came into the Arkansas/Oklahoma
Indian Territory under the umbrella of “Mississippi Choctaws”). (Walton is my Uncle and Si
(Cyrus/Ci/Cy/Si/Sid/Sy Richardson aka David/George L. Washington is my Mother Laura’s Father).
Seminole Bloodline: Father: (William “Billy” Bowlegs Connor aka Meca-Moharjo/Nath Cochran), Son:
Cymis Richardson, Grandson: Walton Richardson, Great Granddaughter: Eliza/Liza Richardson.

(See Lawsuit Case #1533 of M. R. Chilcutt as Guardian of Susan Nolitubby and Viola Nolitubby, minors
dated October 2, 1920, Pontotoc County, State of Oklahoma — County Judge Ore] Busby), (Nieces of my
Mother Laura). M. R. Chilcutt, according to the Ada, Oklahoma Weekly was the President of the “Planters
and Merchants Banlc”, as well as head of a Fraternity, and was on the Ada Council Board. He and Judge
Orel Busby had the same circle of friends according to the Ada Weekly Newspaper of January 1922.

Alfotment of Walton Richardson:

Lots | and 2; N/2 of the S/W Qtr. of the N/E Qtr of Section 6, 2N, 8E — Coal County Indian Territory
Allotment of Walton Richardson:

Lois 3 and 4; N/2 of the S/W Qtr of the N/E Qtr. of Section 6, T2N, R8E — Coal County Indian Territory.

Home Surplus Allotment of Liza Richardson: (Daughter of Walton Richardson and Louvinia Pettigrew) —
320 Acres: (Niece, Brother, Sister-in-law and First Cousin of my Mother Laura).

E/2 of N/E Qtr.; and,

S/W Qtr. of the N/E Qtr; and,

E2 of the SE Qtr. of the NW Qtr; and,

SW Qtr. of the SE Otr of the NW Qtr; and,

SE Qtr. of the SW Qtr of the NW Ot. of Section 13, TZN, R&E

N2 of the SW Qtr; and, '

E/2 of the SW Qtr. of the SW Ot; and,

W2 of the SE Qtr. of the SW Qtr; and,

NW Qtr. of the SE Qtr. of Section 13, T2N, R8E

| #4
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 39 0f112 Page ID #:39

Louvinia Pettigrew — Chickasaw Roll #555 and Card #171 — Wife of Three Brothers: Moses Pettigrew,
Walton Richardson and Robert Richardson Nolitubby, (My Mother Laura’s Brothers and her First Cousin).

Louvinia Pettigrew -Daughter of Jennie Richardson (Jennie is an Aunt
to my Mother Laura and Stepmother)

- Mother of Walton Richardson’s Daughter Eliza
Richardson

- Mother of Moses Pettigrew’s Son Bynum Pettigrew (See Case
#16649 — Moses Pettigrew — Johnson v. Statler — Supreme
Court of Oklahoma — Judge Busby and Harrell, for defendant

in error.

- Mother of Rabert Richardson's Daughters:— .

Susan and Viola Nolitubby ~ Case No. 1533

Louvinia Pettigrew — (See Lawsuit of M. R. Chileutt— Case No. 1533, Dated October 2, 1920) - 100 Acres
— Surplus Allotment - (60 Acres for Cultivation and 40 Acres for Pasture) — Leased to U. G. Winn for $125
Annually.

£/2 of SE Qtr. and,
SW Orr. of the NW Qtr. of the SE Qt. of Section 32, T3N, R8E

Department of the Interior - Commission to the Five Civilized Tribes
Chickasaw Land Office — Tishomingo, Indian Territory —
Dated July 14, 1904: .

Walton Richardson — Chickasaw Roll #557 and Card #173 — Age: 21 -

Relative to the character of tand allotted to Dora Richardson — Chickasaw Roll #559 and Card #173 and
Frank Richardson — Chickasaw Roll #560 and Card #173 (Sister and Brother), (All three of the above
individuals are my Mother Laura’s Brothers and Sister by her Seminole Father Si Richardson Nolitubby}.

Dora Richardson — Daughter of Si Richardson and Jennie Richardson — 159.47 Acres — Pontotoc County,
Oklahoma

N2 of NW4 of SW4 of Section 10, T4N, R8E, and
SW4 of NW of SW4 of Section 10, T4N, R&E, and
Lots 5 and 6 of Section 15, T4N, R8E, and

$2 of NW4 of NW4 of Section 15, T4N, R8E, and
SW4 of NW4 of Section 15, T4N, R8E, and

82 of NW4 of NW4 of Section 22, TAN, R8E

Exclusive of Homestead of Dora Richardson — 110 Acres — Pontotoc County, Oklahoma
NW/4 of NW/4 of SE4 of Section 19, T3N, R8E and

N2 of SE 4 of Section 29, T3N, R&E and

N?2 of SW4 of SE4 of Section 29, T3N, R8E

Frank Richardson — Son of Si Richardson and Jennie Richardson — 173.18 Acres — Pontotoc County,
Oklahoma

Lots 7 and 8, of Section 15, TAN, R8E, and
W2 of SW4, of Section 15, T4N, R8E, and
Lot 5, N2 of NW4 of Section 22, TAN, R8E

Exclusive of Homestead of Frank Richardson — Pontotoc County, Oklahoma

24
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 40 0f 112 Page ID #:40

SW4 of NW4 of Section 20, T3N, R&E

52 of SW4 of SE4 of Section 29, T3N, R8E
SE4 of SE4 of Section 29, T3N, R8E

82 of 82 of SE4 of Section 30, T3N, R8E

Department of the Interior —- Commissioner to the Five Civilized Tribes ~ Ada Indian Territory — Dated
March 28, 1907.

Stephen Richardson — Chickasaw Roli #558 — (was later given Chickasaw Card #173) - Homestead
#17583, Allotment #15432 —by: Bruno Mayer.— Guar.
Conway, Indian Territory.

Department of the Interior #4021— Commission to the Five Civilized Tribes — Choctaws and Chickasaws ~
Chickasaw Nation — Arbitrary Allotment — December 12, 1902 — Approved by Chairman W.C.B. —
Tishomingo, Indian Territory — Dated October £2, 1904.

Stephen Richardson — Roll #558 (was later given Chickasaw Card #173)
(Stephen is also the Brother of my Mother Laura by their Father Si
Richardson Nolitubby).

Orel Busby — County Judge — State of Oklahoma — County of Pontotoc

Estate of Viola and Susan Nolitubby — Case No. 1533
April 15, 1920.

Ore! Busby- - District Judge — Seventh Judicial District- Ada, Oklahoma
Mr. Robert Washington- Letter dated November 13, 1928
(Robert Washington is a Brother of my Mother
Laura by her Father Si Richardson Nolitubby)

Martin R. Chileutt — President of the “Planters and Merchants Bank” — Wife: Minnie
per Ada Weekly Newspaper.

Martin R. Chilcutt - Guardian of Viola and Susan Nolitubby —
Agricultural Lease Contract — To U. G. Winn of
Ada, Oklahoma — Beginning January 1, 1918 —
December 31, 1922

Martin R. Chileutt - Guardian of Viola and Susan Nolitubby -
Case No, 1533 - April 15, 1920

B. C. King and W. W. Delaney, Jr. — Law Partners — Pontotoc County, SS. — Contractual Agreement Dated
May 19, 1928 with Mr, Robertson/Robert Johnson Washington. (See District Judge Ore] Busby’s letter
dated November 13, 1928 to Uncle Robertson Johnson Washington regarding his friend Gale Statler and
our family deeds that they have in their possession, as well as trying to get the deed to the following

property).
Land Legal Description:

The Northeast Quarter of the southeast Quarter of Section Sixteen (16), Township Four (4) North, Range
Eight (8) East, Pontotoc County, State of Oklahoma.

Robertson Johnson Washington - (Is a half brother to Walton Richardson, Stephen Richardson, Dora
Richardson, Frank Richardson, and First Cousins to Susan and Viola Nolitubby, etc. He was born ina
matrilineal family structure and is the Son of Sarah Richardson Nolitubby who is the Daughter of Si
Richardson Nolitubby. Si Richardson Nolitubby is Robertson Johnson Washington's Father. Uncle
Robertson Johnson Washington and my Mother Laura Richardson Washington had many siblings that are

2H

 
Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 41 0f112 Page ID #:41

not listed on this document in which our Seminole by Blood men fathered in a matrilineal family structure
on the Indian Reservations.

NOTICE - SALE OF OIL AND GAS MINING LEASES — KIOWA, COMANCHE, APACHE, FORT
SILL APACHE, CADDO, DELAWARE AND WICHITA TRIBAL AND ALLOTTED INDIAN LANDS
— DEPARTMENT OF THE INTERIOR, BUREAU OF INDIAN AFFAIRS, ANADARKO AGENCY,
UNDER SEALED BIDS AND ORAL AUCTION, DECEMBER 2, 3 AND 4, 2008 ~ SALE LOCATION
HAS BEEN CHANGED TO RENAISSANCE HOTELS “COX CONVENTION CENTER -— (MEETING
ROOMS 16, 17, AND 18)- 1 MYRIAD GARDENS, OKLAHOMA CITY, OKLAHOMA.

Many of my Seminole Native American Family Members Allotment Numbers are associated with the
above Notice.

Attomey H. H. Cook who handled my Seminole Great Aunt Lula Dunford’s husband Monroe Dunford
estate on October 10, 1936, also signed an Oil and Gas Lease dated March 19th, 1934 in the County of
Atoka, Oklahoma, from my Seminole Great Aunt Lula and Uncle Monroe Dunford, husband and wife, who
were also kin to each other.

Case No. P-73-!42 — Judge Ronald L. James — District Court - December 21, 1973

Attomey George B. Thompson/Thompson and Johnson Law Firm of Ada, Oklahoma was paid by my
Uncle Melvin aka Melton/Milton Harp and his wife Helen Harp for wills. My family never saw these
wills. Uncle Melton died in 1973. Attorney George B. Thompson has died, however, a new Attorney by
the name of Kenneth Johnson has become the new law partner. Notary June Lawson is the same Notary
that notarized the wills originally (these wills were also notarized in Sacramento, California by Matsuko K.
Maeda). June Lawson was still working for the firm a few months ago, but is refusing to talk tome. My
brother Augustus McCullough and someone by the name of Delnado McClouity/Delgado McClarty, Step-
grandson was listed on the will with a total different name to share and share alike in the home of Uncle
Melvin Harp/Harper.

Warranty Deed is in both of my Parent’s names: Laura McCullough and David McCullough deeded to
“Thomas E. Graham and Ruth Graham, husband and wife” on August 22, 1955 ~ County Clerk: Katie M.
Wells, and Notary: A. Edison Struck. The signatures of my parents were written by a person of learned
abilities,

Oil and Gas Mineral Lease — Filed: July 28, 1948 for ten years between Denyveous N. O’Guynn and Lula
O’Guynn and “R. B. Graham in Atoka County, Oklahoma in consideration of $1.00 — 130 Acres more or
less. Notary Public: Ross B. Wommack, S. T. Sample, County Clerks. Signatures are typed. (My Mother
Laura was raised by Seminole Great Aunt Lula).

Oklahoma.and Northem Oil Corporation of Pittsburgh, Pennsylvania entered into an Oil and Lease
Contract with Monroe Dunford and Lula Dunford on April 16, 1924 — 80 Acres more or Jess — Filed June
30, 1924, County of Atoka, Oklahoma. J. L. Green, County Clerk. Both signatures were typed.

Oil and Gas Lease was assigned to Oklahoma and Northern Oil Corporation — Filed March 29, 1935, as an
Affidavit of Non-Development. Affiant further states that during the year 1925 or 1926 the Oklahoma and
Northern Oil Corporation ceased operation on the well in Section 1, Township 2 South, Range 9 East,
which was in the block that my lease was given.

A CONCERTED EFFORT BY “"THE NATIONAL ARCHIVE RECORDS ADMINISTRATION”,
‘BUREAU OF INDIAN AFFAIRS, OKMULGEE ROLL ADMINISTRATION, COURT
ADMINISTRATORS, JUDGES, BANKING PRESIDENT’S, ETC., CREATED LAWS TO PROTECT
THEIR WRONG DOINGS, THEREBY DISENFRANCHISING AND DISINHERITING MY
SEMINOLE SIBLINGS, PARENTS, GRANDPARENTS, GREAT GRANDPARENTS, AND GREAT,
GREAT GRANDPARENTS, AND MANY UNCLES, AUNTS AND FIRST COUSINS THAT WERE
BORN BEFORE OKLAHOMA BECOME A STATE.

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 45 0f112 Page ID #:45

Kenneth H Eqdecso {iw Oy havgltte CS

a the Whitehall Cemetery visiting Great-Granny Lu's headstone (we have several family members buried
there)...: Her full name was Lula (Washington) Cochran Dunford O'Guynn... Washington because Lula, her
mother and brother were members of the George Washington Band of the Seminole Indians (from
Mississippi). Lula’s father's name was Nathan Cochran, Sr.. Lula's first husband's name was Monroe William
"M.W." Dunford. Lula's second husband's name was Denyveous O'Guynn, Sr. (his great-grandchildren
are Reginald O'Guynn and Marlo O'Guynn). Lula's name is misspelled on her headstone as Lula O. Guinn.

* Monica McCullough Henderson *
Pry leer 5

 
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Yreka ahr vagy fA Pel

My mother’s Monica McCullough Henderson mother, Laura Washington McCullough, family is
listed on the Dawes Fina! Rolls: Sitting left is Great-Great-Grandma Choteau “Nelly Ida”
(Washington) Cochran Hayes (a Full-Blood Seminole indian with the George Washington
Band), next to her is Great-Granny Lula (Washington- Cochran} Dunford O'Guynn (Seminole
By Blood card 14, rolf 58, her father is Nathan Cochran, Sr.). Top Left is Great-Uncle Willie
Hayes (Lula’s brother, Seminole By Blood card 209, roll 724) and next to him is Great-Grandpa
Monroe Dunford (Lula’s first husband who died in 1935, Chickasaw Freedmen card 125, roll
474):
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 47 of 112 Page ID #:47
3/21/2019 amillia henderson - Facebook Search

42), Amillia Henderson is with Violai Mitchell and 61 others.
October 16, 2017 + Luella, GA -

Lula Washington (Cochran) Dunford O’'Guynn (1871 ~1950) — My Great-
Grandmother was born in the Indian Territory of Oklahoma to Nathan
Cochran and Choteau “Nelly Ida” (Washington) Cochran Hays. She was an
educated woman who owned land in both the Choctaw and Seminole
Nations of Oklahoma. My mother and my uncles and aunts called her

“Granny Lu”.

tst Picture: Sitting left is Great-Great-Grandma Choteau (a Full-Biood
Seminole Indian with the Washington Band), Great-Granny Lu is next to her.
Top Left is Great-Uncle Willie Hays (Lula’s brother) and next to him is Great-
Grandpa Monroe Dunford (Lula’s first husband who died in 1935).

In the second picture: My Grandmother Laura Washington- “McCullough,
mother of Monica McCullough Henderson.

In the third picture: My mother, Monica McCullough Henderson, with grand
daughters, Maya, Kayla and Jordyn Henderson (daughters of Kenny

Henderson).
In the fourth picture: My brother, Kenny Henderson, with his children at the

Whitehall Cemetery in Atoka, Oklahoma visiting Great-Granny Lu's
headstone (we have several family members buried there).

In the fifth picture: A copy of the 1920 Census which shows my great-
grandparents, grandmother and great-uncle. And, a copy of my great-
grandmother's Dawes Final Rolls Card from the Seminole Nation in

Oklahoma.

 

 

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 48 0f 112 Page ID #:48

Amiliia Henrlerson

Part Il: My Maternal Great-Grandmother from the Seminole Nation of
Oklahoma Indian Territory, Mrs. Lula Washington (Cochran) Dunford
O'Guynn! Here is some information about her Land (which she had oil
& gas leases) allotted to her by the Dawes Final Rolls Enrollment

Commission... Aluka, Oh |

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SEMINOLE NATION WEWOKA LAND OFFICE.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 49 of 112 Page ID #:49

Amillia Henderson 15 (or more) Oil Wells Located at:
Section: 815 TSN R5E

 
 

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Document 1 Filed 08/21/20 Page 50 vf-412 Page ID #:50

PUN N 33-062243-0-0000
O Lease Name: RAPER =1
S Well NameNumber:.
&S Well Classification: Unknown
> Tract ar.
OShut-in Date:
oPlugged Date:

 

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Oklahoma County Records: Search resulth in Seminole County

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Case 8:20-cv-01630-DSF-

Lula Dunford

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Age Sex Blood Roll No.

PVC Document 1 Filed 08/21/20 Page 510f112 Page ID#:51

United States Census, 1920
Lula Dunford
Census

1920

Wilson, Atoka, Oklahoma, United States
Female

20

Married

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Yes

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 52 0f112 Page ID #:52

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Search results in Seminole County

 

County Instrument Type Book Page(s) People Descsirton Recorded
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. 1917- Oil & Gas -,,,-, DUNFORD, 10-5-5 ~ ng:
Seminole 040324 Lease 000053 0353 MONROE 15-55 03:09/1917
MITCHAM,
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 53 0f112 Page ID #:53

22)

t DEPARTMENT OF THE INTERIOR.

COMMISSION 10 THE FIVE CIVILIZED PRIBES,

SEMINOLE LAND OFFICE,

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An allorment of faud as hereinafter deseribed, is herchy made tn the fokiowtag vanes person, in accordauce with the Resolution ofthe Commission

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end=1994-07-26:section=15:township=5:range=5:site=seminole/page-1

Search results in Seminole County, Oklahoma

 

 

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County Instrument Type Book Page(s) People Description Recorded
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Seminole =O & Gas. 001875 ioe FAEER, 5-5-5 07/26/1994
——_ Lease RAPER,
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DUNFORD,
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Seminole 040324 Lease 000053 0353 MONROE ‘ 15-5-5 05/09/1917
MITCHAM.
TOM

ACTIVE WELL: SW-15-05N-05E:
https://Awww4.oktax.onenet.net/GrossProduction/gp displavPublicPUNListSearch

 

PUN #: 133-062245-0-0000
Lease Name: RAPER #1]

Well Name/Number:

Well Classification: Unknown
Tract #:

Shut-in Date:

Plugged Date:

Status: Active

Current Tax Rate: 7.00%

Lega! Description: -SW-15-05N-05E
APT:

County Name: Seminole

County Percent:

Total Lease Acreage:

Active Date:

Active Product code: 1

1 = Crude Oil

3 = Reclaimed Oil

5 = Natural Gas _

6 = Natural Gas Liquids

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 550f112 Page ID #:55

Search the Dawes Final Rolls

Name Age Sex Blood Roll No. Tribe Card No.
Lula Dunford 28 F 1-2 58 Seminole by Blood Search card 14

i=) Oklahoma and Indian Territory, Dawes Census
Cards for Five Civilized Tribes, 1898-1914
LSlil peerg ‘smner Nath Cochran

‘tame Lula Dunford

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Case’8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 56 0f 112 Page |D #:56

exe

Superior Court of California
County of Orange

 

 

Case Number : 97P003603
Copy Request: 3862017
Request Type: Case Documents
Prepared for: KH

Number af documents: |
Number of pages: 19

 

 

 
 

Case-8720-¢v-01630-DSF-PVC Document1 Filed 08/21/20 Page 57 of 112 Page ID #:57

TUL ELT oe THU Lt{tOl BIS—-S2R-1729 +OFFISvs P.wol

    
   

 

 

ATTORNEY On IN AAT TN e flnea aid Aucrpas):

           
  
 

 
  

   
 
 

 

 

 

 

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{ NOE COUNTY SHPEROR Coy
NAME OF COURT; SUPERIOR COURT OF CALF, (iu Jit 2 9 4897
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CIM ANDI coor; ORANGE , CALIFORNIA $2613 - ISTO PY tn
S ° ORANCH NAME: CV WM Esty
; F ORANGE J
3 PLAINTIFF/PETITIONER: COUNTY OF 6 ce
DEFENDANTRESPONDENT: ALVIN WATILINS
CASE AUMORN
DECLARATION a7 Foo 3602

 

 

 

I, ALVIN WATKINS ,AM HERE NOTIFYING THIS COURT
THAT TAM THE PATERNAL. PARENT OF AAMINAH WATKINS
BORN 09159) . SINCE HER BIRTH T HAVE NEITHER DENIED

OR NE6LECTED MY RESPONSIBILITIES AS A PARENT. HOUWEVES
TL OHAVE ENQOUNTEREDO CoNTINUDUS OBSTACLES AND INCONSIC—
TENCES PROM HER MOTHER [ GRANOPAAENTS,

TI HAVE BEEN SEND NG- MONITARY SUPPORT TO THE
CHILB'S MOTHER ANO MAINTAIN COnTINj Lows ATTEMPTS
TO COMMUMICATE WITH ARAMINAE BY PHONE AND B
MmAiL, TD SAY ATTEMPTS BECAUSE ON’ FREQUENT occa4 SIONS
= AM NOT AGSLE TO CONTACT HER OR HER MDTHER PER -
SONALLY, T LEAVE MESSAGES WITH FamiLy MEMBERS
AND ON THE ANSWERING MACHINE BUT AA ELY GET A
RESPONSE IN RETURN,

i declare unger penalty of perjury uncer the taws of the State of California thal ine foregoing is trud und correct.

 

 

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_. ALIN WATKINS au
CTYPE GA Patt ED Ss \sipAsuse OF DECLARANT)
(rer nuit WEA kesronuantoetanasar [_] attorney
CT] ornee topeeaty):
(See reverse jer a form to bo user If this dactaration will be attached to another court form befare filing)
For aporcved by ths

DECLARATION

Avmcist Count of Galois
UG.030 {Hew January 1, 1997!

 

 
 

 

CA)

Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 58 0f 112 Page |

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P.@R2

 

JULI He? THU 21°62 2LIS—S29-172950FFISYS
PLAINTIFF/PETITIONER: COLL NITY OF ORANGE CASE MUMusiNe :
DEFENDANTARESPONDENT: ALVIN WATKINS 97P00 3603

 

 

This form must be attached to anoiner tonn or court paper before It can be filadin court

TMS TYPE OF SITUATION. 1S COMMON WITH AAMI "

MOTHER | GRANOPALENT.. AS ¢s WITHHOLDING. OF AAMmINAH
LOCATION ANO EVEN WELL BEING. 7 €. IN SEPTEMBER
OF I99S Z peueven A PHONE CALL AT MISBM6HT AT WHICH
TIME AAMINAHS MOTHER INFORMED ME THAT sHE
WOULD) BE LEAVING IN BZHoOURS 7O ATLANTA, GEORGIA.
+, AT THE TIME, WAS LIVING IN MDAESTO )CA AND CouLp
NEVER HAVE GOTTEN To ORANGE COUNTY INTIME ENOUSH
(0 SEE My CHILD. T WAS NEVER conkuLTED ALOUT THE
MOvE OR GIVEN AN OPPORTUNITY 10 TAKE OVER My cH}
CARE WHILE HER MOTHER ATTEMPTED THESE CHANGES
WAS TOLD , BY HER MOTHER, THAT JF © CONTACTED
(HE AUTHORITIES THAT SHE WOULD bey THAT T WAS
AAMINAH'S FATHER, ANO THAT Z. Couth ‘NOT ho ANYTHING
ABOUT THIS DECISION SHE MADE FOR OUR CHILA. My
UNDERSTANDING- IS THAT WHEN SHE ARRIVED To CEODARGIA
THERE WAS NO WORK. SHE HAD NO PLACE 7O S TAY,
ANO THE WHOLE SITUATION WAS NOT CONAUSIVE 7"

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GOES . ANO YET, STL Z WAS SENIED THE Dehen, or

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alee mee RI OTHER ESTABLISHED HERSELE IN THIS Riis
f EI é

IN 1996, NOVEMBER , HER MOTHER BECAME
iLL. ANO UNABLE TO CARE FOR, AAMINAL ATAL EIA

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Date: & 7 Z2UL7

     

 

ALVIN WATKINS py _
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C2) Pesidtedpainun BRE Acspanasniperengans Co] anoincy
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(See rovores for a form to be used if this dectaration ts nat lobe attochau to another court paper bofora filing}
sou Sounet er eter ATTACHED DECLARATION

A
VC-030 (Naw Janumy f, HOF)

L) #:58

 

 
 

Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 590f112 Page

 

Plamcreentinioner: COUN ly OF ORANGE CAScApuntstt: |
nEFENUAMYMESPoNLeNT. ALUM WATKINS Q7P003603

Tg form must be altached to another form or court paper bulore ican be fiedia cau

T LOST CONTACT WITH AAMINAY ANO HER MOTHER, +

CONTINUALLY PHONED AND WROTE LETTERS To THE ADDRESS
TWAS GIVEN. TL CONTACTEK AAMINAH'S GRANOPARENIC
ANOWAS NEVER INFORMED ABOUT LAMOUAS HosPITAL-
IZATION OR THAT AAMINAH WAS ONCE AGAIN MNOVEA
1D ANOTHER STATE (NEW YORK). E NIETHER GAVE
CONSENT OR WAS GIVEN THE OPPORTUNITY TO TAKE
id. CHILD INTO my CARE , £ WAS AENEDA ANY INFOR*
MATION AS TO MY CHILO OR HER MOTHER! CONDITION —
FOR FOUR MONTHS. (NV FEBRUARY LAMOUR CAUB)
ANO INFORNED ME THAT SHE HAD’ BEEN HOSPITAL-
IZED, HAD A SURGICAL REMOVAL OF A MENINGIOMA,
HAO BEEN IN ACOMR , ANO THAT BAMINAH WAS IN
SOMEONE ELSES CARE IN THE STATE OF NEW york
AT THIS TIME, SHE SAID AAMINAH WOULD BE
BACK IN CALIFORN/A ARODUNO THE ENO OF THE
MONTH OF FEBRUARY . .
AT THE ENO OF FERRUARY WAS THE FIAST Time
IN FOUR MONTHS THAT | WAS ALLOWES TO Coupe
UNICATE WITH AAMINAH. AT THIS TIME ZI Once
AGAIN BEGAN SENOING MONITARY SUPPORT FOR

MY CHILD. TL EXPLAINED ,TO HER MOTHER, THAT IT
WAS MIFFICULT TO SENO LARGE AMOUNTS CONSISTANT)

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nnUAT Sounen nt toler ATTACHED DECLARATION

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YES

 
 

 

CaS€°8°20-CV-01T630-DSF-PVC Document 1 Filed 08/21/20 Page 60 0f 112 Page If) #:60

 

CAST NUDE:

Puamrirrypererionee( OLIN TY OF ORANGE
DEFENDANT RESPONDENT, ALUIN IWATHCIAIS QT FO03603

Tres form must be oached to anuther form or courtpaper belore Ht eon Le fied in court

BUT TE WOULD SEND AS MUCH AS ZL COULD UNTIL
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TIME MY CHILO WELFARE CARE HAD BEEN HANDED

OVER. TO OTHER PARTIES WITHOUT
NOTIFICATION. (N (9@2. ARM INAH Morte Poa

TO MASSACHUSETTIES. SHE ASSURED ME THAT
AAMINAH WOULD BE /N HER CARE write JN
MASS. Z LATER DiscoHveren THAT AAMINAH WAS

ACIUA Livy LIVING IN NEW YORK, ANO HER MOTHER

ONE aye ON WEEKENOS WHEN SHE WAS ABLE,
ECIED PROFOUNOLY BUT, ONCE AGAIN
WAS DENIED MY PARENTAL RIGHTS. LAMDUA ’
ie AGAIN INFORMEO ME. THAT SHE WAS THE
(MOTHER ANO WOULO MAKE THE De
FOR AAMINAHS WELFARE HERSELF AS 7ON-S
IN 1993 , HER MOTHER
) ) ONCE AGAIN

AAMINAH FROM WewW YORI, BACK TO CALIeDenES
THERE TWAS ONCE AbrAIN FINAtLy AGLE TO hee
PHYSICAL CONTACT WITH MY CHILO. |
HOWEVER, EVEN THE SCHEOULED VISITATION DAYS

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ATTACHED DECLARATION

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CNS Ets Dusty §, 1b),

 

 

 
Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 61of 112 Page Ip #:61

 

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DEFENOANTIESPOMDENT. ALUIA! UW ATKINS

 

ee QT POO 3603

 

 

 

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WEPE INFRINGED UPON By HER MOTHER | GRANDPARENTS ,
ON MANY OCCASSIONS IC WAS TOUD TL COULD SEE my
CHILD, AFTER DRIVING SIX OR SEVEN HOURS FROM
MODESTO CALIFORNIA LT was shenisO ACCESS To
HER EITHER By HER MOTHER oR HEA GhANOPRRENT

THIS IS JUST A BRIEF SUMMATION OF AN
ACCUMALATION OF CIR@UMSTANCES AND CONFLICTS
THAT HAVE. SURFACED WITH LAMDUR ANO HER
FAMILY INTER FERING- WITH My RIGHTS ASA
FATHER [OMY CHILD. CONTINMOLS DENIAL OF -
COMMUNICATION WITH AAMINAH , Ww /THHOLDING-
AND LYING ABOUT LAM OURS ACTUAL CAPRLIT

TO (ARE APPROPIIATELY ANDO S$ TEADILY FOR. thy
CHILD HAS MOVEO ME TO MALE THIS
DeUision. T AM tteteBy REQVESIING |

FULL. LEGAL ANO PHYSICAL CUSTOAY DE ™M
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ees AS A PHYSICAL THERAIST AeautaTe Zz a

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Case-8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 620f112 Page ID #:62

 

. PLAINTINE/PRTITIONER: COUNTY OF ORANGE CANT WIDER,
DEFENDANT/RESPONUENT. — ALUIN AJATKIN S YTP00 3603

 

 

 

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ANO WILL CONTINUE To PROVIDE HEALTH] DENTAL
INSURANCE FOR MY CHILDREN, ANO ZT WANT JHE

OPPORTONITY TO PROVIDE A STABLE AND

ENRICHING Home eV VIROMENT WOR AAMINGH
AND HER SIBLINGS.

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6.031 [Nite January 6, 1TUT)

 

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Page 63 of 112 Page ID #:63

 

 

 

 

  

 

 

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CHERDKEE VILLAGE, ARKANSAS 725249 ORATE CouMTV aur E _
ATTORNEY FOR iSerna} JUL 2 9 1 97/7
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE | AAU SLATER, Euaetyd offecucily,
FAMILY LAW DIVISION fy x uo
341 THE GITY DAIVE mien pe!
POST OFFICE BOX 14170 wet OK

way, LORANGE. CA 92613-1570
= PETITIONER/PLAINTIFF: COUNTY OF GLANCE
2 RESPONDENT:OEFENDANT = ARLVINY INATICIING
INCOME AND EXPENSE DECLARATION ee OT POD BLOZ |

 

 

 

Stap t Ihave completed (EE income BREA Expense {BEE Chit Support intormatian forms.
Attachmants to Af child support is not an issue, da not camplet: the Chit Suport information Farm, if your only income is AFOC.

thls summa
venmary an nat complete the incame tnformation Form)

Step z Ara_you receiving or hove you applied for or do you intend to apply for welfare or AFDC?

Answer aN [] Racelwing (1 Aoplied to [7] Itund 3 pela HNO, 2) (467. 122567

apply to you What is your data of bith fnranthdayyear)?
. What is your occupation? . RE HAR ILITATION Teg A

Highest yer of education comptated: COLL Eis .

Yes Cy No

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(2), When did you stam work thera fmonthyeart? ©. cee eee Read
b ffno: 11) When did you last work dmenttypearl? ooo er tee e canes ee
(2) Whot wera your gross monthly gamings? ....0....0.0 cee eee cea evans we even
6. What is the total number of minor children you are legally obligated to support? .... os ——
Stop 3 7. Net monthly digposable income ffram fine 160 of incame infarmotionl:. 60.00. a a 30.00

Monthly Income

i , , . —
Information 8. Current net monthly dispasabla Income fif different from lina 7, expiain below ur an Attachment &: | § 126-00

 

 

 

 

Expense 9. Total monthly expenses from line 2q of Expense Information: .......0 0000. ce ee ees $_3951:00
information 10. Amount of these expenses paid by othars: .... ee ee eet eet esanees $edtb 00
StopS Othe: | 11. My estimate of the other party's grass monthly Income is:.. 0... 00. os vee . § UNEMOUIAT
pony's Income :
Stop 6 I dectare under penalty of perjury under tha laws of the State of Cafifarnio that the foregaing and

Dute end the attachad infarmatien forms are tre and correct.
alan this form

RECEIVED
JUN 2 F RFCD

 

Date: OT 24 q 7

 

 

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_ ALIN WATKINS Pegler (RT agri
(_] Pesitiz (mz Respondent
Paya one ot
DEC 117

 

INCOME AND EXPENSE DECLARATION
(Family Lew

Form Adopted by Rule 1235.50
Junigial Council of Californis
1285.50 (Rew. Jarvary 1, 1995]

311 (FSAI)

Are you curremily employed? *
a. It yest (1) Where do you work? fname and address): ASH ELAT CONVALESCENT CENTER

 

 
 

Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 640f112 Page ID #:64

¥

4/25/2020 How to Decipher a Social Security Number
"Welcome to Topher's Castle - A Great Site for Everyone! | x *

Topher's "Incredibly Useful Information"

- How to Decipher a Social Security Number

This information isn't really a secret. It just isn't very well known. According to the Social Security Administration,
your nine-digit Social Security Number (SSN) is divided into three parts:

1, The first three digits are known as the "area number". Until June 25, 2011, this is generally the State or territory
where your SSN was assigned. Thereafter, the number was randomly assigned.

2. The second two numbers are known as the "group numbers". They really do not have any geographical or data
significance. 4

3. The third set of four numbers is simply the numerical sequence of digits 0001 to 9999 issued within each group.
By using the first three numbers of anyone's SSN, you can often tell in which State they were bom, or at the least,

one of the States where they once lived. Try it!

Social Security "Area Code" Number Chart

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The first three digits of a Social Security Number correspond to locations as follows:
SSN State SSN State or Territory
001-003 New Hampshire sores Texas
004-007 Maine 468-477 Minnesota
008-009 Vermont 478-485 _|lowa
010-034 _ | Massachusetts 486-500 Missouri
035-039 Rhode Island 501-502 North Dakota
040-049 Connecticut 503-504 South Dakota
050-134 New York — 505-508 _ [Nebraska
135-158 New Jersey 509-515 Kansas
159-211 Pennsylvania 516-517 Montana
212-220 Maryland 518-519 Idaho
221-222 Delaware 520 Wyoming
so 09 | Virginia oe tesg Colorado
232-236 West Virginia eae. 2 i New Mexico . | : es

 

 

 

 

 

 

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 65 o0f112 Page ID #:65

How to Decipher a Social Security Number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4/25/2020
232 North Carolina 526-527 Arizona
237-246 600-601
68 1-690 764-765
247-251 . 528-529
654-658 South Carolina 646-647 Utah
ceneee Georgia 530, 680 Nevada
261-267 ,
589-595 Florida 531-539 Washington.
766-772
268-302 Ohio . 540-544 Oregon
. 545-573 wp:
303-317 Indiana 602-626 California
318-361 Illinois 574 Alaska
«ni - 1575-576 vas
362-386 Michigan 750-751 Hawait
387-399 Wisconsin 577-579 District of Columbia
400-407 | Kentucky 580 Virgin Islands
408-415 580-584.
756-763 Tennessee 596-599 Puerto Rico
416-424 Alabama 586 Guam
425-428
587-588 Mississippi 586 American Samoa
752-755
429-432 vs
676-679 Arkansas 586 Philippine Islands
ecocees Louisiana 700-728 Railroad Board*
440-448 Oklahoma . 729-733 Enumeration at Entry
237-246, 587-665, 667-679, ho «Thy:

681-699, 750-772 Officially: Not Issued

734-749, 773-899 Unknown

000, 666, 900-999 Never valid numbers
Important Notes:

I. * = 700-728 issuance of these numbers to railroad employees was discontinued July 1, 1963.

2. If the same area number appears above more than once, it is because certain numbers were transferred from
one State to another or that the area number was divided for use amongst certain geographical locations.

3. Any number beginning with "000", "666", "900-999", has a middle "00", or ends in "0000" will never be a - . .
valid SSN. “Eh rs

 
 

Case 8:20-cv-01630-DSF-PVC ‘Document 1 Filed 08/21/20 Page 66 0f 112 Page ID #:66

4/25/2020 How to Decipher a Social Security Number

4. Originally, the first three digits were assigned by the geographical region in which the person was residing at
the time the number was assigned. "Generally, numbers were assigned beginning in the northeast and moved
westward. So people on the east coast had the lowest numbers and those on the west coast had the highest

numbers".

. 5. Since 1972/1973, when SSA started assigning SSNs.and issuing cards centrally from Baltimore, the Area
Number assigned has been based on the ZIP code in the mailing address provided on the application for the
original Social Security card. The applicant's mailing address does not have to be the same as their place of
birth or residence. Prior to 1972/1973, social security numbers were assigned by field offices. Therefore, the
Area Number does not necessarily represent the State of residence of the applicant, either prior to 1972/1973

or since.

6. People born in the United States since 1987 may have had their SSN applied for them by the hospital at
birth. This policy varies by State.

7. Effective June 25, 2011, the SSA began a new randomized assignment methodology, called "SSN
Randomization", in an effort to extend the longevity of the nine-digit SSN nationwide as well as for sécurity
since randomization makes the newly assigned SSN's more difficult to reconstruct using public information.
Unused area numbers previously assigned to states, as well as previously unassigned area numbers, will now

be available in the new randomization system.

8. Numbers in red were originally assigned to these states but were subsequently unassigned come June 2011
and used in the new randomized assignment. Numbers in these "officially" unissued series may still have
been issued for applicants in these states prior to randomization.

9. Social Security Numbers are never reassigned after someone dies. Despite issuing over 450 million SSN's
since 1936, and assigning about 5.5 million new numbers a year, they can still issue new numbers for several

generations.

 

Original Source: www.socialsecurity,gov. All data is current as of April 15, 2019.

Protecting Your Privacy
Information to assist you in protecting your identity and personal data.

My Identity Has Been Stolen!

We present a number of actionable ideas you should begin today which will help limit the damage, get your
identity back, and maybe even stop the thieves.

 

Credit Report Directory
Quickly locate all the contact information and links you need for getting in touch with Experian, Equifax,
TransUnion, and Innovis, and how to get a free credit report.

Gpt Out!
Contact information and tips for getting yourself removed from junk mailing lists and telemarketing lists.

Information is from sources believed to bé reliable but cannot be guaranteed. The information
presented is solely intended to assist site visitors in better understanding Social Security Numbers,

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directly endorse their sites or products. Please notify us if you find any of the advertisers to be 4

misleading. a:
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Bl (Official Form 112/11) Document Page 1 of 55

United States Bankruptcy Court
Eastern District of Virginia (Alexandria Division)

 

Voluntary Petition

 

 

 

Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):
Henderson, Kenneth Karl Ponce, L'amour Kim

All Other Names used by the Debtor in the last 8 years ‘All Other Names used by the Joint Debtor in the last 8 years

(include married, maiden, and trade names): (include married, maiden, and trade names):

AKA L'amour Kim Henderson

 

Last four digits of Soc. Sec. or Individual-T axpayer I.D. (ITIN) No/Compiete BIN [Last four digits of Soc, Sec. or Individual-Taxpayer 1.D. (ITIN) No/Complete EIN

 

 

 

iF more than one, state all) Cif more than one, state all)
XXX-XX-0734 ‘ XXX-Xx=9992
Street Address of Debtor (No, and Street, City, and State): Street Address of Joint Debtor (No, and Street, City, and State):
12893 Effingham Court 12893 Effingham Court
Woodbridge, VA Woodbridge, VA
ZIP Code ZIP Code
22192 22192
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business: :
Prince William Prince William
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code

 

 

Location of Principal Assets of Business Debtor
(if different from strect address above):

 

 

 

 

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check onc box) (Check onc box) the Petition Is Filed (Check one box)
Ml Individual (includes Joint Debtors) O Health Care Business Ml Chapter 7
See Exhibit D on page 2 of this form. oO Single Asset Real Estate as defined oO Chapter 9 Oo Chapter 15 Petition for Recognition
DO Corporation (includes LLC and LLP} in 1 U.S.C. § 101 (51B) O Chapter 11 of a Foreign Main Proceeding
O owteran £ b the ob ao eee ec O Chapter 12 C1 Chapter 15 Petition for Recognition
ther ebtor is not one of the above entities, . . :
check this box and state type of entity below.) G Commodity Broker OD Chapter 13 ofa Foreign Nonmain Proceeding
OD Clearing Bank
Chapter 15 Debtors CO Other pa of rents
in ji : Tax-Exempt Entity eck one
Country of debtor's center of main interests: (Check box, if applicabte) II Debts are primarily consumer debts, C1 Debts ate primarily
Each country in which a foreign proceeding O Debtor js a tax-exempt organization : defined in 11 U.S.C, § 101(8) as ; business debis,
by, regarding, of against debtor is pending: under Title 26 of the United States “incurred by an individual primarily for
Code (the Internal Revenue Code). a personal, family, or household purpose."
Filing Fee (Check one box) Chock one box: Chapter 11 Debtors
WB rull Fiting Fee attached . (Debtor is a smal] business debtor as defined in 11 U.S.C. § 101(51D).

on ase : 1 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
D Filing Fee to be paid in installments (applicable to individuals only). Must Check if:

attach signed application for the court's consideration certifying that the ' ; : oo ; a :
debtor is unable to pay fee except in installments, Rule 1016(b). See Official O1 Debtor's aggregate noncontingent liquidated debts (excluding debis owed to insiders or affiliates)

Form 3A are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafier).

 

Check all applicable boxes:
O Aplan is being filed with this petition.
C) Acceptances of the plan were solicited prepetition from one or more classes of ¢reditors,
in accordance with 11 U.S.C, § 1126(b).
Statistical/Administrative Information THIS SPACE 1S FOR COURT USE ONLY
OO Debtor estimates that funds will be available for distribution to unsecured creditors.

Wi Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors.

Estimated Number of Creditors
7 o o o oO oO Oo oO oO oO /
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Estimated Assets

D7 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration. See Official Form 3B,

 

 

 

 

 

 

 

 

 

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Document Page 8 of 55 S222 TAM

B7 (Official Form 7) (04/19)

United States Bankruptcy Court
Eastern District of Virginia (Alexandria Division)

Kenneth Karl Henderson
Inte —_ L'amour Kim Ponce . Case No.

 

Debtor(s) Chapter 7

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter [2 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed, An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian," Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions I - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate shect properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

"In business.” A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership, An individual debtor is “in
business" for the pumose of this form if the debtor is or bas been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of'a corporation; a partner,
other than a limited partmer, of a partnership; a sole proprietor or selfemployed full-time or part-time, An individual debtor also may be “in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

"Insider.” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of'a corporate debtor and their relatives; atfiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 1 1
U.S.C. § 101.

 

1, Income from employment or operation of business

None State the pross amount of income the debtor has received fiom employment, trade, or profession, or from operation of the debtor's
oO business, including part-time activities etther as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. Siate also the gross amounts received during the two years immediately preceding this
calendar ycar. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar ycar may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) [fa joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$20,425.00 2012 YTD: Debtor Employment Income
$60,490.00 2011: Debtor Employment Income
$48,778.00 2010: Debtor Employment Income

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Case 8:20-cv-01630-DSF-PVC Document1. Filed 08/21/20 Page 69 of 112 _ Page ID #:69
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Document Page 9 of55 Bi22!12 14:37AM

 

2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
Oo during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
each spouse separately, (Married debtors filing under chapter 12 or chapter [3 must state income for each spouse whether or not a joint
petition is tiled, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$4,070.00 2012 YTD: Wife SSI Benefits
$8,298.00 2011: Wife SSI Benefits
$8,298.00 2010: Wife SSI Benefits

 

3. Payments to creditors
None Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
of all property that constitutes or is affected by such transfer is Jess than $600. Indicate with an (*) any payments that were made to a
creditor on account of a domestic support obligation or as part ofan alternative repayment schedule under a plan by an approved
nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OFCREDITOR—- PAYMENTS - AMOUNT PATD OWING

None b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
a= immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
transfer is less than $5,850°. Ifthe debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
account of a domestic support obligation or as part of an altemative repayment schedule under a plan by an approved nonprofit
budgeting and credit counseling agency. (Married debtors ftling under chapter [2 or chapter 13 must include payments and other
transfers by either or bath spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None ¢, li debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
a creditors who are or were insiders, (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

 

4, Suits and administrative proceedings, executions, garnishments and attachments

None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
Oo this bankrupicy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or bath spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUTT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION
Armstrong Management, Antietam Square Warrantin debt = Prince William General Distric Pending
Homeowners Association c/o Chadwick Court

Washington Morirarty Elmore and Bunn v. 9311 Lee Ave

Kenneth and L'amour Henderson Manassas, VA 20110

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commicneed on or after the date of adjustment.

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Document Page 34 of 55 S22 137A
B6I (Official Form 61) (12/07)
Kenneth Karl Henderson
Inte L'amour Kim Ponce Case No.
Debtor(s)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of'any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Marital Status: DEPENDENTS OF DEBTOR AND SPOUSE
RELATIONSHIP(S): AGE(S):
Daughter 20
Married Daughter 5
Daughter 5
Daughter 7
Employment: DEBTOR SPOUSE
Occupation Counsler Disabilty
Name of Employer Community Systems Inc
How long employed 5 yrs
Address of Employer 8136 Old Keen Mill Rd
Springfield, VA 22152
INCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly) $ 3,321.00 3 0.00
2. Estimate monthly overtime $ 0.00 3 0.00
3. SUBTOTAL $ 3,321.00 $ 0.00

 

 

 

 

4, LESS PAYROLL DEDUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a, Payroll taxes and social security 3 364.00 $ 0.00
b. Insurance $ 0.00 $ 0.00
c. Union dues $ 0.00 $ 0.00
d. Other (Specify): $ 0.00 $ 0.00
$ 0,00 $ 0.00
$. SUBTOTAL OF PAYROLL DEDUCTIONS $ 364.00 $ 0.00
6. TOTAL NET MONTHLY TAKE HOME PAY $ 2,957.00 $ 0,00
7. Regular income from operation of business or profession or farm (Attach detailed statement) $ 0.00 $ 0.00
8. Income from real property $ 0.00 $ 0.00
9. Interest and dividends $ 0.00 $ 0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of :
dependents listed above $ 0.00 $ 0,00
11. Social security or government assistance
(Specify): Social Security (Survivor Benefits} $ 0.00 $ 814.00
$ 0.00 $ 0.00
12. Pension or retirement income 3 0.00 $3 0.00
13, Other monthly income
(Specify): Part time Job 3 1,491.00 § 0.00
$ 0,00 $ 0.00
14, SUBTOTAL OF LINES 7 THROUGH 13 $ 1,491.00 $ 814.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14) $ 4,448.00 $ 814.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15) $ 5,262.00

 

 

 

 

(Report also on Summary of Schedules and, if applicable, on
Statistical Summary of Certain Liabilities and Related Data)

17, Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 710f112 Page ID #:71

To: Riverside County Superior Courts and the Riverside District Attorney Date: 05-04-2020

Any Oklahoma land Inheritance supporting acres of oil and gas leases with mineral rights from Lula
Dunford that were then willed to her daughter, Laura McCullough, makes Laura's daughter, Monica
Henderson an heir, makes Laura's grandson, Kenneth Henderson an heir, and makes Laura's 3 great-
granddaughters, Maya Henderson an heir, Kayla Henderson an heir, and Jordyn Henderson an heir as
Native American decedents to Mrs. Dunford’s will.

Mr. Henderson states that the American Indian Probate Reform Act put into law on June 20",
2006, denies fractionization of ownership of allotments of land from non Native American Indian heirs
or.Non Native American descendant spouses (such as Lamour Ponce as a spouse, or Aaminah Watkins
attempting to be a non Native American heir as Aaminah Henderson through marriage, both capable of
taking away or minimizing royalties owned to Kenneth Henderson or his Native American children as
heirs). A living will does exist from Lula Dunford, given to Mr. Henderson's grandmother Laura
McCullough and that any conspired plan over many years by Orange County and its Superior Courts to
use Ponce family members and various other Government employees working within the County as
Agents was meant to keep the Henderson family from their inheritance. However, due to the American
Indian Probate Reform Act (AIPRA), Lula Dunford's land rights to oil and gas leases in Oklahoma
that she willed to daughter, Laura McCullough, would make Monica Henderson as Laura's daughter,
Kenneth Henderson as Laura's grandson, and Maya, Kayla and Jordyn Henderson as Laura's great-
granddaughters as direct descendants and heirs to Lula's inheritance, Please review the following
related court documents:

1) Lula Dunfords Native American Indian Roll #5@ and Will to daughter, Laura McCullough

2) Oil & Gas Leases on land allotted to Lula Dunford

3) Eaastern District Court of Virginia: Kenneth Henderson v Fairfax County Government et el.,

4) Virginia 4" District Court of Appeals “Kenneth Henderson v Fairfax County Government et el,
5) Orange County, California 4" District Court of Appeals “Kenneth Henderson v Lamour Ponce”
6) Tulare Probate of Property of David McCullough to Monica Henderson

7) The County of Orange v Alvin Watkins (California)

8) Ellis Ponce v Alvin Watkins (Any Orange County Custody hearing titles from 1996 -2005)

9) Corona Norco School District HR filings: Kenneth Henderson v Corona Norco School District

10) Request for either Riverside County District Attorney or Tribal Court take over children's case

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 72 0f112 Page ID #:72

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The following . . _’ written testimony by Plaintiff Kenneth Henderson against
Defendants, Corona Norco School District, Orange Unified School District, and Eastside
Christian Schools in violation of STAY PUT laws fora child with diagnosed learning disabilities
that was transferred over with an INVALID LEP previously implemented with both parents
involvement from out of state, are true statements of events to the best of his abilities.

To start the 2" semester of the 2020 school year with the Corona Norco School District, Jordyn
Henderson was abruptly removed from her IEP from Letha Raney Intermediate only days after her
father informed #!:e School District to keep her in her current Special Education placement, which
supports “Stay Put” federal laws for many children diagnosed with a learning disability who school
distticts may attempt to move their child out of their IEP before allowing the parent in disagreement to

have a Due Process Meeting.

-

The belew Online Source was taken from: hitps://www.understood.org/en/school-learni:g/your-childs-
rights/basics-about-childs-rights/stay-put-ri ghts-what-they-are-and-how-they-work

If your child is receiving special education and related services, you have important legal rights. One of
thece rights is the “stay put” provision of the Individuals with Disabilities Education Act (IDEA).

This right comes into play when you disagree with (or “dispute”) a change the school district wants to
make in your child’s educational placement. The term “placement' means more than simply a location.
It includes the services set forth in the IEP, such as occupational therapy or counseling.

if you dispute a proposed change to your child’s placement, the “stay put” provision allows him to de
just that—stay put. He’ll continue to get the same amount of services while you and the school

complete a dispute resolution process.

Most of the time, parents and schools work together to make decisions about a child’s education, But
disagreements scmetimes arise. Maybe the school wants to reduce or eliminate services. Or maybe they

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 76 0f112 Page ID #:76

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want to move a child from a general education class to a more restrictive environment.
If you want your child to “stay put” while you dispute a proposed change to his IEP, here’s what you

need to know.

To use your “stay put” rights, you must take action quickly. IDEA says parents must invoke “stay put”
rights within 15 days of being told of the proposed change. The school is required to send you written
notice. The 15-day timeline begins when the notice is sent—not when you receive it.

If you don’t take action within those 15 days—by filing a due process complaint or 2 request for
mediation—the school district may have the right to put its changes into effect.

Keep in mind some states have more protective “stay put” laws. In these States, “stay put” may go into
effect automatically, without you taking any action. In other states, you can invoke “stay put” rights’

without filing a formal complaint. Check with your Parent Training and Information Center (PTI) for

your state’s specific rules.
The school must follow the “stay put” rule until your dispute is resolved.

If you ask for a due process hearing, it miglit take months before a hearing officer decides your case
and any appeal process is completed. During that time, the school can’t change your child’s IEP. It must

stay put until the case is resolved.

In May of 2019, Eastside Christian Schools and the Orange Unified School District removed or
terminated the positions of Eastside Christian Schools Principal, Kim Van Geloof, removed or
terminated Eastside Classroom Instructor, Lamour Ponce St, and removed or terminated Eastside
Christian Schools volunteer, Lamour Ponce Jr., all just days after Mr. Henderson filed a complaint in
the 4tth District Court of Appeals Court in Orange County, California for violating the “STAY PUT”
laws once improperly enrolling all 3 girls without an assessment test, review of prior transcripts and
protest from the Mr. Henderson to not have his daughter, Jordyn removed from her IEP just
implemented in Georgia before the mother had all 3 girls enrolled without involving the father in
financial tuition payment decisions and a decision not to have the children assessed for academic
placement during the enrollment process.

The below actions denied Mr. Henderson's parental rights and ability to support his daughter, Jordyn's
diagnosed learning disability needs from Virginia and Georgia while attending Fullerton, California's
Eastside Christian Schools in the 2016-17 School Year. Eastside Christian Schools colluded with the
Orange and Corona Norco School District in the assessment and transfer of an Invalid JEP due to never
involving the father or having equal supports offered from out of state but denied in California. School
IEP's (Individual Education Programs) are designed to support a child's diagnosed disabilities that
impact their ability to academically achieve at the same level as their peers or classmates unless
assisted with Special Education instruction from a plan financially approved from the School District.
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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 77 0f 112 Page ID #:77

Education Code section 56325, subdivision (a)(3), provides:
As required by [20 U.S.C., section 1414, subdivision (d)(2)(C)(i)(I)], the following shall apply to
Special education programs for individuals with exceptional needs who transfer from an
educational agency located outside the State of Califomia to a district within California. in the
case of an individual with exceptional needs who transfers from district to district within the
same academic year, the local educational agency shail provide the pupil with a free
appropriate public education, including services comparable to those described in the
previously approved individualized education program, in consultation with the parents, until
the local educational agency conducts an assessment pursuant to [20 U.S.C., section 1414,
subdivision (a)(1)], if determined to be necessary by the local educational agency, and

develops a new individualized education program, if appropriate, that is consistent with federal

and state law.

To facilitate the transition from one schoo! district to another, the new school in which the student enrolls
shall take reasonable steps to promptly obtain the pupil's records, including the IEP and supporting
documents and any other records relating to the provision of special education and related setvices to the

pupil, from the previous school in which the pupil was enrolled. (Ed. Code, § 56325, subd. (b)(1).)

Above Source taken from: http://www.eduesq.com/special-education-student-ieps-upon-transfer/

2014/15 —2016/17 School Years (IEP Implemented from School Districts in Virginia and Georgia) °

Jordyn began her first 3 years of her IEP in Woodbridge Virginia's Prince William County School
District for school years 2014, 2015 and 2016, however, in her last triennial school year in 2016
L'amour Ponce Sr., as the grandmother to Jordyn while also an Eastside Christian Schools employee in
Fullerton, California began conspiring to assist her daughter, Lamour Ponce Jr. to end her marriage in
Virginia with Jordyn's father, Kenneth Henderson by having her first remove Jordyn from her Special
Education Plan by placing her in a K12 online program at the start of her 2016 school year in Loudoun
County, Virginia. It should be noted for court purposes that once implemented, the IEP follows the

child where ever they go.

2917/18 — 2019/20 School Years (IEP 2" Phase of Implementation in 2 School Districts in California)

For the 2" Phase of implementation of Jordyn's IEP for her 2017, 2018, and 2019 school years,
Lamour Ponce Sr., as the grandmother to Jordyn, while employed at Eastside Christian Schools, and

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 78 0f112 Page ID #:78

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her daughter Lamour Ponce Jr., as the mother to Jordyn, working as a volunteer, both colluded with
Eastside Christian School Principal, Kim Van Geloof to not follow their own enrollment procedures to
deny Jordyn her JEP into the private school along wit her 2 sisters, Maya and Kayla Henderson without
the father's involvement in never receiving a copy of a financial agreement for annual tuition cost for
all 3 children, and to never have the children given an assessment test to see where ail 3 girls should be
placed academically in class aspart of the Eastside Christian Schools enrollment process, Without
involving Mr. Henderson in his daughter's improper enrollment at Eastside, not only was the father
denied his parental rights to be involved in his daughters educational decisions once the family arrived
to California with the grandmother and mother placing them into Eastside Christian Schools, but the
children were denied their own educational rights as well to be evaluated and academically placed into
the right class. Without the children being given an assessment test as part of the Eastside Christian
School enrollment process, Jordyn was immediately denied her rights to be academically supported
with her Special Education Program due to her diagnosed learning disability in the very year the
mother and grandmother as Lamour Ponce also pulled Jordyn from her IEP in 2016.to place her in an
online K12 program against the fathers wishes. ‘

As Orange County Superior Court records in 2017 state Eastside Christian Schools did not meet
Jordyn's disability needs for the 2016-2017 IEP School Year. However, both the grandmother and
mother as Lamour Ponce, were already colluding with the head Principal and IEP Team from Orange
Unified School Districr to continue to deny the existence of Mr. Henderson and his equal educational
decision making rights with the mother over his children by having Jordyn secretly assessed and
psychoanalyzed by Orange School District Schoo! Psychologist, Eric Supedo.

The Orange County Superior Courts were made aware of the grandmother and mother as Lamour
Ponce, actions to collude with the private school to secretly implement Jordyn's IEP without informing
Mr. Henderson, only after he began questioning the private schools actions in December of 2016 to
never send over Jordyn's school transcripts from Virginia and Georgia or attempt to implement an IEP
that is suppose to follow a child where ever they go. However, the court in July of 2017 reviewed the
evidence, to include Jordyn nearly failing the 4" grade while at Eastside Christian without her IEP
supports, and decided to rule to have the father be able to decide to have all 3 children placed into the
Corona Norco School District after the Orange School District IEP for J ordyn was implemented “~~ ~
without the father's involvement and transferred to the Corona Norco School District as an Invalid IEP.

The below only source was Originally published in the Summer 2005 Pacesetter, vol.
28(2). Reprinted with permission from PACER Center, (952) 838-9000.

Who can make special education decisions?

IDEA and state laws stress that parents are the decision makers for their children.
Parents retain these rights unless a court order, state statute, or legally binding
instrument revokes them. In other words, each parent remains a decision maker in
special education after divorce unless the divorce decree or other court action specifically

removes that right.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 79 0f 112 Page ID #:79

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Joint legal custody is the current order of both parents: means that both parents
keep the right to make important decisions about their children's education, health care,
and religious training. Under joint legal custody, unless the decree is written differently,
both parents have the right to:

-Be members of their child's Individual Education Program (IEP) team

-Be given notice of team meetings

-Exercise their due process rights

‘Receive progress reports
‘Have the chance to agree or disagree with plans for initial evaluation and

placement in special education

The school must provide written notice of special education meetings to each parent who
has legal custody of the child and has provided the school with an address.

What happens when parents with joint legal custody cannot agree about special
education?

It is most helpful if parents work in a cooperative manner despite their divorce.

1. Some parents choose to come to an agreement or at least agree on a course of
action before meeting with the other members of the IEP team (Mother never
thought once to involve the father, only wanted to remove child from IEP for
financial and custodial gain in court without fathers involvement once arriving to

California.)

2. If the parents cannot find agreement, most school personnel use informal
means such as school meetings to try to resolve the conflict (Yes, but only after
denying the child the ability to Stay Put in their IEP while denying Mr. Henderson's
request to not change his daughters IEP placement.)

3. If the parents still cannot agree, either parent or the school may be able to use
the alternative dispute resolution processes available in that particular state (Mr.
Henderson used the Family Law court Process and them the Dispute Resolution
Process but only after the defendants had already denied Mr. Henderson the STAY

PUT laws in California).

4. If they cannot agree yet, either parent can request a due process hearing. When
the issue of the hearing involves a change in educational placement, the child will
in most cases "stay put" in the current school program unti! the matter is decided
(This option of STAY PUT was denied to Mr. Henderson by all 3 defendants).

5. If parents are in so much conflict that they are unable to work on behalf of the
child in the special education process, either parent has the option of consulting an
attorney about asking the court to alter the divorce decree (Request denied to Mr.

Henderson) -

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 80 0f112 Page ID #:80

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Conclusion

Jordyn's IEP Advocate at the time of the Superior Court ruling to have the IEP transferred over to the
Corona Norco School District did state as part of her written court testimony that an IEP assessment
completed on a child without the other parents involvement and signature while seeking to be involved
in their child's educational and health needs, would be invalid (See attached documents by Valerie
Aprahamian, IEP Advocate in support of Jordyn in 2017.

The final 2016/17 triennial IEP school year transcripts, once the Henderson family arrived to California
(2014-2015 and 2016 School Years) show Jordyn's Special Education Supports from her IEP for an
entire year at Eastside Christian Schools, had been denied in its 3“ and final triennial assessment year
without the schoo! following proper procedure once réceiving Jordyn's school records clearly showing
she was on a current IEP due to a diagnosed learning disability. It became clear in December that the
private school had no intention of including Mr. Henderson or implementing Jordyn's IEP from out of
state. due to the mothers desire to remove the IEP and due to employment ties the Ponce family
maintained as close friends with Principal Van Geloof. Mrs. Van Geloof assisted both Lamour Ponce Jr
and Lamour Ponce Sr in denying equal educational and medical decision making of the father while
advocating to maintain such Special Education supports for Jordyn.

Both the mother and grandmother while born in New York with New York social security cards, used
an additional California issued social security number with the name Lamour Ponce only to deny their
marriages, spouses income, due to receiving SSI (Supplemental Security Insurance) and the ability to
claim the children separately from their biological fathers for inheritance.

Lamour Ponce only as the name filed with no suffix into the Orange County Superior Court, continued
to give no distinction between her and her mothers identities, continues to leave unknown to the father,
sealed testimony as to who out of the grandmother and mother of the children was made the Power of
Attorney and given legal guardianship with Judgment of Mr. Henderson's stepdaughter, Aaminah
Watkins some years after the mother's reported brain injury in 1997 by Aaminah's biological father,
Alvin Jerome Watkins, Mr. Watkins was denied his requests for full legal and physical custody of his
daughter in the Orange County Superior Courts. Aaminah moved out of Virginia to California in 2016
after her Mom separated from Mr. Henderson, to remain near her mother in Anaheim, California.

Lamour Ponce Jr., upon arriving to California in late November of 2015, could have simply transferred
all 3 children to include Jordyn's IEP from Henry County Public schools to Running Springs
Elementary and EL Rancho Charter School as 2 very highly rated schools right down the street from
her Anaheim home address with the Orange Unified School District, however, Lamour Ponce Jr and
her employed Eastside Christian Schools mother, Lamour Ponce Sr, chose to use the Fullerton private
school and close relationship with the Eastside Christian School Principal as a means to continue to
deny the parenting rights and the existence of the marriage in Virginia and influence the custody

situation in her favor with the court.
 

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 810f112 Page ID #:81

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Mr. Henderson's mother in law, L'amour Ponce but known as Ellis to family, used a California issued
social security number to‘take on her daughter's legal birth name of Lamour Ponce for continued
custodial and financial gain of her 3 granddaughters, after years of using her daughters same name to
conceal being made her legal guardian of her 4" and eldest granddaughter, Aaminah. Such actions
concealed to Mr. Henderson by the mother in law as a private school employee then would allow both
her and her daughter to switch identities in California and Virginia with a California issued Social
Security number. The California social security number would allow the mother in law as Lamour
Ponce Sr, and her daughter, Lamour Ponce Jr., with employment, volunteer, and friendship ties to the
private school Principal, to create another identity used to deny the existence of both biological fathers
with Orange County Government Agencies and the County Superior Court to Aaminah Watkins, Maya
Henderson, Kayla Henderson and Jordyn Henderson.

In the end an Invalid IEP was transferred without the involvement of a father who was involved and
persistently pushed for his daughter, Jotdyn's IEP to STAY PUT while asking for placement of supports
for his daughter's learning disability to not be changed to the private school principal and asistant
principal once arriving to California and eventually having to deal with all 3 defendants who have
repeatedly denied such rights for him as a parent with a child with an out of state IEP that continued to
be targeted for removal by the mother and all 3 defendants in California. .

The court should have knowledge that Mr. Henderson's daughter, Maya Henderson was also denied
disability needs for school by all the defendants as well who either colluded with the mother to refuse
to inform the father of behaviors associated with diagnosed depression, weight gain, skin picking, and
severe anxiety due to dealing with her parents pending divorce without a professional child psychiatrist

or psychologist.

Its important that the court realize before making a decision based off of California's Statute of
Limitations in filing, Mr. Henderson tried the Family Law court and was lied to by all 3 defendants
who stated his daughter's out of state IEP would be implemented once transferred to the Corona Norco
School District as it should have from the moment Jordyn arrived to California but her JEP supports
stated by her advocate were never implemented by Orange Unified School District with intent along
with the mother and grandmother on eventually removing Jordyn from her JEP with only math being
the lone subject supported from various subjects supported in Georgia and Virginia.

Filings Made with Corona Noreo School District and the OAH in relation to J ordyn & Maya
Henderson's diagnosed disabilities will be provided to the court.

Mr. Henderson along with his initial complaint to the Corona Norco School District in January of 2020,
made several filings into their Human Resources Department in relation to Administration of Hearings
request and Due Porccess Hearing Request due to being denied Stay Put laws for his childs IEP that
was completely taken away by the mother and Eastside Christian in 2016/17 and then drastically
reduced only when Mr. Henderson made the private school aware that an IEP existed and should not be
removed, It was that new IEP created by Orange School District that remains invalid for Jordyn and the
reason why the defendants went out of their way to completely remove all evidence of prio wrongs
committed by the state of California in dismantling my daughters Special Education Program

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 82 0f 112 Page ID #:82

implemented by both the mother and father just weeks several actions took place by the mother and
grandmother to deny the existence of Mr. Henderson as the father in marriage to Lamour Ponce out of
the state of Calfiornia due to fraudulently receiving SSI, and Survivor benefits for years with financial
support in the millions for Orange County through American Indian inheritance of oil and gas leases
denied to Mr. Henderson's Native American family and children as heirs, as the Elephant in the Room
for all reasons behind both triennial school year attempts in 2016/17 with Eastside Christian Schools
with the Orange School District and the 2019/20 triennial school year with the Corona Norco School
District's Letha Raney Intermediate Schools, all to dismantle and remove Jordyns out of state IEP in
Orange and Riverside Counties of California.

Attachments: Attachments will include 2 written reports in 2017 made by Jordyn's IEP Advocate .
Other attachments will be provided to the court in relation to diagnosed medical disabilities of
Depression, Anxiety Disorder and Skin Picking Disorder for Maya denied to the father by the mother
for over 2 years to treat her mental health needs first attending Eastside Christian Schools before
transfering to Corona Norco School District and the father finding out of such medical records and
reporting them to Letha Raney Intermediate who never attempted to suggest a 504 Plan meeting with
both parents, again denying to respond to the father and only to the mother, Lamour Ponce, who
remained employed as a substitute teacher but similar close ties with Principal Sanchez/ McIntire as the
senior Lamour Ponce was close with Principal Van Geloof with Eastside Christian to deny the fathers
rights and students disability needs.

Mr. Henderson also pointed out to the School District of Corona Norco and the OAH that Jordyn's [EP
Team with Letha Raney Intermediate did not follow procedural policies requiring team members be
present at the meetings such as the 1) School Psychologist, 2) the Special Educaton Teacher, Mrs Y, and
the Math Academy Teacher, Mrs Klat, in which the IEP Team removed J ordyn from her IEP support
with a Special Education Math Instructor such as Mrs Y to replace with non special education support
by Mrs Klat and neither were present at the IEP Meeting to support Principal McIntyre's reasoning for
denying Mr. Henderson's Stay Put request he feels shoulf have never been approved by a Principal who
stated in the meeting to the meeting coordinator if the IEP Team could move forward without Mr.
Henderson's support and vote! Mr. Henderson requested the same actions be done to remove Principal
Sanchez/ McIntyre as was done to Principal Kim Van Geloof in her relations with Lamour Ponce Sr at
Eastside Christian in denying Stay Put laws and Mr. Henderson's parental rights to support his
daughters disabilities.

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Subpoena Request:

Subpoena's of all school records, employee position titles, and reasons for removal or terminations of
staff after Mr. Henderson's filed complaint specifically to Eastside Christian Schools last May of 2019
will be requested, filled and served for all 3 defendants with the current Eastside Christian Schools
Principal, Orange School District Psychologist, who assessed Jordyn, the current Orange School
District Superintendent, the Vicentia Elementary Special Education Case Worker who worked with
Jordyn, and Letha Raney Intermediate Special Education Instructor known as Mrs. Y who also worked
with Jordyn will be asked to testify.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 83 0f112 Page ID #:83

RELIEF
In relief, Mr Henderson is requesting damages from Eastside Christian Schools, the Orange School
District and the Corona Norco Schoo! District due to the completion and transfer of an Invalid
California IEP after denying to follow “Stay Put Laws of a child on a current IEP implemented for
Jordyn that should remain in place , comparable or equal to the approved Special Education
programming needs Jordyn maintained in her previous school, state and School District ionce the
parent disputes any placement change of their child made by the school. Jordyn should not have been
removed from her placement and should have “STAYED PUT” at Letha Raney Intermediate this
triennial school year of 2019/20 and should have “STAYED PUT” due her fathers disagreement to
displace her from her IEP due to Jordyn's diagnosed learning disability noted outside of California
before transferring to Eastside Christian Schools from Luella Elementary in Georgia in 2016/17 mid
school year [20 U.S.C., section 1414, subdivision (a)(t)].

Furthermore, Kenneth Henderson, as Jordyn's father, although he participated in Jordyns previous IEP
meetings in Georgia and Virginia, once arriving to California, Orange County clearly showed a
preference for the mother and Mr. Henderson's Mother in Law as an Eastside Christian Schools teacher

- and volunteer by not including Mr. Henderson in the completion of an invalid enrollment process of his

3 daughters without including the father in any financial tuition agreement, not including the father in a
decision to not have his daughters complete an enrollment assessment test which would have provided
the private school with facts supporting Jordyn was a Special Needs Child requiring them to further
review the students previous transcripts in which Eastside did not until Mr. Henderson brought the
school records from Georgia and Virginia to Principal Van Geloof's attention.

Eastside Christian Schools teacher, Ms Wozab and the Orange Schoo! District psychologist with
Running Springs Elementary, Eric Supedo, did not include Mr. Henderson in any new triennial
assessment for Jordyn before the JEP was completed and transferred to the Corona Norco School
District in which Jordyn's Special Education Advocate at the time called an Invalid IEP Transfer due to
the School Districts inability to include Mr. Henderson. Mr. Henderson states the state of California
conspired with both mothers in using the same name of Lamour Ponce to deny not only the existence of
the marriage but to deny the existence of Mr. Henderson's family inheritance to claim his children
through his mother in law while using his wife's name of Lamour with an additional social security
number from Orange County for financial gain of millions in oil and gas leases given to Laura
McCullough, Mr. Henderson's grandmother.

Because of the above actions taken against Mr. Henderson and his family as Native American Indians
by California Government Agencies while using his wife and mother in law to claim the same name
and his children for custodial and financial gain with the court, and for financial gain of primarily
Eaton Corp and Exxon Mobil as to major oil and gas companies who financially support other various
Orange County Government Agencies, Schools, Hospitals and Medical Centers, he believes a Relief
Payment of $5 million from Eastside Christian Schools, $5 million from Orange Schoo! District and $5

million from -tag Corona Norco School District.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 840f112 Page ID #:84
A Total n Damages from Relief is requested by the Plaintiff’s as Heirs:

1) Easter Seals ($5,000,000)
2) Ultimate Software (UltiPro) Santa Ana, CA ($10,000,000)
3) Orange County Social Services ($5,000,000)
4) CHOC Hospital ($5,000,000)
5) St. Joseph's Heritage Medical (Group) ($10,000,000)
6) Anaheim Social Security Administration ($40,000,000)
7) CalOptima Health Insurance ($5,000,000)
8) CHOC Health Alliance ($5,000,000)
9) Orange County Superior Courts ($55,000,000)
10) Exxon Mobil ($170,000,000)
11) Eaton Corp (175,000,000)
12) Anadarko Petroleum ($200,000,000)
13) Union Bank ($100,000,000)
14) Adams, Silva & McNALLY LLP. ($15,000,000)
15) Attorney, Milton C. Grimes ($100,000)
16) Attorney, Thomas Chapin ($100,000)
17) Attorney, Tommy Andrews Jr. ($100,000)
18) Darrell’s Drilling ($100,.000)
19) Christine Holmes ($100,000)
20) Judge Orel Busby and Estate Heirs ($5,000,000)
21) Afgagh Kathryn Khorashadi ($100,000)
22) Tulare County Probate Court ($5,000,000)
23) OAH ($5,000,000)
24) Eastside Christian Schools
25) Orange Unified School District
26) Corona-Norco School District

Total: $975,000,000

$675,000,000 in damages and relief to Kenneth Henderson, Amillia Henderson, Monica Henderson, Maya
Henderson, Jordyn Henderson, and Kayla Henderson as direct Native American decedents as Washitaw and
Seminole Indians from the Anadarko reservation, with Laura McCullough as an heir, raised by Lula Dunford as
a Seminole. However, due to Nath Cochran as a full blooded Seminole and Washitaw Indian being married to
Ida-Nellie Chateau Cochran.as a full blooded Seminole, and Nath Cochran having Lula Dunford as his
biological daughter and Laura McCullough as his biological granddaughter, like Nath Cochran, all the
Richardsons and McCullough's were surnamed Washington's, as are the descendents of David and Laura
McCullough, as all of us are part of the George Washington Band of Indians from the Anadarko reservation.

$300,000,000 to ail the remaining McCullough 37 direct descendants as Washita and Seminole Native
American Indian heirs as victims of the above Defendants in an Inheritance Heist of the David McCullough
Tulare Court Probate listing Plaintiff, Monica Henderson as Administrator of the McCullough estate property.

fe/_ Pro se Plaintiff: Kenneth K. Henderson
Address: 1266 Ryan Ln. #F
Corona, CA 92882
Phone: H/951-393-0318 & C/951-261-6517

39
 

Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 85o0f112 Page ID #:85

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VALERIE APRAHAMIAN Cy OQ
Advocates for Angels

 

Spacial Rduratiom Advucacy Services
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“DED StRONT (S08) d4-2600 Bae #3373 348 dog

dudge Frank Osping
Superior Court of California
County of Orange

341 ‘The City Drive South
Orange, CA 92868-3205

Case Number: 1713000513 Kenneth Henderson vs L'Amour Pance
Re: Jordyn Alana Henderson
Neur Judge Ospino,

My name is Valerie Aprahamiim und I am the founder of Advocates For Angels, ari
advocacy agency ibal provides advocates who assist parents in the development of Lbeir
child's IEP. Asa special education advocate, [ have more than 20 years. of experience in
working with families in the Island [ripire and Orange County area, I held a Special
Liducation Advocacy Certificale dom the William and Mary Law School and have
alended tore than 1,400 TEP meetings to represent students on an LEP.

On behalfot Mr. Kenneth Uenderson, I ana writing this letter to vou regarding the
Individual Education Program (IEP) for his davahter, Jordyn Alana Henderson, Mr,
Henderson believes that f."Amwur Ponce bas failed ta provide the specis] education
program aml services Jordyn requires to receive educational benefit as mandated try
[DBA by remeving Jordyn from public schiao! and placing her in private school and
without Mr. | lenderson’s authorization.

Fordyn has heen identified as 4 suudent with a leaming disability, memory. vision and
processing dedicils, specch and language deticit, and Fine and grass motor deficits. ‘These
deficits impede Jordyn's ability to access the general edseation curriculum: WH hou!
specialized teuching by u special education teacher to provide the placement,

{of 3
630-DSF-PVC. Document 1 Filed 08/21/20 Page 86 0f 112 Page ID #:86

Case fiaGh Gath ee aVCOMMbCHUONS, Supporis and services she requires, Jordyn will not

receive educational benefit and continue to (all lurlber dehiref grade jevel.

Puring the 2016-2017 sehoo! your, Mrs, Force umlatcrally removed her dauchter.
Jordyn, from public schoot and placed her in private school at Eastside Christian School
i Fullezion, C alilormia, without tac authorization of Jordyn's father, Kenneth Henderson.
Eastside Christian School does nat provide special education services, nor does the
lastside Christian Schoal sialT have the knowledge or eredentials te provide the
accommodations, modifications, supports and services required to implement her LEP ner
the Getober 31, 206 LEP document.

Mr. Henderson holds equal educational Tights to Jordyn, therefore, Mrs, Ponce viclated
Mr. Henderson's parental rights under IDEA and the Caltiorpia Giueation Cade hy
removing Jordyn [pom publig school and placing her in private school without Mr.
Henderson's signature or agreement, As aresalt of Mrs. Ponce's decision, Jordyn was
denied implementation of dhe TEP dated Qetober 31, 2016 fre the 2016-201 7 school wear.
Mr. Henderson believes [but Jordyn nausl be placed in Publie School in order to receive
the snevivlived instruction she requires to receive educational benefit by providing the
educational placement, supports, and services that are documented in her Octaber 31,
2076 TBP.

Avcarding to the JEP dated October 33 : 2016, Jordyn's [EP was developed and agreed
pon and to be amplemented frog Oatober 31. 2016 thru October 31. 2057. Supports and
services included: 30 minutes of collaborative Support by a special education teacher and
20 minutes of supported instmetion lw a special education wacher. Coals included;
academics and task completion. Accommodations j neluided: smail eraup instruction,
extended time, verbalvisual cues to remain on task, positive reinforcers. use of math
Manipulatives.

The Frienniad assesyment review, uhich is mindaicd by the Califormia Education Code, is
duc July 7, 2017. The-district cannot reassess Without parents authorization, yet, Orange
Unified School District assessed Jordyn without Mr. Henderson's anowicdge and based
upon Mis, Ponee’s sienalure, In addition, an JEP was scheduled for June 6, 2017 to
review ihe Psycho-cducational assessment for the Triennial review. Mur, enderson was
not ninde aware of the LEP meeting scheduled for June 6, 2007 until June 4, 2037 afier he
became suspicious that assessments were faking place and called the Orange County
District to inquire.

Tis Mr, Henderson's position that Mrs. Ponce has violered his parentat rights and failed
2 provide the education that Jordyn requires as a sludent with a specific Fournienyss
disability, For the reasons as outlined above, Mr. Henderson is requesting that Jordyn be
plaved to live in the home with kim to allow J ordyn to attend the most eppropriate school
within the Corona/Noreo Unified Schaok 2} slricl where Jordyn cun receive the mandated
special vducalion services she requires,

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8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 87 of 112 Page ID #:87

Furthermore, Mr. Henderson believes Jordy t's current LEP was noi luliy developed
appropriately because Mrs, Panee was not able to advocate properly in the develapment
of the TEP. it is Mr. [lenclerson’s intesrdan to relain spevial wlucation assistance in order
ly provide Jordyn with the most apprapriate supports and services available to her and te
Inect her needs under IDEA.

Thank you foe your consideration o! the information and roquesis as outlined in thts
letter.

Reapectlully,

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er « :

Valerie Aprahamian
Advocates For Anvels
AdvncatesFors.neels.cozn
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 88 of 112 Page ID #:88

VALERIE APRAHAMIAN

Advocates for Angels

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Special Education Advocacy Services
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Jiige Vrank Osping
Superior Court of California
County of Orange

341 The City Drive South
Orange, CA 92858-3204

Case Number; 17DOMIE15 Kenneth Henderson vs. L*Amour Ponce
Re: Jordyn Alana { fendersein
Dear Judge Ospina,

Crs dune 5, 2017. [ woete a letter regarding Jordyn Henderscn’s current IEP. Mit.
Henderson has requested my assistance in providing you with lhe additional, infomation
you bave requested for the upeoriing hearing an July 5, aH, 7

Ou bchalf of Mr. Kenneth Henderson and as previously stared in my ietter dated Jue 3,
SOL, Mir. Henderson believes that] Amour Ponce has caused Jordyn slentlivan

ex] ucational tegression by unilaterally removing Jordyn from public school and nlacine
her in private school withour Me. | lencerson’s consent and vithoiit inffirming Orange
Unified that Jordyn was a student on art [iP api relocating ty the Orange County area,
This decision impeded Orange Unified School District from collaborating with Eastside
Christian School and Mr. Henderson, to ensure that the current IEP faam Georgia be
Hnple mented properiy anc aulhewived by both parents during the 2016-2017 schol year.
Therelore, Mrs, Ponce net only Jailed to meet her daughter's educational needs, which
causcd significant regression, but also violated Mr, jlenderson's éeducativnal rights
rearing his dunghler. Jordyn Humiersen.

In a fetter from Estelan Unearnacion, lsq, dalek Jume 30, 2017. be asks, “Qa Fume 22,
2017, the court ordered this office to attempt to obtain a letter-from the Carona-Norea
School District thar can indicate whether or not the IEP assesarrent conducted hy Orange
Vatlied Schou District would be able ie be implemented for Jiardyn Henderson.”

 

 
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 89 0f 112 Page ID #:89

As an independent special cdueation advacate, I have worked with CNUSD for 20 years
and Tam confident that CNUSD is cupuble of implementi e the assessment findinyrs as
antlined in the Psycho-Educational Evaluation from Orange Unified. [lowever, it is my
professional opinien that the Psycho-Pdueational Assessment conducted by Orange
Linified és incomptete amt inaccurate and Uherelore. insufficient to develop an appropriate
EEP for Jordyn. Conversely, the offer af FAPE (bree atid Appropriate Public Education)
as documented tn ihe Oranie Unified IEP dated June 16, 2017. docs not offer the
supports and services necessary to meet Jordyn’s current educational needs, Therefore. |
believe that an Indeperuent Educational Psveho-Edueational Evaluation is warranted.

Below, picasc find a diagnostic comparison of the HEP from T.uelte EI ementery Schaal in
the Henry County Schocls. McDonough, GA, slart date FO74/16. end date 10/30/17 and
the ICP geveloped by the Orange Unified School District, Annual/Triennial meeting start
date G/LG/L7, end date 6/16/18. Fhe IEP meeting by Oringe UUniftes? an Juiy 16, 2017.
was conducted without Mr. Henderson's ullendance and ayhorization and is nal si med
or authorized io be Implemented by Mr. Henderson.

Loca Ktementary Schaul— Academic Support
a minides 5 Gmes s week of collaborative support by ag Special Education teacher.
30 minutes 5 times a week of supportive instruction by Special Education stall member

dt is inpertant to note thatthe Henry Counts Schools determined that Jordyn required
acadentic sipport in ptuittipfe areas. hich include:

‘ali

Language Aris

Science

Soctal Studies

Orange Unified — Academic Support
3 minutes 3 times a week in a group setting of Specialized Acuslem#c Imsteuctinn autsile
the General Uducutian classroom ina speciil education classroom

ft is important te aote tat Orange Unified recommended that Jorden repaired
academic suppurt in the sole area af Math ovfy.

Additionaliy, Grange Unified has cecreased the avedenti: sient Ap 7 nimutes J Gores
a week, Wits dosumented und reported in every TEP that Jordyn does nod vomplele any
academic task in the time allotted. Therefore, | betieve that Jordyn requires additional
Academic Support in order 19 meet her reeds.

Furthermore, in the areas of vision processing, attention, and memory, Jordyiv’s scares
indicate thal she exhibits dvulicits that would require her fo receFve instructions sttpgarl in
all arcas of academics and not just im the area of Math in order for her to be successful in
accessing and wompleting grade level assignments.

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 90 0f112 Page ID #:90

Luelta Elementary School — Accommodations
Small eroup instructian

Extended time ,
Verbalfvtsnal cues to remain en tisk
Positrve reinforcers

Use ol munth mantpufatives

wi & G3 PO a

Orenge Unified — Accommodations

i. Preferential seating, near instruction

2. Additional time to complete assignments and tests. as mouded

3. Shortened assignments. for exumnple fewer math moblems ta saive
4. Limit timed tests

Qrimge Uniled docs not offer the accommodations of small Sfoup mstraction.
verbal/visual cues to remain on task, positive reinforcers, and Muth marti pufatives,

The Psycho-Edueational assessment conducted by Orange Uinified sizes the following
sugecsted classroom stralegics. however, he UP team from Orange Unified did not
inctude or recommend these accommodations in the IEP,

1. Organization:
Color code materials for cach subject
Use of assignment nolebyk

2. In-Ctass Learning
Provide meaning io her leaning and how it may relate lo a real-lile sluation
When availuble, check in ts make sure Jordyn understands what is expectend
Create 2 signal to gel Jorlyn’s.attention. This cavid be in the form als sticky
note on the desk or moving closer fo Jordyn to gain her attention.
Keep instructions simple and clear

Ir addition to the accommodations offered by Orange Unigied and as supported by the
current test results in the Psycha-educational Assessment, F believe that Jordyn requires
lie licwing additional accommodations be added tw the IP:

[. Repouledt directions

2. Chevk for untersianding.

3. Break down instruction into small chunks

4. Prompting ta ramain an task and complete a task

3. Peer buddy

& ‘Teacher prompting to complete homework phinnerassignment book and
assistance i ensuce proper materials are browghe home for homework compltion

7. Teacher prompting to tam in homework

8. Homework shortened hy teactier to reduce completion time at home

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 910f112 Page ID #:91

luelly Elementary School — Gaals
i, Given a T0-problem assessment, Jordyn vill use correet sddilign, subtraction,
multiplication and/or division skills to answer § of 10 problems correctly.

2. Wilt no more.than 2 verbal reminders, Jarndyn will coupicte assigned (asks in 3
ofS assignments,

Orange Unified — Goals
J. By Jane 2018, Jordyn will multiply 3 ove-digit numbers (using strategies hased
od place value and the properties of operations) with at least 80! accuracy in 3
conseeulive [rials as mussured by student work samples‘teacher records,

2. By June 2018. Jordyn will find 3 whole-aumber qaetients and remainders with up
to four-digit dividends and cne-diait divisors (using stealegies based on place
value, the propertics of operations, and/or the relationship between multiplication
and division) with at least 80% accuracy in 3 consecutive telals as measured dy
sludesl work samples‘teauher records.

Orange Unified did not develop a task completion goal in comparison to luella
ilemnentary School.

The Psycho-Educational Evaluation conducted by Randall Knack, Ph.D. WCSP, and
rélerred by the Prince Williams Cy, Poblic Svhools slules, “Jordyn will need coaching to
help her montter when she is Retigued and how she can take breaks ar change ihe workro
five her a break (Poor attention is one sien she may have worked to Jong on a visually
demanding task)" This supports the need fara break durin demanding visual anchor
wiiling tasks. ,

According to the historical and current test results, iL is my professional opiokon that
Jordyn requitys the following addivional goals by added to the HEP:

‘Task completion with decreasiag of prompts.

. Organization for homework planner and independence to tum in hemevwork
. Following directions

- Visual and writing breaks

de te bw

Based on these findings, it is also my opinion that Jordyn be assessed ia the additional
areas of:

1. Psycho-Educational Independent Educational Evaluation
Lvidence supperling try opinian why | believe a Psyehe-Tiducational [E15 (Independent

Educalional Evaluation) is aceessacy is as [oilows:

The Psycho-Educational assessment gorlucted by Orange Unilied states, “The
alternative method for determining a discrepancy may include”:

4 ob #

 
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 92 0f 112 Page ID #:92

I, Consideration of work samples and documented classroom performance on
criterion referenced testing.
The assessment dees mek slate thal Orange Linified ebwined work samples or
documented classroom performance an critetion referenced testing from lastanle
Christian Schuol; ikurelore, it appears that the assessment is incomplete which
poses the question regarding We validity of an incomplete assessment.

2. Documented classroom observations by school staff.
‘The assessment report states. “A classrom observation was atlemived, however.
die to time conflicts ong coutd nor be conducted “ Again, Unis causes the
asscyshical (0 presenl as an Incomplete assessment. The classroom observation
component of an assessment bears heavy weight upon the cutcame of the
recommendations, Rippurts and services.

3. Parent input.
Mr. Tendersers was not provided ihe opportunity to Gl] out the TEASC-2 Rating
Scalvs and Parent Repori. which was completed by Mes. Ponse oaly. therefore.
ihe assessment is incomplete. Withoet parent input, the evatuation results da mat
tachule the full picture of the child. Adklifiomally, Mr. Henderson's rights were
violated by noe inchiding his input within the test scores.

In addition, attention prohlerms and arxiety have been Tepenieaily reported: therelire, the
possibility of whether or vot Jordyw meets the eriteria for ADHD remains in question,
The Psycho-Educational Evaluation, Prince Willlam Public Schoals, states, “Her slow
work pace and inattention suggests “Atemtion Deficit fiyperactivity Disorder, Primarily
fnattention” with relerrat ta her neurologist for further treatment. Verv poor handwriting
and visual motor skills are noted and recammendation was made far an occupational
therapy consulluliod.”

2. Vision Processing Assessment by 4 Developmenial Optimetrist
Lividence supporting my upinkim why [ believe u Vision Processing Assessment ps
necessary 1s as lols:

The [bP develuped hy Orange Unified states. “Based on alternative methods far
determining the crileria for Specilig Learning Disability, Jorden presents with a
psychological processing and visual processing deficit which affzers invelyemen: and
progress in the general curriculum.” Additionally. the Psycho-educational assessment
results tor the VMi reflected areas of significant deficit,

The Psycho-Edueauional Evaluation conlucual by Rundull Knuck, Ph... NCSP and
reserred by the Prince William Co. Public Sehools states, “Jordyn's severe difficullies
wilh visual seanning aml ils impuct on visual memory and learning are evident in the
WRAML2 visual memory subtests. Her performance was extremely low (3 sunudurd
 

Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 93 0f 112 Page ID #:93

deviations below the mean} and confirms that shé misses many laportant cles when
visually scanning. This affects visual. memanry. *

Alleah Mrs, Ponce slutes thal Jordyn's vismal deliviis heve improved as a result of to
surgeries for Strabismus, these surgeries took place prior to che evaluation conducted by
Dr. Randall KReack who ford sinniftcant defisils ins isual scanrriny and visual merry
alter the surgeries were completed,

Additonally. the current VMI test scores refleet the Fast that vision Processing am! visual
miozor continue to be an area of need, which ereathy: impact Jordyn's ability 0 access the
seneral education curriculurn.

4. Auditory processing tw determine Central Auditory Processing Disorder
(CAPE)
Ruidenve supporting my opinienm why | believe a CAPD Assessmuntis necessary is ay
toilows;

Phe Woedcetck-fcbenson FV for “1 inderstanding Directions” reflected a Standard Score of

70, which is ta the borderline range. This indicates that Jordyn say have @ relalive
weakness | i processing auditory information. This may be due to inattention but tt would |
serve as hesl practices lo tule oul an aiuiitery processing disurder,

the Classrned Behavior Checklist also reflects additional areas of weakness that relare
le auditory cdelicis. These areas are:

Follows class rules as “Rarchy"

Follows oral direetions well as “Rarely”
Completes class assigaments as “Rarely”
Lises class tlme well as “Rarely”

les ert Stay an task as “Otten”
Daydreams as “Oflen™

4. Oveupationsl Therapy Assessment
Rvikdenee supporting my opinion why [ believe an ec upalional Therapy Assessment is

necessary 1s as follows:

lL. The Psyeho-Eduestions! Evaluation comducted by Rammafl Knack, PAID, NCSP
and referred by the Prince William Co, Public Schools states. “Her yrip ix still
uvkedrd und seemingly unaided by ber “serunchie™ uid. She presents with a
backward stamied 4-5 finger right handed pencil grip, Oceupational Therapy
services were prdévided to Improve eve hand coordination and penell grasp.
Written himgauge ts dilTicult for these reaNorts.

2. The [valuation conducted by Michele Fletcher, Prince William, Public Schools,
states, “Classroom leacher reports (hat Jordyn hay difficulty producing written
language and has received individualized instruction, small group insiruclion and

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 940f112 Page ID #:94

other strategies to address written language and classroam tool usage.” This
wonld indicate that Jordyn presents wilh Hine motor dilicullies, whieh would
warrant an Oceupational Therapy Assessment,

The following lists the documents stgned and IEP meeting held in which Mr. Henderson
was omitted and therefore, violating his parenial rights uniler WEA,

Assessment plan signed by Mrs. Jonce to give parent permission 1 assess Jordyn.
Mr, Henderson was not made aware of this document. nor did be sign the
document agrecing to assess Jordyn. Jordyn was assessed on April 21. 2017, Nviay

3, 2057 and May 8, 2017 wihow Mr. Hendersen’s Hult eation.

ANIEP was held on dune 76, 2017, io which My. Henderson ‘was Not presen. The
assesament findings were presented and Mrs. Ponce sisned the IEF in agreement.
Mr, Henderson did not sign ibe IEP. nor was he present fer the meeting, Becuuse
Mrs, Ponce signed the YEP. it is evident thar she is not avvare of the sertous
concerns as outlined in this leues hy her signatare in agreement to a Psycho-
Educational lvetuation that is incoTnplele ancl imascuraie anc an HEP chat is
insufficient ta meet her daughter's educationa? needs.

Tyou have further questions regarding Jordyn’s special educatiyn program, J can be
reached at (90) 841-2500,

Respect liliy.

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Valerie Aprahamian
Advocates Far Angels
 

Case ‘exe, O-DSF-PVC Document1 Filed 08/21/20 Page 95o0f112 Page ID #:95
X Prehearing Statement Date: 02-26-2020

Case # 2020020889
History of denied child disability supports for students at Letha Raney Intermediate Schools:

Jordyn Henderson is a child with diagnosed learning disabilities from Virginia and Georgia who has
now had her FAPE removed 3 times by Lamour Ponce (twice in her 2016/17 school year from
Potowmack Elementary in Loudoun County, VA while placing Jordyn in an online K12 Program, and
again from Luella Elementary in McDonough, GA after the mother and her parents abducted Jordyn
and her sisters after the mother abruptly separated from their father, Kenneth Henderson and placed
them into a Private School, Eastside Christian Schools in Fullerton, CA.

As Jordyn's then Special Education Advocate, Valerie Apprehanian stated in Jordyn's 2016/17 School
year to the presiding Judge Ospino, by placing Jordyn into a private schoo] the mother unilaterally
removed her child from her FAPE without the father's involvement. Lamour Ponce then had a School
Psychologist reassess Jordyn while implementing a new California IEP without Jordyn's previous
supports just implemented from Virginia and Georgia but left unknown to the Orange Unified School
and again without the father's involvement. In Mr. Henderson's filed court declaration in January of
2017 in the Orange County Superior Courts, he informs the court that the mother gave him an
ultimatum during the 1 semester of the 2016/17 School year in which the mother had removed Jordyn
from her FAPE in Virginia and stated “I will be'returning back to California with my parents with the
children with or without you by December of 2016. With such premeditated actions taken by the
mother with support from her mother as an Eastside Christian Schools employee to remove Jordyn
from her FAPE in Virginia into an online K12 program was intent in knowing Jordyn needed to be
removed from her FAPE in Virginia to meet her ultimatum to return to California with the children by
December. Now, less than a year after Lamour Ponce the Grandmother and mother as a teacher and
volunteer were removed from their private school positions along with the removal of Eastside
Christian Schools Kim Van Geloof as the Principal, here Jordyn is today, once again in another 2019/20
triennial assessment school year and removed from her FAPE but at Letha Raney Intermediate Schools
with the Corona Norco School District and Lamour Ponce once again listed as an employee of the

School and Schoo! District.

Muitiple FAPE Procedural Violations may have once again caused Jordyn to be removed from her
Special Education program without the father’s involvement while in the child's triennial year again at
Letha Raney Intermediate. In this statement, Mr. Henderson is claiming not only was he never given a
Prior Written Notice of FAPE supports being removed or denied by the School District but just 9 days
after the IEP Team chose to never give him measurements from IEP goals supporting the Special
Education staff had indeed supported his daughter's learning disability with extended test taking time,
just 9 days after the IEP Team stated they should have had a transition meeting for Jordyn as an
incoming new student from her elementary school taking on 6 new teachers and classes, and just after 9
days from the January 14", 2020 IEP Meeting in which Mr. Henderson declined as Jordyn's father to _
agree with the mother and IEP team's request to add a Math Academy class knowing it would remove
Jordyn's FAPE, as stated by the assistant principal, Erik Schultz in his October 2019 meeting with Mr.
Hendersori and Mrs. Martinez in stating the mother attempted to call and add Math Academy class 5x.

Mr. Henderson, in knowing Jordyn made a point to inform her father that she was not getting the same
extended test taking time as she was in her previous schools, he disagreed with all actions by an IEP
Team on January 14", 2020 who never once involved Mrs. Klatt in any meetings as the Math Academy

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 96 0f 112 Page ID #:96

teacher who ended up being approved to have her Math Academy class added in removing Jordyn

FAPE to suddenly begin instructing both the fathers twin daughters with Kayla Henderson with a non
diagnosed learning disability along side her sister, Jordyn with a known diagnosed learning disability.
Mrs. Katt or the IEP Team never informed the father in any meeting that they would be placing both of
his daughters in a class together meant to achieve the mothers goal of removing such-FAPE's
supporting public school funding due to her court recent court request to place Jordyn with her sister
Kayla into El Rancho Charter School in Anaheim, California, aware that the Charter school has more
restrictive FAPE funding requirements while blocks away from the mother and grandmother, L'amour

Ponce's place of residence.

Missing from the February 13", 2020 IEP Meeting was the School Psychologist and again from the
previous January 14", 2020 meeting was the Math Academy teacher, Ms. Klatt in which the IEP Team
without Mr. Henderson's involvement or consent,, placed Jordyn into her class with her twin sister after
the start of the 2™ semester at the January 23 2020 meeting. Just as recently as Friday, the 21 of
February, Mr. Henderson's twin girls were the ones to notify him, not Letha Raney Intermediate School
or the Corona Norco School District that Ms. Klatt, their Math Academy instructor would be missing
over 3 weeks due to sudden illness. So if the Corona Norco School teacher as the Math Academy
instructor who was suddenly teaching my child with a known learning disability with her twin sister
without a known learning disability without extended math test taking time in her 1* semester of this
2019/20 school year, a Math Academy teacher who only met Mr. Henderson at Back to School night as
Kayla's Math Academy teacher, is no longer teaching the class then who is teaching my children under
such circumstances regarding my complaints on the IEP Team ans School District not following
procedures, and why was there never a letter sent out stating the change due to Ms. Klatt's illness?

One conflict of interest in this matter with Jordyn and the IEP team is 3 of the IEP Team members in
Principal Michelle Sanchez, also named Principal Michelle McIntyre, the Letha Raney School
Psychologist, also a non IEP Team member in the Letha Raney School Nurse to include Jordyn's
mother, Lamour Ponce as an IEP team member, all denied to support her sister, Maya Henderson ass
well, just last year for her 2018/19 School year as the father gave the school medical records and
requested they meet and support Maya regarding her diagnosed Anxiety Disorder, Skin Picking
Disorder, and positive Depression Test. Only now, after 3 years of the father attempting to inform the
Corona Norco School District of the mothers repeated denial of both Jordyn and her sister, Maya's
diagnosed disabilities with a filed complaint is Maya just now receiving her 504 Plan to support her
Anxiety, Skin Picking, and Eating Disorders.at Centennial High School.

I endured emotional abuse as a father advocating for my daughter at the 02-13-2020 IEP Meeting in
which my ability to keep my daughter's FAPE to include my cultural identity as an American Indian
was scrutinized by the Special Education director's statements of “I'm embarrassed to be an Aftican
American, I'm ashamed and Ms. Ponce, I am sorry you are dealing with this” The Special Education
Director's words came without knowing I as an American Indian do not identify myself or my children
in such correlation with the African American race.

After the Special Education Director's horrible remarks as she referred to being ashamed or
embarrassed of her own cultural identity due to the actions of Mr. Henderson at the F ebruary 13", 2020
IEP Meeting can not be minimized as they were said infront of people from various other racial
backgrounds, and said by a women who did not care about her words stated as she was preparing to

retire in a few months, as she stated.

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Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 97 of 112 Page ID #:97

It is Mr. Henderson's belief that every school within the Corona Norco School District should follow
the same procedural policies in using a Date Stamp as the District Office as a way the parents and
schools can recognize they received sensitive documents from parents such as medical records and
court orders, Without a Date Stamp, neither the schools or the parents havea receipt of showing when
they provided school officials such records and who was responsible for filing and following up with
being notified of a child's diagnosed learning disability or mental illness.

With IEP meetings scheduled with a missing parent, a missing Math Academy teacher, a missing
School Psychologist, a missing Prior Written Notice before removing Jordyn's FAPE with only the
mother present, a missing JEP transition Meeting from Vicentia Elementary, a missing option for Mr.
Henderson other than adding a Math Academy Class in which placed Jordyn in a class with her twin
sister without notifying the father, while IEP Team member made very inappropriate comments in
referencing their own cultural identity with her embarrassment due to Mr. Henderson's decision to not
agree with the team, may have led to several violations against procedural safeguards in support of
Jordyn's diagnosed disabilities and FAPE. When you review Jordyn's low test scores in comparison to
her high scores in class assignments turned in transition from Vicentia to Letha Raney Intermediate
Schools, as Lisa Waller, Jordyn's last Special Education Coordinator said just last year in Jordyn's last
meting at Vicentia, “Jordyn will continue to need her IEP , 1 know there has been some statements
made suggesting removing Jordyn's IEP, but based off of what we have seen here at Vicentia, I would
not remove her IEP Mr. Henderson.” Lisa Waller used a class projector to detail measurements of
Jordyn either completing or not completing her implemented goals we has an IEP Team made for her

~ while no such actions by Raney's IEP staff were ever made in support of showing how they met

Jordyn's disability needs during test taking in her classes before electing to side with the mother alone
in removing the very IEP supports with Special Education instruction that Lisa Waller requested not to

remove.
Respectfully,

Kenneth Henderson .

 
- Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 98 0f 112 Page ID #:98

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To: The OAH and The Corona Norco School District (Assigned Legal Counsel) Date: 06-08-2020

4 IEP Related Questions that Still Need to be Answered by the Corona Norco School District

Letha Raney Intermediate never sent out IEP Meeting invites to Jordyn Henderson's parents to
have a transitional meeting as parents arriving with a new student to the middle school from
Corona Norco School District’s Vicentia Elementary School with an already implemented IEP due
to a diagnosed learning disability. In fact, the only meeting held on January 14", 2020 was
requested by Jordyn’s father, Kenneth Henderson. Jordyn’s father in his filed complaint with the
Corona Norco School District’s HR Department, verbally supporting at the 01/14/2020 meeting
with the Raney Intermediate IEP Team, that they not make any changes to his daughters current
IEP Placement as he wanted to first discuss with the team all measured goals on Jordyn’s [EP did
continue to offer extended test taking time in the required subjects from Georgia and Virginia
but the IEP Coordinator, Jason O'Sullivan was unable to provide Mr. Henderson with copies of
Jordyn’s complete IEP measurement goals.

Mr. Henderson is notifying the OAH today, June 8th, 2020, due to delays for several weeks into
months in relation to the School District closing due to COVID-19 in March of 2020 and the
California Governors State of Emergency,, that he is once again requesting since the 01/14/20 if
the Corona Norco School District can provide him with all, measured goals supporting Jordyn’s
IEP from Virginia and Georgia and if she continued to meet her Special Education goals while
receiving extended test taking time for all subjects during her academic school years from her
{EP being implemented from Virginia to the Corona Norco School District?

Mr. Henderson also recognized at the 01/14/2020 and the 02/13/2020 IEP meetings for his
daughter, Jordyn Henderson that neither Mrs. Y. as the licensed Special Education Math
Instructor who often worked to assist Jordyn with completing her Math work, or Mrs. Klatt as
the requested Public School Math Academy Instructor used to completely remove Jordyn from
her tEP for math, were not in attendance along with Letha Raney’s School Psychologist at the
02/13/2020 IEP meeting? Due to COVID-19 health and safety restrictions resulting in schoo!
district closures across the Country, Mr. Henderson believes many questions for parents seeking
answers to their filed complaints with the OAH against school districts may still need to be
answered or provided in the Discovery Process. Mr. Henderson is informing both the Corona
Norco School District and the OAH that he is still requesting the above information relating to
his daughters [EP Measurement Goals implemented in Virginia and Georgia before arriving here
to California in relation to extended test taking time along with answers relating to the
unavailability of IEP Meeting Members on 01/14/20 and 02/13/20.

Mr. Henderson wants to confirm receiving a Prior Written Notice to reduce, change or end
placement of his daughter's IEP was sent to him by mail around or near February 5", 2020?
Request the last agreedtipon IEP assessment completed and agreed upon by both parents since '
the Corona Norco School District was made aware of the parents 07/25/2017 Court Order?

Respectfully, Kenneth Henderson

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 99 0f 112 Page ID #:99
OFFICE OF ADMINISTRATIVE HEARINGS

STATE OF CALIFORNIA Ke \
SPECIAL EDUCATION DIVISION ,

REQUEST FOR DUE PROCESS HEARING AND MEDIATION
REQUESTED ON BEHALF OF STUDENT

Student’s Information:

Student's first and last name:

 

Maya Ayana Henderson

 

Student's birthdate: 04-14-2020

 

 

 

 

Student's main language: [English

 

Student's address, including the street address, city and zip code:

 

1266 Ryan Ln #F
Corona CA 9282

 

 

 

Student's grade level. For example, if student is in second grade, then write “second grade."

 

 

 

Oth Grade

 

Name of the school student goes to:

 

 

Centennial High School

 

 

Student's school district of residence:

 

Corona Norco School District

 

 

 

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DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)) (FOR OPTIONAL USE)
(34 C.F.R. § 300.506, suBD. (b)) (REVISED 1/20) PAGE 4

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 100 0f 112 Page ID #:100
Parent Information:

All of the information requested below is required if student is under 18 years of age.

For each parent to be included in this Request for Due Process Hearing and Mediation,
please write the information in the space below. If the student has a legal guardian or an
educational rights holder then please put their name and information under the Parent
Number 1 section, and add either “legal guardian” or “educational rights holder” after their

name,

FIRST PARENT INFORMATION:

First and last name for Parent Number 1:

 

 

 

Kenneth K. Henderson

 

Phone numbers for Parent Number 1:

 

 

Cell Phone: [951-515-9639

 

 

Work Phone:

 

 

 

 

Home Phone: {951-393-0318

 

Home address for Parent Number 1, including the street address, city and zip code:

 

1266 Ryan Ln. #F
Corona, CA 92882

 

 

 

If an interpreter is needed for Parent Number 1, please state the language in the space
below. For example, if Parent Number 1 needs a Spanish interpreter, please write “Spanish”

in the space below.

 

 

 

 

LAT

DGS OAH 59 (Eb. Cope § 56500.3, susp. (d)} (FOR OPTIONAL Use)
(34 C.F.R. § 300,506, suBD. (b)) (REVISED 1/20) PAGE 5
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 101 0f112 Page ID #:101
SECOND PARENT INFORMATION, TO BE COMPLETED ONLY IF THERE IS A SECOND
PARENT:

First and last name for Parent Number 2:

 

 

 

Lamour Kim Ponce Jr.

 

Phone numbers for Parent Number 2:

 

 

Cell Phone: 949-426-2319

 

 

Work Phone:

 

 

Home Phone:

 

 

 

Home address for Parent Number 2, including the street address, city and zip code:

 

1405 East Wood Cove Drive
Anaheim, CA 92808

 

 

 

If an interpreter is needed for Parent Number 2, please state the language in the space
below. For example, if Parent Number 2 needs a Spanish interpreter, please write “Spanish”

in the space below,

 

Parties to be Named by Parents or Student Filing this Request
Only public agencies, such as those listed below, may be named. Do not list individual
people who may work for a public agency. The parties to be named for this case must
include at least one of the following:

e School district student currently attends, will attend, or did attend;

e Charter school student currently attends, will attend, or did attend;

e County office of education, or

DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)) { 7 (For OPTIONAL USE)
(34 C.F.R. § 300.506, susp. (b)) (REVISED 1/20) < ? 5 PAGE 6
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 102 of 112 Page ID #:102

e Other public agencies involved in any decision regarding the student.

Please provide the name and address of the public agency or agencies with whom you wish
to schedule a due process hearing and mediation. If an interpreter is needed for Parent

Number 2, please state the language

 

Office of Administative Hearings, Special Education Division
2349 Gateway Oaks Drive, Suite 200,
Sacramento, CA 95833

 

 

 

Identify the Specific Problems or Complaints:

Federal and state law require you to describe in detail the nature of the problem or
problems you want included in this complaint. Simply describing a problem in general terms,
such as “Student was denied FAPE for school year 2005-2006," is not enough. You must
include facts, dates, references to specific individual education program provisions — also
known as “IEP” provisions -, etc. Failure to specifically describe the problem or problems to
be included in this complaint may result in this case being closed. Closing a case is called a

dismissal,

Describe the nature of the problem including all important facts. Provide details. You may

add more pages if needed.

PROBLEM OR COMPLAINT NUMBER L:

 

 

On February 21st, 2020 Centennial H.S held a Pre 504 Plan Meeting for daughter, Maya
Henderson in which the Centennial Principal, the Assistant Principal, the 504 Coordinator,
the School Nurse, the School Psychologist were all in support of daughter, Maya
Henderson with diagnosed Anxiety Disorder, Skin Picking Disorder, Positive Depression
Test, with recent Anxiety related behaviors of Eating binges and bed wetting. All
Centennial staff present supported Maya needing a 504 Plan, however, the school failed
to send a proper Schoo! District 504 Plan Meeting Invites, complete a Meeting Sign In
sheet, or provide cards on 03/05/20 in denying a 504 Plan due to having A's. Sec.
300,101 (c) (1) of the IDEA clearly states: “...FAPE is available to any individual child with a
disability who needs special education and related services, even though the child has
not failed or been retained in a course or grade, and is advancing from grade to grade.”

 

 

DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)) 4 f 7 (FOR OPTIONAL USE}
(34 C.F.R. § 300.506, susp. (b)) (REVISED 1/20) ° PAGE 7
Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 103 of 112 Page ID #:103
PROBLEM OR COMPLAINT NUMBER 2:

 

According to section 300,503 (a) of the IDEA, they must provide written notice whenever
the public agency “Refuses to initiate or change the identification, evaluation, or
educational placement of the child or the provision of FAPE to the child.” In other words,
they are suppose to give you a Prior Written Notice (PWN) that provides a data-driven
explanation of why they are refusing to evaluate for services, At no point from the March
Sth 504 Plan meeting at Centennial High School for Maya Henderson in which denied
her accommodations did the meeting ever legally exist on paper, or provide a Prior
Written Notice for denying our daughter accomodations who the person leading the
02/05/20 meeting stated to both parents to not be concerned about the Truancy letter
sent home for our child dagnosed with Anxiety and Skin Picking Disorders who had been
repeatedly late to school while staying up well past midnight to complete school work
with an added 3-6pm class on her schedule and bed wetting in the morning in need of a
shower. The 1st period P.E teacher voiced her concerns of Maya being late to school and
the School Psychologist said his doors were open to her but with no 504 Plan.

 

 

 

PROBLEM OR COMPLAINT NUMBER 3:

 

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Maya Henderson was also denied the same supports for a 504 Plan by her prior School
last year, Letha Raney Intermediate, who was well aware of her diagnosed mental health
conditions due to the father submitting medical records and asking the school to meet
with Maya. Mr. Henderson did in fact meet with the Letha Raney Intermediate Assistant
Principal requesting the school be aware of the current court order in place between
both parents and support Maya for her disability. Mr. Schultz informed me that he would
have Maya meet with the School Psychologist, however, there was no follow up to the
meeting in which was only confirmed due to the mothers dismay that the School pulled
Maya out of her class to meet for counseling why the mother informed everyone that
Maya already had a therapist and didnt need to be taken out of class, Letha Raney
Intermediate denied Maya supports without ever requesting a 504 meeting once being
informed of our daughters anxiety disorder and is currently denying IEP supports in
violation of "Stay Put" laws due to Mr. Henderson informing Letha Raney Intermediate to
not remove Maya's sister, Jordyn Henderson's (OAH Case# 2020020889) FLAP by adding
a Math Academy class instructed by a Public Education teacher less than a year after
denying to support Maya's known conditions at Letha Raney & Centennial.

 

 

 

SPF

DGS OAH 59 (Eb. Cope § 56500.3, susp. (d)) (FOR OPTIONAL USE)
(34 C.F.R. § 300.506, supp. (b)) (REVISED 1/20) ; Pace 8

 
 

 

Case 8:20-cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 104 0f112 Page ID #:104
Proposed Resolution of Problems Stated Above
“Proposed Resolution of Problems” means how you want each of the problems described
above to be solved. Federal law requires that you provide a solution to each of the problems
described in this complaint to the extent you know the solution. You must describe the

solution with as much detail as you can.

Describe the solution for each of the problems outlined above. You may add more pages if

needed.

SOLUTION TO PROBLEM OR COMPLAINT NUMBER 1:

 

Maya is a very bright young lady who does get nearly all A's as commonly stated by the
Centennial HS staff who denied her 504 Plan, however, it undeniable that she struggles
with depression and anxiety in which impact her daily life in the mornings such as bed
wetting to include staying up well past midnight to complete her homework as a 14 year
old in the International Baccalaureate student. Solution is Maya does need
accommodations that will support her morning routine in getting up for school,
preparing for school, getting to school on time, for completing her daily homework
routine without staying up past midnight, daily food intake,and fluid intake before going
to bed.

 

 

 

Solution to Problem or Complaint Number 2:

 

Centennial H.S needs to provide a Prior Written Notice stating they plan to deny a 504
plan for accomodations with supported reasoning from both meetings held on February
21st, and March 5th, 2020.

 

 

 

DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)) (FOR OPTIONAL USE)
(34 C.F.R. § 300,506, susp. (b)) (REVISED 1/20) G <p 7 PAGE 9
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 105 o0f112 Page ID #:105
SOLUTION TO PROBLEM OR COMPLAINT NUMBER 3:

 

A complete District Wide Investigation on the actions of the Corona Norco School
Districts denying to support diagnosed disabilities for sisters, Maya and Jordyn
Henderson after entering the state of California and the father being aware to inform the
schools of diagnosed conditions to support his daughters needs multiple times with the
court order given at the beginning of the 2018/19 and 2019/20 school years. , including
prior Seizure activity for Jordyn in 2017 from Eastside Christian left unknown to Mr.
Henderson by the mother, Lamour Kim Ponce Jr. Once a school is informed of either
Maya or Jordyn's disabilities they should forward the medical records to the qualified
medical staff such as the School Nurse or School Psychologist and set up a meeting to
make sure the child is receiving the proper supports for their conditions. The Corona
Norco School District needed a datetstamp, to involve the father and school medical staff

 

 

 

Signature of Party Requesting Due Process Hearing and

Mediation

Print the name of the party requesting a due process hearing and mediation in the space

below.

 

 

Kenneth K. Henderson (For Due Process Hearing only)

 

 

Print the email address for the party requesting a due process hearing and mediation in the

space below.

 

no email

 

 

 

The party requesting the due process hearing and mediation, or their representative, must

sign and date in the space below.

 

 

 

 

 

Date: [03-11-2020

 

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DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)) (FOR OPTIONAL USE}
(34 C.F.R. § 300.506, suBD. (b)) (REVISED 1/20) _. PAGE 10
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 106 of 112 Page ID #:106
STATEMENT OF SERVICE

Federal and state laws require you to send or deliver a copy of this Request to each of
the named parties. Additionally, you must send or deliver a copy to the Office of
Administrative Hearings. Retain a copy for yourself. Please indicate that you have sent

copies of this Request by completing the appropriate box or boxes below.

I have provided a copy of this Request for Due Process
Hearing and Mediation to all the named parties and to the
Office of Administrative Hearings by:

First Class Mail to the person or agency named below at the address listed below. Please
include the date the document was mailed to that person or agency. You may add more if

needed by attaching additional pages.

 

1) The Office of Administrative Hearings
2349 Gateway Oaks Dr. SW 200
Sacramento, CA 95833

2) Lamour Kim Ponce Jr.

8504 East Wood Cove Drive Apt. 128
Anaheim CA 92808

 

 

 

Facsimile transmission, also referred to as fax, or email to the person or agency
named below at the fax number or email listed below. Please include the date the document
was faxed or emailed to that person or agency. You may add more if needed by attaching

additional pages.

 

 

 

 

DGS OAH 59 (Eb. Cope § 56500.3, susp. (d)) A (FOR OPTIONAL USE)
(34 C.F.R. § 300.506, susp. (b)) (REVISED 1/20) y a) 7 PAGE 11
 

Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 107 of 112 Page ID #:107
Messenger or overnight delivery such as UPS, FedEx, or other courier service to the

person or agency named below using the service identified below. I have also attached a

copy of the receipt. You may add more if needed by attaching additional pages.

 

 

 

 

Personat delivery to the person or agency listed below at the address shown below. 1
have included the name of the person who made the delivery and the date and time of the

delivery. You may add more if needed by attaching additional pages.

 

3) Corona Norco School District and their Representing Attorney
2820 Clark Ave.
Norco CA 92860

 

 

 

Signature of person completing this statement

Print the name of the person completing this Statement of Service in the space below.

 

 

 

Kenneth K. Henderson

 

The person completing this Statement of Service must sign in the space below and write

the date of the signature below the signature.

By typing your name in the space below you are consenting to electronically signing

this document.

 

Kenneth K. Henderson

 

 

 

 

 

Date: |03-11-2020

 

Tt 9

DGS OAH 59 (Ep. Cope § 56500.3, susp. (d)} (FOR OPTIONAL USE)
(34 C.F.R. § 300.506, susp. (b)) (REVISED 1/20) PAGE 12

 

 
Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 108 of 112 Page ID #:108

 

EXECUTIVE DEPARTMENT

STATE OF CALIFORNIA —\< a Oo
( OX , ,

EXECUTIVE ORDER N-33-20

WHEREAS on March 4, 2020, | proclaimed a State of Emergency to exist in
California as a result of the threat of COVID-19; and

WHEREAS in a short period of time, COVID-19 has rapidly spread
throughout California, necessitating updated and more stringent guidance from
federal, state, and local public health officials; and

WHEREAS for the preservation of public health and safety throughout the
entire State of California, | tind it necessary for all Californians to heed the State
public health directives from the Department of Public Health.

NOW, THEREFORE, i, GAVIN NEWSOM, Governor of the State of California,
in accordance with the authority vested in me by the State Constitution and
statutes of Ihe State af California, and in particular, Government Code sections
8547, 8627, and 8665 do hereby issue the following Order to become effective
immediately:

IT IS HEREBY ORDERED THAT:

1) To preserve the public health and safety, and to ensure the healthcare
delivery system is capable of serving all, and prioritizing those at the
highest risk and vulnerability, all residents are directed to immediately
heed the current State public health directives, which | ordered ihe
Department of Public Health to develop for the curren! statewide
status of COVID-19. Those directives are consistent with the March 19,
2020, Memorandum on Identification of Essential Critical Infrastructure
Workers During COVID-19 Response, found at: https://covidl?.ca.gov/.
Those directives follow:

ORDER OF THE STATE PUBLIC HEALTH OFFICER
March 19, 2020

To protect public health, | as State Public Health Officer and Director
of the California Department of Public Health order all individuals living
in the State of California to stay home or at their place of residence
excep! as needed to maintain continuity of operations of the federal
critical infrasiructure sectors, as outlined at
hitoss//www.cisa.qov/identifyin

19. In addition, and in consultation with the Director of the Governor's
Office of Emergency Services, | may designate additional sectors as
critical in order to protecf the health and well-being of ali Californians.

 

Pursuant to the authority under the Health and Safely Code 120125,
120140, 131080, 120130{c}. 120135, 120145, 120175 and 120150, this
order is to go into effect immediately and shall stay in effect until
further notice.

The federal government has identifled 16 critical infrastructure seciors

whose assets, systems, and networks, whether physical or virtual, are
considered so vital lo the United States that their incapaciiation or

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Case 8:20-cv-01630-DSF-PVC Document1 Filed 08/21/20 Page 109 of 112 - Page ID #:109

 

destruction would have a debilitating effect on security, economic
security, public health or safety, or any combination thereof. | order
that Californians working in these 16 crilical infrastructure sectors may
continue their work because of the importance of these sectors to
Californians’ health and well-being.

This Order is being issued to protect the public health of Califemians.
The California Department of Public Health looks to establish

consistency acrass the stafe in order to ensure that we mitigate the
impact of COVID-19, Our goal Is simple, we want to bend the curve,
and disrupt ihe spread af the virus.

The supply chain mus? continue, and Californians rnust have access fo
such necessities as food: prescriptions, and health care. When people
need to leave their homes or places of residence, whether fo obtain
or perform the functions above, or to otherwise facilitate authorized
necessary activities, they should at all times practice social distancing.

2) The healthcore delivery system shall prioritize services to serving those
who are the sickest and shall prioritize resources, including personal
protective equipment, for the providers providing clirect care to them.

3) The Office of Emergency Services is directed to take necessary steps to
ensure compliance with this Order.

4) This Order shall be enforceable pursuant to California law, including,
' but not limited to, Government Code section 8665.

I¥ IS FURTHER ORDERED that as soon as hereafter possible, this Order be
filed in the Office of the Secretary of State and that widespread publicity and
notice be given of this Order.

This Order is nat intended to, and does not, create any rights or benefits,
substantive or procedural, enforceable af law or in equity, against the State of
California, its agencies, departments, entities, officers, employees, or any other

person,

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Si i /CavIN NEwSOM
OLE A NN governe of California
Wied ATTEST: CZ 00

ALEX PADILLA
Secretary of Slate

 

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! POS-040(P)

 

 

SHORT TITLE:

| CASE NUMBER:
Kenneth K. Henderson et al., v. Exxon-Mobil et al.,

 

 

 

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{This attachment is for use with form POS-040.)

NAMES, ADDRESSES, AND OTHER APPLICABLE INFORMATION ABOUT PERSONS SERVED:

Name of Person Served

(if the person served is an attomay, the party or parties
represented Should also be stated.)

Where Served

(Provide business or residential address where service was made by
personal service, mail, overnight delivery, or messenger service, For
service by fax, provide fax number.)

 

Exxon-Mobil |

 

5959 Las Colinas Blvd, Irving, TX 75039

 

 

 

 

Eaton Corp !

 

 

9650 Jeronimo Ra, Irvine, CA 92618

 

 

 

Orange County Superior Courts
|

341 The City Dr. S. Orange, CA 92868

 

 

 

Attorney Karen A. Anderson

400 Oceangate #800, Long Beach, CA 90802

 

 

 

Ultimate Software

 

5 Hutton Cenire Dr. #130, Santa Ana, CA 92707

 

 

 

Orange County Internal Revenue
Service

 

801 W. Civic Center Dr. Santa Ana, CA 92701

 

 

Anaheim Social Security Administration

 

900 S. Harbor Bivd, Anaheim, CA 92805

 

 

 

Orange County Social Services
I

 

3320 E. La Palma Ave. Anaheim, CA 92806

 

 

 

CalOptima

 

505 City Pkwy W. Orange, CA 92868

 

 

 

Union Bank (MUFG)

 

500 S. Main St., Orange, CA 92868

 

 

 

Wells Fargo Bank

 

101 &. Chapman Ave. Orange CA 92866

 

 

 

Darrell's Drilling
|

 

402 W. North St. Konawa, OK 74849 .

 

 

 

Christine Holmes (Therapist)

 

 

 

1451 Ramau Avenue, Suite 215, Corona CA 92879

 

 

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Judicial Council of Califomia’
POS-040(P) [Rev. February 1, 2017]

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SHORT TITLE:

 

Kenneth K, Henderson et al., v Exxon-Mobil et al.,

CASE NUMJER:

 

 

 

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' (This attachment is for use with form POS-040,)

|
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Name of Person Served

(ifthe person served is an attorney, the party or parties
represented should also be stated.)

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Where Served

(Provide business or residential address where service was made by
personal service, mail, overnight delivery, or messenger service. For
Service by fax, provide fax number.)

 

Saint Joseph's Heritage (Group) Center
l

 

478 S Anaheim Hills Rd, Anaheim, CA 92807

 

 

 

Attorney Thomas Chapin
|

 

232 E Grand Blvd #204, Corona, CA 92879

 

 

 

Attorney Tommy Andrews Jr.
|

 

 

122 N Alfred St #3011, Alexandria, VA 22314

 

 

 

 

OAH-Office of Administrative Heartings
|

2349 Gateway Oaks Dr #200, Sacramento, CA
95833

 

 

Easter Seals

ls70 F7th st, Santa Fvvoy

 

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David Vasc ph Poneg,

 

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Lamour Ellis Ponce Sr.
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8504 E. Wood Cove Dr. Apt. 128, Anaheim

 

 

92808

 

 

Joseph Ponce ur.

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8504 E. Wood Cove Dr. Apt. 128, Anaheim
92808

 

 

Lamour Kim Ponce Jr.
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8504 E. Wood Cove Dr. Apt. 128, Anaheim
92808

 

 

 

Stephen Dotphin Sr.
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3774 w. s4th st.
Los Angeks CA 90043

 

 

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Case 8:20-Cv-01630-DSF-PVC Document 1 Filed 08/21/20 Page 112 0f112 Page ID #:112

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"SHORT TITLE: i CASE NUMBER:

Kenneth K. Henderson et al., ¥ Exxon-Mobil et al.,

 

 

 

 

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(if the person served is an attorney, the party or parties (Provide business or residential address where service was made by
represented should also be stated.) personal service, mail, overnight delivery, or messenger service. For
| Service by fax, provide fax number.)
Christine Holmes 1451 Rimpau Avenue, Suite 215
|
Orange County Medi-Cal Services 3320 E La Palma Ave, Anaheim, CA 92806
Adams Silva & McNALLY LLP 2888 Loker Ave. East, Suite 303
Carlsbad, CA 92010
(OAH) Office of Administrative Hearings 2349 Gateway Oaks Drive, Suite 200
Sacramento, CA 95833
Union Bank (MUFG) 400 California Street
San Francisco California
Wells Farge Bank 1111 W 6th St,

| Corona, CA 92882

A} VIN Welk, NS S116 Mountain Vyeus s+
! Visalia cA 93299

Attorney: Karen A. Anderson 400 Oceangate, Long Beach, CA

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